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 5
   Attorneys for Creditor,
 6 CSPRF 2 LLC

 7                                  UNITED STATES BANKRUPTCY COURT

 8                   CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 9
10 In re                                                   Case No. 8:24-bk-13197-TA
                                                           Chapter 11
11 CHANTILLY ROAD, LLC,
                                                           NOTICE OF MOTION AND MOTION TO
12                       Debtor.                           DISMISS CASE PURSUANT TO 11 U.S.C.
                                                           SECTION 1112(b)(1); MEMORANDUM
13                                                         OF POINTS AND AUTHORITIES; AND
                                                           DECLARATION OF DAVID BLATT
14
                                                           Judge:    Hon. Theodor C. Albert
15                                                         Date:     February 12, 2025
                                                           Time:     10:00 a.m.
16                                                         Crtrm.:   5B, 5th Floor
                                                                     411 W. Fourth Street, Suite 5085
17                                                                   Santa Ana, CA 92701-4593

18

19 TO:         THE DEBTOR, ALL CREDITORS, THE UNITED STATES TRUSTEE AND

20 PARTIES IN INTEREST IN THE ABOVE-CAPTIONED CHAPTER 11 BANKRUPTCY

21 CASE:

22             PLEASE TAKE NOTICE that on February 12, 2025 at 10:00 a.m. in Courtroom 5B, 5th

23 Floor of the above-entitled Court, located at 411 W. Fourth Street, Suite 5085, Santa Ana, California,

24 secured creditor and interested party CSPRF 2 LLC ("Creditor") will and hereby does move to

25 dismiss Chantilly Road, LLC’s ("Debtor") Chapter 11 bankruptcy case for cause pursuant to 11

26 U.S.C. § 1112(b) because proper authorization was not provided under California law for the filing

27 of the bankruptcy case. Adrian Rudomin never held a direct ownership interest in the Debtor nor

28 did he have the authority to authorize the filing of the bankruptcy case on behalf of the Debtor. See
     4919-1683-6365.1 014764.005                       1
        NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
            MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATION OF DAVID BLATT
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 1 California Corporations Code section 17704.07(c).

 2             PLEASE TAKE FURTHER NOTICE that this Motion is based upon this Notice of

 3 Motion and Motion; the Memorandum of Points and Authorities; the Declaration of David Blatt;

 4 the Exhibits filed in support of the Motion; all pleadings and papers on file in this action; and upon

 5 such other matters as may be presented to the Court at the time of the hearing.

 6             PLEASE TAKE FURTHER NOTICE that Lobal Bankruptcy Rule 9013-1(f) requires a

 7 written response to be filed and served at least 14 days before the hearing. If you fail to timely file

 8 and serve documents, pursuant to Local Bankruptcy Rule 9013-1(h), the Court may deem this to be

 9 your consent to the granting of the Motion.
10

11 DATED: January 14, 2025                       KRONICK, MOSKOVITZ, TIEDEMANN & GIRARD
                                                 A Professional Corporation
12

13

14                                               By:
                                                       Gabriel P. Herrera
15                                                     Attorneys for Creditor,
                                                       CSPRF 2 LLC
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        NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
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 1                                 MEMORANDUM OF POINTS AND AUTHORITIES

 2             Adrian Rudomin, as an individual, falsely claimed that he was "the owner of the LLC" in

 3 order to provide authorization to commence this bankruptcy case. However, Adrian Rudomin never

 4 held a direct interest in the Debtor nor did anyone have authorization to file a voluntary petition

 5 other than the Creditor (through Leviathan, LLC, the sole member of the Debtor) and David Blatt.

 6 After the Debtor defaulted on its loan obligations with the Creditor, on December 4, 2024, the

 7 Creditor foreclosed on pledged membership interests in Leviathan, LLC ("Leviathan"), ultimately

 8 becoming the sole member of the Debtor. On the same day, the Creditor amended the operating

 9 agreement for Leviathan and the Debtor such that David Blatt was appointed as the manager. As a
10 result of the foreclosure and the amendments, the Creditor, through Leviathan (the sole member of

11 the Debtor), and David Blatt, the manager of the Debtor, held the only right to commence a voluntary

12 petition as of December 15, 2024 (the petition date). Consequently, no authority was provided for

13 the commencement of this bankruptcy case, and the case should be dismissed.

14                                 JURISDICTION AND FACTUAL BACKGROUND
15             1.        This Court has jurisdiction pursuant to 28 U.S.C. sections 157 and 1334. Venue is
16 proper in this District pursuant to 28 U.S.C. sections 1408 and 1409. This motion is proper pursuant

17 to 11 U.S.C. § 1112.

18 A.          The Organization of the Debtor
19             2.        On or about March 12, 2018, the Debtor was organized as a limited liability company
20 under the State of California's Revised Limited Liability Company Act. (See Operating Agreement

21 ¶ A.) To that end, an Operating Agreement was executed to establish the governance for the Debtor.

22 The Operating Agreement provided that the Debtor was manager managed, stating "[t]he business

23 of the Company shall be managed by THE KRAKEN, LLC, who shall serve as the sole manager of

24 the Company. The manager(s) of THE KRAKEN, LLC shall have full an absolute authority either

25 individually and/or collectively to enter into any and all transaction of the Company and to manage

26 any and all matters of The Company." (See Operating Agreement Article 4.1.)

27             3.        The Operating Agreement is silent as to any amendments to the agreement. As such,
28 the "unanimous vote of all members" is required for any amendment to the operating agreement
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 1 under Corporations Code section 17704.07(r)(2).

 2             4.        Leviathan was the sole member of the Debtor. (See Operating Agreement p. 8.)

 3             5.        The Operating Agreement further reflects that Adrian Rudomin and Diego Rudomin

 4 were the managers of THE KRAKEN, LLC. (See Operating Agreement p. 7.)

 5 B.          The Organization of Leviathan, LLC

 6             6.        Leviathan was organized on or about December 31, 2012.

 7             7.        By unanimous consent of its members, Leviathan's Operating Agreement was

 8 Amended on June 18, 2021. The Operating Agreement for Leviathan reflects that the company was

 9 also manager managed, and that THE KRAKEN, LLC was to serve as the manager. (Leviathan
10 Operating Agreement Article 4.1.)

11             8.        The Operating Agreement for Leviathan was silent as to any amendments to the
12 agreement and identified the following membership interests: (a) Pablo Rudomin 12.5%; (b) Isaac

13 Rudomin 12.5%; (c) THE KRAKEN, LLC 1%; (d) Adrian Rudomin 37%; and (e) Diego Rudomin

14 37%. (Leviathan Operating Agreement p. 7.)

15 C.          The Creditor Issues a Loan to the Debtor
16             9.        The Debtor was issued a loan by the Creditor and the membership interests of
17 Leviathan were pledged as collateral. To that end, on or about November 20, 2023, the Debtor, for

18 valuable consideration, executed and delivered a Mortgage Note in favor of the Creditor in the

19 amount of $2,350,000 ("Note").

20             10.       Pursuant to the terms of the Note, the Debtor promised to repay the principal amount
21 of $2,350,000 and interest at the rate specified in the Note. The Note provided for interest only

22 payments until the Maturity Date, August 1, 2024 (“Maturity Date”), at which time the unpaid

23 principal balance, all unpaid accrued interest and all other charges under the Note would be due and

24 payable. The Note further provided for a higher interest rate (i.e., Default Rate) in the event of a

25 default and for late charges.

26             11.       To secure repayment of the indebtedness evidenced by the Note, dated
27 November 20, 2023, the Debtor, as grantor, executed a Deed of Trust and Security Agreement

28 (“Deed of Trust”) for the benefit of Creditor. The Deed of Trust created a lien upon the real property
     4919-1683-6365.1 014764.005                          4
        NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
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 1 commonly known as 1116 Chantilly Road, Los Angeles, CA 90077 and legally described in Exhibit

 2 A attached thereto, together with all the existing or subsequently erect or affixed buildings,

 3 improvements and fixtures, more particularly described in the Deed of Trust (“Real Property”). Said

 4 Deed of Trust was duly recorded.

 5             12.       In connection with the Note, and for good and valuable consideration, on or about

 6 November 20, 2023, Adrian Rudomin, Diego Rudomin, Pablo Rudomin, and Isaac Rudomin

 7 (collectively "Guarantors") made, executed, and delivered to the Creditor a Guaranty ("Guaranty").

 8 Under the terms of the Guaranty, the Guarantors "absolutely, unconditionally and irrevocably"

 9 guaranteed all present and future obligations of the Debtor, including all sums then owing or
10 thereafter incurred or created by the Debtor.

11             13.       Also in connection with the Note, the Guarantors and THE KRAKEN LLC executed
12 and delivered an Ownership Interests Pledge and Security Agreement in favor of the Creditor

13 ("Pledge Agreement"). Under the terms of the Pledge Agreement, the Guarantors and THE

14 KRAKEN LLC each pledged their entire membership interest in Leviathan. In the event of a default

15 under the Note or any other loan documents, the Creditor was afforded the ability to foreclose on

16 the membership interests in Leviathan through public or private sale. (See Pledge Agreement

17 section 12.)

18             14.       The Guarantors and THE KRAKEN LLC provided the Creditor with their share
19 certificates in Leviathan.

20             15.       In connection with the Note, the Deed of Trust, the Pledge Agreement, and the other
21 loan documents, THE KRAKEN, LLC executed a Managing Member Consent, consenting to the

22 execution of the documents.

23 D.          The Debtor Defaults Under the Note
24             16.       The Creditor complied with all of the terms and conditions of the Note, the Deed of
25 Trust, and the other loan documents. In fact, the Creditor advanced all sums at the request of the

26 Debtor and performed all the conditions precedent on its part required to be performed.

27             17.       However, on or about August 1, 2024, the Debtor defaulted under the terms of the
28 Note by, among other things, failing to pay the total amount due to the Creditor on the Maturity
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 1 Date. Despite demand being made, the Debtor failed and/or refused to issue payment.

 2 E.          The Creditor Elects to Foreclose Under the Terms of the Pledge Agreement

 3             18.       On or about August 20, 2024, the Creditor issued a Notice of Sale, notifying parties

 4 that Maltz Auctions would be conducting a public sale of the Guarantors' and THE KRAKEN, LLC's

 5 membership interests in Leviathan on or about October 4, 2024 at 2:30 p.m. The auction was to be

 6 conducted via online bidding.

 7             19.       On or about the same day, the Creditor issued a Notification of Disposition of

 8 Collateral to the Guarantors and THE KRAKEN, LLC. Through the Notice, the Creditor notified

 9 the Guarantors and THE KRAKEN, LLC that, among other things, their membership interests in
10 Leviathan would be auctioned.

11             20.       Ultimately, the auction was continued to December 4, 2024. The Creditor was the
12 successful bidder through credit bid in the amount of $1,000, becoming the 100% owner of

13 Leviathan.

14 F.          The Creditor Amends the Operating Agreement for Leviathan
15             21.       Immediately following its successful bid for the membership interests in Leviathan,
16 the Creditor, as the sole member of Leviathan, amended the Operating Agreement for Leviathan

17 identifying the Creditor as the sole member and appointing David Blatt as the Manager.

18             22.       Given the Creditor's control of Leviathan, the Creditor then amended the Debtor's
19 Operating Agreement through a Corporate Resolution replacing THE KRAKEN LLC as manager

20 and appointing David Blatt, who was "authorized to manage all matters of the Company and make

21 any decisions on behalf of the Company…."

22 G.          The Debtor is Purportedly Authorized to File Bankruptcy
23             23.       Despite the Creditor and David Blatt not authorizing the filing of a bankruptcy as
24 manager of the Debtor and its sole member Leviathan, on December 15, 2024, the above-captioned

25 bankruptcy case was commenced.

26             24.       To purportedly demonstrate that the filing of the bankruptcy case was duly
27 authorized, a Statement Regarding Authority to Sign and File Petition was submitted by Adrian

28 Rudomin ("Statement"). In the Statement, Adrian Rudomin declared that he is the "owner of the
     4919-1683-6365.1 014764.005                          6
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 1 LLC" and that he was authorized to file a voluntary petition in the United States Bankruptcy Court.

 2 Adrian Rudomin was never, individually, the owner of the Debtor nor was he the manager of the

 3 Debtor. The Statement is not executed by any other person in any other capacity.

 4                                            BASIS FOR RELIEF

 5             No authority was provided for the filing of the Debtor's voluntary petition. Indeed, the

 6 Creditor (through Leviathan) and Mr. Blatt had the only authority to commence a voluntary

 7 bankruptcy case as of December 15, 2024. Adrian Rudomin, on the other hand, had absolutely no

 8 authority. A voluntary petition is commenced by the filing of a bankruptcy petition by an entity that

 9 may be a debtor. 11 U.S.C. § 301. State law determines who has the authority to file a voluntary
10 petition on behalf of a debtor. In re Sino Clean Energy, Inc., 901 F.3d 1139, 1141 (9th Cir. 2018),

11 citing Price v. Gurney, 324 U.S. 100, 106-107 (1945); see also Collier on Bankruptcy, ¶ 301.04[2][c]

12 at 301-8. If a voluntary petition is filed by persons or entities that lack authority under state law,

13 dismissal of the bankruptcy case is warranted. See Id. at 1140 (holding that since "the individuals

14 attempting to file the petition lacked authority," the bankruptcy court "correctly dismissed the

15 action"); see also In re Avalon Hotel Partners, LLC, 302 B.R. 377, 380-81 (Bankr.D.Or. 2003); In

16 re A-Z Electronics, LLC, 350 B.R. 886, 891 (Bankr.D.Idaho 2006).

17             California's Revised Uniform Limited Liability Company Act governs the Debtor. The Act
18 provides that:

19             '[e]xcept as otherwise provided in this section,' the operating agreement governs,
               among other matters, the relations of its members and the activities of the limited
20             liability company. Cal. Corp. Code § 17701.10(a) (emphasis added). Cal. Corp.
               Code § 17704.07(b) and (c), respectively, set forth the default rules for control of
21
               member-managed and manager-managed limited liability companies. Regardless
22             of which one applies … the consent of all members is required to take action on
               behalf of the company outside the ordinary course of business. See Cal. Corp.
23             Code § 17704.07(b)(4), (c)(4).
24             Members of a limited liability company can, however, adopt a different rule within
               an operating agreement. Cal. Corp. Code § 17701.10.
25

26             In re SSRE Holdings, LLC, 2021 WL 3829303, *4 (9th Cir. BAP 2021) (adjudicating

27 whether a manager had authority to commence a voluntary bankruptcy case for a limited liability

28 company).
     4919-1683-6365.1 014764.005                         7
        NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
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 1             Moreover, the operating agreement of a limited liability company may be amended by the

 2 unanimous vote of all members. Cal. Corp. Code § 17704.07(r)(2).

 3             Here, the Creditor (through Leviathan, the sole member of the Debtor) and David Blatt held

 4 the rights to file a bankruptcy petition on behalf of the Debtor. Even assuming that someone other

 5 than the Creditor or David Blatt held the right, Adrian Rudomin did not have the authority to

 6 authorize the filing of the voluntary petition on behalf of the Debtor.

 7 A.          The Creditors (through Leviathan) and David Blatt Had the Sole Right to Commence

 8             the Case.

 9             Leviathan, as the sole member of the Debtor, and David Blatt as the manager held the right
10 to file the voluntary petition. As explained above, upon the organization of the Debtor, Leviathan

11 was the sole member and THE KRAKEN, LLC was the manager. The members of Leviathan, in

12 turn, were the Guarantors and THE KRAKEN, LLC. In order to induce the Creditor to provide a

13 loan to the Debtor in the amount of $2,350,000, the Guarantors and THE KRAKEN, LLC each

14 pledged their entire interest in Leviathan to the Creditor through the Pledge Agreement. The Pledge

15 Agreement specifically provided that in the event of default, the Creditor could, among other things,

16 elect to sell the pledged interests by public or private sale.

17             On or about August 1, 2024, the Debtor defaulted under the terms of the loan issued by the
18 Creditor. As a result, the Creditor sought to enforce its rights against the Guarantors' and THE

19 KRAKEN, LLC's pledged interests in Leviathan. On December 4, 2024, after affording multiple

20 opportunities for the Debtor, the Guarantors, and THE KRAKEN LLC to avoid a public auction of

21 the shares in Leviathan, the pledged interests were sold by auction and the Creditor was the

22 successful bidder. On that same day, the Creditor, now as the sole member of Leviathan, amended

23 the Operating Agreement for Leviathan. The amendment identified the Creditor as the sole member

24 and appointed David Blatt as the Manager. Thereafter, on the same day, through its membership

25 interest and control of Leviathan, the Creditor then amended the Debtor's Operating Agreement

26 through a Corporate Resolution replacing THE KRAKEN LLC as manager and appointing David

27 Blatt, who was "authorized to manage all matters of the Company and make any decisions on behalf

28 of the Company…."
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 1             As of December 4, 2024, the Creditor (through Leviathan) and David Blatt held the rights

 2 to commence any voluntary bankruptcy proceeding on behalf of the Debtor. See In re Lake County

 3 Grapevine Nursery Operations, 441 B.R. 653, 655 (Bankr.N.D.Cal. 2010) (recognizing that when

 4 a secured creditor forecloses on a pledged interest the original members lose their right to vote to

 5 commence a bankruptcy case). Neither the Creditor nor David Blatt authorized the filing of the

 6 Debtor's voluntary petition. Consequently, the Debtor's bankruptcy case should be dismissed.

 7 B.          Adrian Rudomin Was Not the Owner of the Debtor

 8             Separate and apart from the Creditor (through Leviathan) and David Blatt holding the sole

 9 authority to commence a voluntary bankruptcy petition as of December 15, 2024, Adrian Rudomin
10 never held any authority to commence a voluntary petition. As noted above, Adrian Rudomin

11 merely held a 37% interest in Leviathan. Moreover, contrary to the Statement filed with the

12 voluntary petition, Adrian Rudomin was not "the owner of the LLC" and was never an owner of the

13 Debtor. On that separate basis, dismissal of the Debtor's bankruptcy case is also warranted.

14                                              CONCLUSION
15             Based on the foregoing, the Debtor's bankruptcy case should be dismissed.             On
16 December 15, 2024, Leviathan and David Blatt were the only two entities or persons that could file

17 a voluntary petition on behalf of the Debtor

18

19

20 DATED: January 14, 2025                       KRONICK, MOSKOVITZ, TIEDEMANN & GIRARD
                                                 A Professional Corporation
21

22

23                                               By:
                                                       Gabriel P. Herrera
24                                                     Attorneys for Creditor,
                                                       CSPRF 2 LLC
25

26

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28
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 1                                     DECLARATION OF DAVID BLATT

 2             1.        I am the manager and authorized representative of CSPRF 2 LLC, a Delaware limited

 3 liability company ("Creditor). I have been the manager since the creation of the Creditor. I make

 4 this declaration in support of the Motion to Dismiss. I am over the age of 18 years old and if called

 5 as a witness, I could and would testify competently to the facts stated herein.

 6             2         Due to my experience and position with the Creditor, I have personal knowledge of

 7 the business practices of the Creditor in preparing and maintaining business records, and of all acts,

 8 conditions, and events that occur in the regular course of administering agreements similar to the

 9 loan at issue.
10             3.        With respect to the loan held by the Creditor and issued to CHANTILLY ROAD,
11 LLC ("Debtor") and the corresponding guaranties executed by Adrian Rudomin, Diego Rudomin,

12 Pablo Rudomin, and Isaac Rudomin (collectively "Guarantors") and THE KRAKEN, LLC, I am

13 one of the custodians of the books, records, files, and credit records of the Creditor as those books,

14 records, files, and credit records pertain to that loan and guaranties. I personally worked on these

15 books, records, files, and credit records and, as to the following facts in which I make this

16 declaration, I know them to be true of my own knowledge or I have gained knowledge of them from

17 my review of the business records of the Creditor. These business records are maintained in the

18 ordinary course of the Creditor's business and were created at or near the time dated therein.

19             4.        As part of the loan process and due diligence for the loan issued by the Creditor to
20 the Debtor, the Debtor provided a copy of its Operating Agreement. The Operating Agreement

21 reflects that on or about March 12, 2018, the Debtor was organized as a limited liability company

22 under the State of California's Revised Limited Liability Company Act. A true and correct copy of

23 the Debtor's Operating Agreement, in force prior to December 4, 2024, is attached hereto as Exhibit

24 A.

25             5.        The Operating Agreement is silent as to any amendments to the agreement.
26             6.        Leviathan, LLC ("Leviathan") was the sole member of the Debtor.
27             7.        The Operating Agreement further reflects that Adrian Rudomin and Diego Rudomin
28 were the managers of THE KRAKEN, LLC.
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        NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
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 1             8.        As further part of the loan process and due diligence for the loan issued by the

 2 Creditor to the Debtor, I was provided a copy of Leviathan's then in force Operating Agreement. I

 3 understand that Leviathan was organized on or about December 31, 2012.

 4             9.        The June 18, 2021 Operating Agreement reflects that it was amended by unanimous

 5 consent of its members. The Operating Agreement for Leviathan reflects that the company was also

 6 manager managed, and that THE KRAKEN, LLC was to serve as the manager.

 7             10.       The Operating Agreement for Leviathan was silent as to any amendments to the

 8 agreement and identified the following membership interests: (a) Pablo Rudomin 12.5%; (b) Isaac

 9 Rudomin 12.5%; (c) THE KRAKEN, LLC 1%; (d) Adrian Rudomin 37%; and (e) Diego Rudomin
10 37%. A true and correct copy of the June 18, 2021 Operating Agreement for Leviathan is attached

11 hereto as Exhibit B.

12             11.       As a result of providing the documents, including the documents referenced above,
13 a loan was issued to the Debtor by the Creditor. To that end, on or about November 20, 2023, the

14 Debtor, for valuable consideration, executed and delivered a Mortgage Note in favor of the Creditor

15 in the amount of $2,350,000 ("Note"). A true and correct copy of the Note is attached hereto as

16 Exhibit C.

17             12.       Pursuant to the terms of the Note, the Debtor promised to repay the principal amount
18 of $2,350,000 and interest at the rate specified in the Note. The Note provided for interest only

19 payments until the Maturity Date, August 1, 2024 (“Maturity Date”), at which time the unpaid

20 principal balance, all unpaid accrued interest and all other charges under the Note would be due and

21 payable. The Note further provided for a higher interest rate (i.e., Default Rate) in the event of a

22 default and for late charges.

23             13.       To secure repayment of the indebtedness evidenced by the Note, dated
24 November 20, 2023, the Debtor, as grantor, executed a Deed of Trust and Security Agreement

25 (“Deed of Trust”) for the benefit of Creditor. The Deed of Trust created a lien upon the real property

26 commonly known as 1116 Chantilly Road, Los Angeles, CA 90077 and legally described in Exhibit

27 A attached thereto, together with all the existing or subsequently erect or affixed buildings,

28 improvements and fixtures, more particularly described in the Deed of Trust (“Real Property”). Said
     4919-1683-6365.1 014764.005                          11
        NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
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 1 Deed of Trust was duly recorded. A true and correct copy of the Deed of Trust is attached hereto

 2 as Exhibit D.

 3             14.       In connection with the Note, and for good and valuable consideration, on or about

 4 November 20, 2023, the Guarantors made, executed, and delivered to the Creditor a Guaranty

 5 ("Guaranty"). Under the terms of the Guaranty, the Guarantors "absolutely, unconditionally and

 6 irrevocably" guaranteed all present and future obligations of the Debtor, including all sums then

 7 owing or thereafter incurred or created by the Debtor. A true and correct copy of the Guaranty is

 8 attached hereto as Exhibit E.

 9             15.       Also in connection with the Note, the Guarantors and the Kraken LLC executed and
10 delivered an Ownership Interests Pledge and Security Agreement in favor of the Creditor ("Pledge

11 Agreement"). Under the terms of the Pledge Agreement, the Guarantors and THE KRAKEN LLC

12 each pledged their entire membership interest in Leviathan. In the event of a default under the Note

13 or any other loan documents, the Creditor was afforded the ability to foreclose on the membership

14 interests in Leviathan through public or private sale. A true and correct copy of the Pledge

15 Agreement is attached hereto as Exhibit F.

16             16.       The Guarantors and THE KRAKEN LLC provided the Creditor with their share
17 certificates in Leviathan LLC. True and correct copies of share certificates are attached hereto as

18 Exhibit G.

19             17.       In connection with the Note, the Deed of Trust, the Pledge Agreement, and the other
20 loan documents, THE KRAKEN, LLC executed a Managing Member Consent, consenting to the

21 execution of the documents referenced above. A true and correct copy of the Managing Member

22 Consent is attached hereto as Exhibit H.

23             18.       The Creditor complied with all of the terms and conditions of the Note, the Deed of
24 Trust, and the other loan documents. In fact, the Creditor advanced all sums at the request of the

25 Debtor and performed all the conditions precedent on its part required to be performed.

26             19.       On or about August 1, 2024, the Debtor defaulted under the terms of the Note by,
27 among other things, failing to pay the total amount due to the Creditor on the Maturity Date. Despite

28 demand being made, the Debtor failed and/or refused to issue payment.
     4919-1683-6365.1 014764.005                         12
        NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
            MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATION OF DAVID BLATT
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 1             20.       On or about August 20, 2024, the Creditor issued a Notice of Sale, notifying parties

 2 that Maltz Auctions would be conducting a public sale of the Guarantors' and THE KRAKEN, LLC's

 3 membership interests in Leviathan on or about October 4, 2024 at 2:30 p.m. The auction was to be

 4 conducted via online bidding. A true and correct copy of the Notice of Sale is attached hereto as

 5 Exhibit I.

 6             21.       On or about the same day, the Creditor issued a Notification of Disposition of

 7 Collateral to the Guarantors and THE KRAKEN, LLC. Through the Notice, the Creditor notified

 8 the Guarantors and THE KRAKEN, LLC that, among other things, their membership interests in

 9 Leviathan would be auctioned. A true and correct copy of the Notification of Disposition of
10 Collateral is attached hereto as Exhibit J.

11             22.       Ultimately, the auction was continued to December 4, 2024. The Creditor was the
12 successful bidder through credit bid in the amount of $1,000. As such, the Creditor became the

13 100% owner of Leviathan. A true and correct copy of the Memorandum of Sale is attached hereto

14 as Exhibit K.

15             23.       Immediately following its successful bid for the membership interests in Leviathan,
16 the Creditor, as the sole member of Leviathan, amended the Operating Agreement for Leviathan

17 identifying the Creditor as the sole member and appointing me as the Manager. A true and correct

18 copy of the amended operating agreement is attached hereto as Exhibit L.

19             24.       Given the Creditor's control of Leviathan, the Creditor then amended the Debtor's
20 Operating Agreement through a Corporate Resolution replacing THE KRAKEN LLC as manager

21 and appointing me. I was "authorized to manage all matters of the Company and make any decisions

22 on behalf of the Company…." A true and correct copy of the Corporate Resolution is attached

23 hereto as Exhibit M.

24             25.       We did not authorize any bankruptcy filing when a petition was filed on
25 December 15, 2024.

26 / / /

27 / / /

28 / / /
     4919-1683-6365.1 014764.005                          13
        NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
            MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATION OF DAVID BLATT
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                   26.     To purportedly demonstrate that the filing of the bankruptcy case was duly
    authorized, a Statement Regarding Authority to Sign and File Petition was submitted by Adrian
    Rudomin ("Statement"). In the Statement, Adrian Rudomin declared that he is the "owner of the
    LLC" and that he was authorized to file a voluntary petition in the United States Bankruptcy
    Court. Adrian Rudomin was never, individually, the owner of the Debtor nor was he the manager
    of the Debtor. The Statement is not executed by any other person in any other capacity. A true
    and correct copy of the Statement is attached hereto as Exhibit N.

           I declare under penalty of perjury under the laws of the State of California that the

    foregoing is true and correct.

           Executed on January ____, 2025, at Miami, Florida.




                                                    David Blatt




                                                   14
      NOTICE OF MOTION AND MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. SECTION 1112(b)(1);
          MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATION OF DAVID BLATT
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                                            Exhibit B
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                                           Exhibit C
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                                      MORTGAGE NOTE

 $2,350,000.00                                                    Dated: As of November 20, 2023
                                                                          Los Angeles, California


              MORTGAGE NOTE (hereinafter, this “Note”) made as of November 20, 2023,
by CHANTILLY ROAD, LLC, a California limited liability company, having an address at 578
Washington Blvd, Suite 148, Marina Del Rey, CA 90292 (the “Maker”), for the benefit of CSPRF
2 LLC, a Delaware limited liability company, its successors and/or assigns, as their interests may
appear, having offices at 8 The Green, Ste. A, Dover, Delaware 19901 (hereinafter, the “Payee”).

                FOR VALUE RECEIVED, Maker promises to pay to the order of Payee, at 8 The
Green, Ste. A, Dover, Delaware 19901, or at such other place as Payee may designate to Maker in
writing from time to time, the principal sum of TWO MILLION THREE HUNDRED FIFTY
THOUSAND AND 00/100 DOLLARS ($2,350,000.00), together with interest thereon at the
Interest Rate (as defined below) (or the Default Rate, as defined below, if applicable), calculated
in accordance with the terms and conditions set forth in this Note, from and including the date of
this Note to the date this Note is paid in full, as follows:

               A.     On the date hereof (the “Closing Date”), interest on the principal sum of
this Note from (and including) the Closing Date to November 30, 2023 at the Interest Rate.

               B.     Thereafter, interest only at the Interest Rate on the outstanding Principal
Balance (as defined below) shall be due monthly and shall be paid monthly in arrears, commencing
on January 1, 2024, and monthly thereafter on the first (1st) day of each month (the “Payment
Date”) until the Maturity Date (as defined below) (each such monthly payment, a “Monthly
Payment”).

               C.      Thereafter, on the Maturity Date, the entire outstanding principal balance of
this Note, together with all accrued and unpaid interest through the Maturity Date at the Interest
Rate, and all other sums payable to the holder of this Note (whether pursuant to this Note or the
Deed of Trust or Other Security Documents (as such terms are hereinafter defined)) shall become
due and payable.

1.     For the purposes of this Note, these terms shall be defined as follows:

       a.      The term “Applicable Law” shall mean all applicable existing and future federal,
               State, local and other laws, orders, ordinances, governmental and administrative
               rules and regulations, and court orders.

       b.      The term “Business Day” shall mean a weekday, Monday through Friday, except
               a legal holiday or a day on which banking institutions in New York, New York are
               authorized by law to be closed.

       c.      The term “Debt” shall mean all principal, interest and other sums of any nature
               whatsoever, which may or shall become due to Payee in accordance with the
               provisions of this Note, the Deed of Trust or Other Security Documents.
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         d.       The term “Deed of Trust” shall mean that certain Deed of Trust and Security
                  Agreement dated as of the date hereof, made by Maker for the benefit of Payee,
                  securing this Note and encumbering the premises located at 1116 Chantilly Road,
                  Los Angeles, California (the “Property”).

         e.       The term “Floor Rate” shall mean a per annum rate equal to Twenty and 00/100
                  Percent (20.00%).

         f.       The term “Interest Period” shall mean, initially, the period commencing on (and
                  including) the Closing Date and ending on (and including) the last day of the
                  calendar month in which the Closing Date occurs. Thereafter, each Interest Period
                  shall commence on (and include) the first day of each calendar month immediately
                  following the last day of the previous Interest Period and end on (and include) the
                  last day of such calendar month.

         g.       The term “Interest Rate” shall mean, for any day, a per annum rate equal to the
                  greater of (a) the Floor Rate or (b) the Spread plus the Prime Rate. Any change in
                  the Interest Rate due to a change in the Prime Rate shall take effect as of the date
                  such change in the Prime Rate occurred.

         h.       The term “Loan” shall mean the loan from Payee to Maker as of the Closing Date
                  in the principal amount of $2,350,000.00.

         i.       The term “Loan Documents” shall mean this Note, the Deed of Trust and all and
                  any of the documents now or hereafter executed by Maker and/or others and by or
                  in favor of Payee, which evidences, secures or guarantees all or any portion of the
                  payments due under this Note or otherwise is executed and/or delivered in
                  connection with this Note, the Deed of Trust, guarantees and agreements, including,
                  without limitation, the Pledge Agreement.

         j.       The term “Maturity Date” shall mean the earlier of (i) August 1, 2024, or (ii) such
                  sooner date, by acceleration or otherwise, as may be applicable pursuant to the
                  terms hereof, at which time the entire Debt shall become due and payable.

         k.       The term “Other Security Documents” shall mean any of the documents other
                  than this Note or the Deed of Trust, now or hereafter executed by the Maker or
                  others, and by or in favor of Payee, which wholly or partially secure or guarantee
                  payment of this Note, or which otherwise pertain to the Loan, including, without
                  limitation, the Pledge Agreement.

         l.       The term “Person” shall mean an individual, a corporation, a partnership, a limited
                  liability company, an association, a trust or any other entity or organization,
                  including a government or political subdivision or an agency or instrumentality
                  thereof.

         m.       The term “Pledge Agreement” shall mean that certain Ownership Interests Pledge
                  and Security Agreement, dated as of the date hereof, by and among Adrian
                  Rudomin, Diego Rudomin, Pablo Rudomin, Isaac Rudomin, The Kraken, LLC, as
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                  “Pledgors” and Lender”.

         n.       The term “Prime Rate” shall mean the annual rate of interest which is the highest
                  prime lending rate of interest most recently in effect (as published in the Money
                  Rates Section in The Wall Street Journal or if The Wall Street Journal fails to
                  publish such rate, such other publication as Lender shall designate in its sole
                  discretion). A certificate made by an officer of Lender stating the Prime Rate in
                  effect on any given day, for the purposes hereof, shall be conclusive evidence of
                  the Prime Rate in effect on such day. The Prime Rate is a base reference rate of
                  interest adopted by Lender as a general benchmark from which Lender determines
                  the floating interest rates chargeable on various loans to borrowers with varying
                  degrees of creditworthiness and Borrower acknowledges and agrees that Lender
                  has made no representations whatsoever that the Prime Rate is the interest rate
                  actually offered by Lender to borrowers of any particular creditworthiness. In the
                  event that the concept of the Prime Rate shall no longer exist, then the Prime Rate
                  shall be deemed to be the Prime Rate as last reported in The Wall Street Journal.

         o.       The term “Principal Balance” shall mean the outstanding principal balance of this
                  Note from time to time.

         p.       The term “Spread” shall mean Eleven and 50/100 Percent (11.50%).

2.      Any capitalized terms used herein but not defined shall have the meanings ascribed to them
in the Deed of Trust or Other Security Documents.

3.       Interest shall be computed on the basis of a year of 360 days and actual days elapsed.

4.      The failure to make any payment required under this Note or the occurrence of any Event
of Default (as such term is defined in the Deed of Trust or the Other Security Documents) shall
constitute an Event of Default under this Note.

5.      Upon the occurrence of an Event of Default: (a) interest shall accrue hereunder at the
Default Rate prior to and subsequent to the entry of a Judgment of Foreclosure and Sale, (b) Payee
may, at its option, without any written notice given to the Maker (such notice being expressly
waived), DECLARE AND DEMAND this Note and the Debt immediately due and payable and
(c) Payee may pursue all rights and remedies available hereunder or under Deed of Trust and the
Other Security Documents. Payee's rights, remedies and powers, as provided in this Note, the
Deed of Trust or the Other Security Documents are cumulative and concurrent, and may be pursued
singly, successively or together against Maker, any Guarantor (as such term is defined in the Deed
of Trust) of the indebtedness evidenced hereby or against any collateral granted or pledged by
Maker under any of the Loan Documents or any other collateral security given at any time to secure
the payment hereof, all at the sole discretion of Payee. Additionally, Payee may resort to every
other right or remedy available at law or in equity without first exhausting the rights and remedies
contained herein, all in Payee’s sole discretion. Failure of Payee, for any period of time or on more
than one occasion, to DECLARE AND DEMAND this Note and the Debt immediately due and
payable shall not constitute a waiver of the right to exercise the same at any time from and after
any Event of Default.

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6.      A payment shall not be deemed to have been made on any day unless such payment has
been received by Payee, at the required place of payment, in U.S. dollars by no later than 1:00 p.m.
(New York time) on such day. Whenever any payment to Payee hereunder would otherwise be
due (except by reason of acceleration) on a day that is not a Business Day, such payment shall
instead be due on the next succeeding Business Day. If any installment of principal, interest or
other sums due hereunder or under the Deed of Trust or any Other Security Document are not paid
on the date on which same are due, the Maker shall pay to the Payee a late charge of ten percent
(10.00%) of such unpaid installment as a late payment charge, such late charge to be immediately
due and payable without demand by the Payee. Notwithstanding anything to the contrary, all
payments due under this Note, the Deed of Trust and the Loan Documents shall be made by means
of wire transfer to the order of Payee, as directed by Payee, and Payee shall have the absolute right
to reject any payment not made by wire transfer. In addition, Maker shall pay to Payee the sum of
$2,500.00 for any payment which is returned for any reason by Maker’s bank unpaid.

7.      Separate and in addition to all other payment obligations of Maker contained herein, Maker
shall be required to pay a Loan origination fee to Payee (or Payee’s affiliate, at Payee’s direction)
on the Closing Date equal to $117,500.00 (the “Loan Origination Fee”).

8.       Maker acknowledges that this Note and Maker’s obligations under this Note are and shall
at all times continue to be absolute and unconditional in all respects. This Note, the Deed of Trust
and the Other Security Documents set forth the entire agreement and understanding of Payee and
Maker.

9.      Maker agrees to pay all costs and expenses of collection incurred by Payee, in addition to
principal and interest (including, without limitation, reasonable attorneys' fees and disbursements),
and including all costs and expenses incurred in connection with the pursuit by Payee of any of its
rights or remedies hereunder or under the Deed of Trust and/or the Other Security Documents or
the protection of or realization of collateral or in connection with any of Payee’s collection efforts,
whether or not any action or proceeding on this Note, on the Deed of Trust and/or the Other
Security Documents or any foreclosure proceeding is filed, all such costs and expenses being
payable on demand, together with interest at the Default Rate thereon and being secured by the
Deed of Trust and the Other Security Documents.

10.    The indebtedness herein evidenced by this Note is secured by the Deed of Trust and the
Other Security Documents.

11.  THIS NOTE HAS BEEN EXECUTED AND DELIVERED AT, AND SHALL BE
DEEMED TO HAVE BEEN MADE AND PERFORMED IN, THE STATE OF DELAWARE
AND, EXCEPT AS OTHERWISE PROVIDED IN HEREIN, THIS NOTE, THE DEED OF
TRUST AND EACH OF THE OTHER SECURITY DOCUMENTS SHALL IN ALL RESPECTS
BE GOVERNED, CONSTRUED, APPLIED AND ENFORCED IN ACCORDANCE WITH
THE INTERNAL LAWS OF THE STATE OF DELAWARE WITHOUT REGARD TO
PRINCIPLES OF CONFLICTS OF LAW.

              NOTWITHSTANDING THE FOREGOING CHOICE OF LAW:


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              (i)      THE PROCEDURES GOVERNING THE ENFORCEMENT BY PAYEE OF
                       ITS FORECLOSURE AND OTHER REMEDIES AGAINST MAKER
                       UNDER THE MORTGAGE AND UNDER THE OTHER SECURITY
                       DOCUMENTS WITH RESPECT TO THE PREMISES (AS SUCH TERM IS
                       DEFINED IN THE MORTGAGE) OR OTHER ASSETS SITUATED IN THE
                       STATE OF CALIFORNIA, INCLUDING BY WAY OF ILLUSTRATION,
                       BUT NOT IN LIMITATION, ACTIONS FOR FORECLOSURE, FOR
                       INJUNCTIVE RELIEF OR FOR THE APPOINTMENT OF A RECEIVER
                       SHALL BE GOVERNED BY THE LAWS OF THE STATE OF
                       CALIFORNIA;

              (ii)    PAYEE SHALL COMPLY WITH APPLICABLE LAW IN THE STATE
              OF CALIFORNIA TO THE EXTENT REQUIRED BY THE LAW OF SUCH
              JURISDICTION IN CONNECTION WITH THE FORECLOSURE OF THE
              SECURITY INTERESTS AND LIENS CREATED UNDER THE MORTGAGE AND
              THE OTHER SECURITY DOCUMENTS WITH RESPECT TO THE PREMISES OR
              OTHER ASSETS SITUATED IN THE STATE OF CALIFORNIA;

              (iii)   PROVISIONS OF FEDERAL LAW AND THE LAW OF THE STATE OF
              CALIFORNIA SHALL APPLY IN DEFINING THE TERMS HAZARDOUS
              SUBSTANCES AND ENVIRONMENTAL LAWS (AS SUCH TERMS ARE
              DEFINED IN THE OTHER SECURITY DOCUMENTS) APPLICABLE TO THE
              PREMISES; AND

              (iv)    THE CREATION, PERFECTION AND PRIORITY OF THE SECURITY
              INTERESTS AND LIENS CREATED UNDER THE MORTGAGE AND THE
              OTHER SECURITY DOCUMENTS WITH RESPECT TO THE PREMISES OR
              OTHER ASSETS SITUATED IN THE STATE OF CALIFORNIA SHALL BE
              GOVERNED BY THE LAWS OF THE STATE OF CALIFORNIA.

    NOTHING CONTAINED HEREIN OR ANY OTHER PROVISIONS OF THE MORTGAGE
OR OTHER SECURITY DOCUMENTS SHALL BE CONSTRUED TO PROVIDE THAT THE
SUBSTANTIVE LAWS OF THE STATE OF CALIFORNIA SHALL APPLY TO ANY
PARTIES, RIGHTS AND OBLIGATIONS UNDER THIS NOTE, THE MORTGAGE OR THE
OTHER SECURITY DOCUMENTS, WHICH, EXCEPT AS EXPRESSLY PROVIDED IN
CLAUSES (i), (ii) AND (iii) ABOVE, ARE AND SHALL CONTINUE TO BE GOVERNED BY
THE SUBSTANTIVE LAW OF THE STATE OF DELAWARE, EXCEPT AS SET FORTH IN
CLAUSES (i), (ii) AND (iii) ABOVE. IN ADDITION, THE FACT THAT PORTIONS OF THIS
NOTE, THE MORTGAGE AND THE OTHER SECURITY DOCUMENTS MAY INCLUDE
PROVISIONS DRAFTED TO CONFORM TO THE LAW OF THE STATE OF CALIFORNIA
IT IS NOT INTENDED, NOR SHALL IT BE DEEMED, IN ANY WAY, TO DEROGATE THE
PARTIES’ CHOICE OF LAW AS SET FORTH OR REFERRED TO IN THIS NOTE, THE
MORTGAGE OR IN THE OTHER SECURITY DOCUMENTS. THE PARTIES FURTHER
AGREE THAT THE PAYEE MAY ENFORCE ITS RIGHTS UNDER THIS NOTE, THE
MORTGAGE AND THE OTHER SECURITY DOCUMENTS INCLUDING, BUT NOT
LIMITED TO, ITS RIGHTS TO SUE THE MAKER OR TO COLLECT ANY OUTSTANDING
INDEBTEDNESS IN ACCORDANCE WITH APPLICABLE LAW.

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12.     Maker does hereby agree that upon the occurrence of an Event of Default, or upon the
failure of Maker to pay the Debt in full on the Maturity Date, Payee shall be entitled to receive and
Maker shall pay interest on the entire Debt at the rate of ten percent (10%) above the applicable
Interest Rate or at the maximum rate of interest which Maker may by law pay, whichever is lower
(the “Default Rate”), to be computed from the occurrence of the Event of Default until the actual
receipt and collection of the Debt, including all periods prior to or subsequent to the entry of a
Judgment of Foreclosure and Sale. This charge shall be added to the Debt and shall be deemed
secured by the Deed of Trust. This clause, however, shall not be construed as an agreement or
privilege to extend the date of the payment of the Debt, nor as a waiver of any other right or remedy
accruing to Payee by reason of the occurrence of any Event of Default.

13.     This Note is subject to the express condition that at no time shall Maker be obligated or
required to pay interest on the Principal Balance at a rate which could subject Payee to either civil
or criminal liability as a result of being in excess of the maximum rate which Maker is permitted
by law to contract or agree to pay. For the purposes of calculating the actual amount of interest
paid and or payable, in respect of laws pertaining to usury or such other laws, all sums paid or
agreed to be paid to Payee for the use, forbearance or detention of the indebtedness evidenced
hereby shall, to the extent permitted by applicable law, be amortized, allocated and spread from
the date of disbursement of the proceeds thereof until payment in full of the Loan obligations, so
that the actual rate of interest on account thereof is uniform throughout the term hereof. If, by the
terms of this Note, Maker is at any time required or obligated to pay interest on the Principal
Balance at a rate in excess of such maximum rate, the rate of interest under this Note shall be
deemed to be immediately reduced to such maximum rate, and interest payable hereunder shall be
computed at such maximum rate and the portion of all prior interest payments in excess of such
maximum rate shall be applied and shall be deemed to have been payments in reduction of the
Principal Balance.

14.      Intentionally Omitted.

15.     No delay on the part of Payee in exercising any right or remedy under this Note, the Deed
of Trust or the Other Security Documents or failure to exercise the same shall operate as a waiver
in whole or in part of any such right or remedy. No notice to or demand on Maker shall be deemed
to be a waiver of the obligation of Maker or of the right of Payee to take further action without
further notice or demand as provided in this Note, the Deed of Trust and the Other Security
Documents.

16.     Each of Payee’s rights and remedies under this Note shall be in addition to all of its other
rights and remedies under the Deed of Trust, Other Security Documents and applicable law.

17.   TIME IS OF THE ESSENCE with regard to Maker’s performance of all the terms,
covenants and conditions of this Note.

18.    Any provision of this Note, the Deed of Trust or the Other Security Documents that is
prohibited or unenforceable shall be ineffective to the extent of such prohibition or
unenforceability without invalidating the remaining provisions thereof or affecting the validity or
enforceability of such provision.


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19.     All of the provisions of this Note shall be binding upon and inure to the benefit of the
parties hereto and their respective successors and assigns.

20.    Maker hereby warrants, represents and covenants that no funds disbursed hereunder shall
be used for personal family or household purposes.

21.     Maker (and the undersigned representative of Maker, if any) represents that Maker has full
power, authority and legal right to execute and deliver this Note and that the Debt hereunder
constitutes a valid and binding obligation of Maker.

22.    All notices to be given under this Note shall be given in the same manner as provided in
the Deed of Trust.

23.    This Note, and any provisions hereof, may not be modified, amended, waived, extended,
changed, discharged or terminated orally or by any act or failure to act on the part of Maker or
Payee, but only by an agreement in writing signed by the party against whom enforcement of any
modification, amendment, waiver, extension, change, discharge or termination is sought.

24.      Without limiting any other provisions of the Deed of Trust or the Loan Documents, Maker,
for itself and all endorsers, guarantors and sureties of this Note, and their heirs, legal
representatives, successors and assigns, hereby waives valuation, appraisement, presentment for
payment, demand, notice of nonpayment, notice of dishonor, protest of any dishonor, notice of
protest and protest of this Note, lack of diligence, delays in collection or enforcement of this Note,
notice of the intention to accelerate, the benefit of all applicable law affording any right or
redemption or cure and all other notices in connection with the delivery, acceptance, performance,
default or enforcement of the payment of this Note, except as expressly provided herein or in the
Deed of Trust or any of the Other Security Documents, and in connection with any suit, action or
proceeding brought by Payee on this Note, any and every right it may have to (a) a trial by jury,
(b) interpose any counterclaim therein (other than a counterclaim which can only be asserted in a
suit, action or proceeding brought by Payee on this Note and cannot be maintained in a separate
action), and (c) have the same consolidated with any other or separate suit, action or proceeding,
and agrees that their respective liability shall be unconditional and without regard to the liability
of any other party and shall not be in any manner affected by any indulgence, extension of time,
renewal, waiver or modification granted or consented to by Payee. Maker, for itself and all
endorsers, guarantors and sureties of this Note, and their heirs, legal representatives, successors
and assigns, hereby consents to every extension of time, renewal, waiver or modification that may
be granted by Payee with respect to the payment or other provisions of this Note, and to the release
of any makers, endorsers, guarantors or sureties, and their heirs, legal representatives, successors
and assigns, and of any collateral given to secure the payment hereof, or any part hereof, with or
without substitution, and agrees that additional makers, endorsers, guarantors or sureties and their
heirs, legal representatives, successors and assigns, may become parties hereto without notice to
Maker or to any endorser, guarantor or surety and without affecting the liability of any of them.

25.  FOR ANY CLAIM, ACTION, OR DISPUTE ARISING UNDER, OR TO INTERPRET
OR APPLY, THIS NOTE OR ANY OTHER SECURITY DOCUMENT, OR TO RESOLVE
ANY DISPUTE ARISING UNDER THE FOREGOING OR THE RELATIONSHIP BETWEEN
THE PARTIES, MAKER AND PAYEE IRREVOCABLY SUBMIT TO THE NONEXCLUSIVE

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JURISDICTION OF THE COURTS OF THE STATE OF CALIFORNIA AND THE UNITED
STATES DISTRICT COURT LOCATED IN THE STATE OF CALIFORNIA, AND
APPELLATE COURTS FROM ANY OF SUCH COURTS. MAKER AND PAYEE
IRREVOCABLY WAIVES ANY OBJECTION THAT IT MAY HAVE AT ANY TIME TO
VENUE OF ANY SUCH SUIT, ACTION, OR PROCEEDING BROUGHT IN ANY SUCH
COURT, INCLUDING ANY CLAIM THAT ANY SUCH SUIT, ACTION, OR PROCEEDING
SO BROUGHT HAS BEEN BROUGHT IN AN INCONVENIENT FORUM. NOTHING IN
THE DEED OF TRUST OR OTHER SECURITY DOCUMENTS SHALL BE DEEMED TO
PRECLUDE PAYEE FROM BRINGING ANY SUIT, ACTION, OR PROCEEDING
RELATING TO ANY OTHER SECURITY DOCUMENT OR THE DEBT IN ANY OTHER
JURISDICTION WHERE PAYEE COULD OTHERWISE PROPERLY BRING SUCH SUIT,
ACTION, OR PROCEEDING. MAKER AND PAYEE FURTHER CONSENT AND AGREE
TO SERVICE OF ANY SUMMONS, COMPLAINT OR OTHER LEGAL PROCESS IN ANY
SUCH SUIT, ACTION OR PROCEEDING BY REGISTERED OR CERTIFIED U.S. MAIL,
POSTAGE PREPAID, TO MAKER AT THE ADDRESS SET FORTH ON PAGE 1 HEREOF,
AND CONSENTS AND AGREES THAT SUCH SERVICE SHALL CONSTITUTE IN EVERY
RESPECT VALID AND EFFECTIVE SERVICE (BUT NOTHING HEREIN SHALL AFFECT
THE VALIDITY OR EFFECTIVENESS OF PROCESS SERVED IN ANY OTHER MANNER
PERMITTED BY LAW).

26.      Intentionally Omitted.

27.     The parties intend that each of the Makers (if more than one) shall be fully liable, jointly
and severally, for all of the Debt. Nonetheless, in case a court finds that any Maker is not such a
primary obligor with respect to all or any part of such obligations, the Makers expressly waive the
benefit of any and all defenses and discharges available to a guarantor, surety, endorser or
accommodation party dependent on an obligor’s character as such. Without limiting the generality
of the foregoing, the liability of the Makers hereunder shall not be affected or impaired in any way
by any of the following acts or things (which the Payee is hereby expressly authorized to do, omit
or suffer from time to time without notice to or consent of anyone): (a) any acceptance of collateral
security, guarantors, accommodation parties or sureties for any or all indebtedness arising under
this Note, the Deed of Trust or the Other Security Documents; (b) any extension or renewal of any
such indebtedness (whether or not for longer than the original period) or any modification of the
interest rate, maturity or other terms of any such indebtedness; (c) any waiver or indulgence
granted to either Maker, and any delay or lack of diligence in the enforcement of the indebtedness
arising under this Note, the Deed of Trust or the Other Security Documents; (d) any full or partial
release of, compromise or settlement with, or agreement not to sue, either Maker or any guarantor
or other person liable on any such indebtedness; (e) any release, surrender, cancellation or other
discharge of any indebtedness arising under this Note, the Deed of Trust or the Other Security
Documents, or the acceptance of any instrument in renewal or substitution for any instrument
evidencing any such indebtedness; (f) any failure to obtain collateral security (including rights of
setoff) for any indebtedness arising under this Note, the Deed of Trust or the Other Security
Documents, or to see to the proper or sufficient creation and perfection thereof, or to establish the
priority thereof, or to preserve, protect, insure, care for, exercise or enforce any collateral security
for any such indebtedness; (g) any modification, alteration, substitution, exchange, surrender,
cancellation, termination, release or other change, impairment, limitation, loss or discharge of any

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collateral security for any such indebtedness; (h) any assignment, sale, pledge or other transfer of
any of the indebtedness arising under this Note, the Deed of Trust or the Other Security
Documents; or (i) any manner, order or method of application of any payments or credits on any
indebtedness arising under this Note, the Deed of Trust or the Other Security Documents. Each
Maker also hereby waives any right of contribution, subrogation, indemnification or other right
arising as a result of any payment made toward the Debt of the other Maker.

28.     Each of the Makers (if more than one) hereby waives, for the benefit of the Payee: (a) any
right the Payee, as a condition of payment or performance by either Maker, to (i) proceed against
the other Maker or any other person or entity, (ii) proceed against or exhaust any collateral for the
Debt held from the other Maker or any other person or entity, (iii) proceed against or have resort
to any balance of any deposit account, securities account, or credit on the books of the Payee in
favor of the other Maker or any other person or entity, or (iv) pursue any other remedy in the power
of the Payee whatsoever; (b) any defense arising by reason of the incapacity, lack of authority or
any disability or other defense of the other Maker, including any defense based on or arising out
of the lack of validity or the unenforceability of the Debt or any agreement or instrument relating
thereto or by reason of the cessation of the liability of the other Maker from any cause other than
payment in full of the Debt; (c) any defense based upon any statute or rule of law which
provides that the obligation of a surety must be neither larger in amount nor in other respects more
burdensome than that of the principal; (d) any defense based upon the Payee’s errors or omissions
in the administration of the Debt; (e) (i) any principles or provisions of law, statutory or otherwise,
which are or might be in conflict with the terms hereof and any legal or equitable discharge of its
obligations hereunder, (ii) the benefit of any statute of limitations affecting its liability hereunder
or the enforcement hereof, (iii) any rights to set-offs, recoupments and counterclaims, and (iv)
promptness, diligence and any requirement that the Payee protect, secure, perfect or insure any
security interest or lien or any property subject thereto; (f) notices, demands, presentments,
protests, notices of protest, notices of dishonor and notices of any action or inaction, including
acceptance hereof, notices of default thereunder or under this Note, the Deed of Trust or the Other
Security Documents, any agreement or instrument related thereto, notices of any renewal,
extension or modification of the Debt or any agreement related thereto, notices of any extension
of credit to the other Maker and notices of any matters referred to in any guaranty securing this
Note and any right to consent to any thereof; and (g) any defenses or benefits that may be derived
from or afforded by law which limit the liability of or exonerate sureties, or which may conflict
with the terms hereof.


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                 IN WITNESS WHEREOF,               Maker has duly executed this Note the day and year
first above written.



                                                   CHANTILLY ROAD, LLC,
                                                   a California limited liability company


                                                       AYE
                                                   Nome Adri     Rédomjh
                                                   Title: Authorized a   ory



ACKNOWLEDGMENT

 A notary public or other officer completing this
 certificate verifies only the identity of the
 individual who signed the document to which this
 certificate   is attached,   and    not the truthfulness,
 accuracy, or validity of that document.



STATE OF CALIFORNIA                        )
                                           ) ss
COUNTY
     OF           _Las    AmataArs         )

On November \6, 2023, before me,                   |    ara.    Goze                    , a Notary Public,
personally appeared ADRIAN RUDOMIN, who proved to‘me on the basis of satisfactory
evidence to be the person whose name is subscribed to the within instrument, and acknowledged
to me that he executed the same in his authorized capacity, and that by his signature on the
instrument the person, or the entity upon behalf of which the person acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

WITNESS my hand and official seal.
                                                                 T   aim,             TARA GIPSON           f
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                                          GUARANTY

        THIS GUARANTY (this “Guaranty”) is made as of November 20, 2023, by each of
ADRIAN RUDOMIN (“AR”), an individual having an address at 578 Washington Boulevard,
Apt. 148, Marina Del Ray, California 90292, DIEGO RUDOMIN (“DR”), an individual having
an address at 1339 Appleton Way, Venice, California 90291, PABLO RUDOMIN (“PR”), an
individual having an address at 578 Washington Boulevard, Apt. 148, Marina Del Ray, California
90292, ISAAC RUDOMIN, an individual having an address at 578 Washington Boulevard, Apt.
148, Marina Del Ray, California 90292 (“IR”; together with AR, DR, PR, hereinafter, individually
and collectively and jointly and severally, as the case may be, the “Guarantor”), in favor of CSPRF
2 LLC, a Delaware limited liability company, having offices at 8 The Green, Ste. A, Dover,
Delaware 19901 (together with its successors and assigns, the “Lender”).

                                     W I T N E S S E T H:

       A.       WHEREAS, CHANTILLY ROAD, LLC, a California limited liability company
has obtained a loan in the principal amount of $2,350,000.00 (the “Loan”) from Lender, which
Loan shall be disbursed in accordance with and subject to the disbursement procedures and
conditions set forth in the DOT (as defined herein);

        B.      WHEREAS, the Loan is evidenced by that certain Mortgage Note, dated as of the
date hereof (the “Note”), executed by Borrower and payable to the order of Lender in the stated
principal amount of $2,350,000.00, and secured by that certain second priority (2nd) Deed of Trust
and Security Agreement, dated as of the date hereof, by and among Borrower and Lender (the
“DOT”), encumbering certain real property situated in Los Angeles County, State of California,
as more particularly described on Exhibit A attached hereto and incorporated herein by this
reference, together with the buildings, structures and other improvements now or hereafter located
thereon (said real property, buildings, structures and other improvements being hereinafter
collectively referred to as the “Property”), and by other documents and instruments;

        C.    WHEREAS, for purposes herein, the Note, the DOT, and such other documents
and instruments related to the Loan, as the same may be from time to time amended, consolidated,
renewed or replaced, being collectively referred to herein as the “Loan Documents”;

      D.     WHEREAS, initially capitalized terms not otherwise defined herein shall have the
meanings given to such terms in the DOT; and

        E.      WHEREAS, Guarantor is an owner, either directly or indirectly, of a beneficial
interest in Borrower, the extension of the Loan to Borrower is of substantial benefit to Guarantor,
and, therefore, Guarantor desires to enter into this Guaranty in favor of Lender.

        NOW, THEREFORE, to induce Lender to extend the Loan to Borrower, and in
consideration of the foregoing promises and for other good and valuable consideration, the receipt,
adequacy and sufficiency of which are hereby acknowledged, Guarantor hereby covenants and
agrees for the benefit of Lender, as follows:

         1.       Guaranty.   The Guarantor hereby absolutely, unconditionally and irrevocably

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guarantees to Lender the full and punctual payment of claims of every nature and description of
Lender against Borrower and any and every obligation and liability of Borrower to Lender of
whatsoever nature and howsoever evidenced, whether now existing or hereafter incurred, whether
originally contracted with Lender, or subsequently acquired by Lender, in whole or part, whether
direct or indirect, absolute or contingent, secured or not secured, matured or not matured, including,
but not limited to those payments, obligations and liabilities contained in the Note, and other Loan
Documents, whether at maturity or earlier by reason of acceleration or otherwise and whether
denominated as damages, principal, interest, fees or otherwise, together with all pre- and
post-maturity interest thereon (including, without limitation, amounts that, but for the initiation of
any proceeding under any insolvency or bankruptcy law, would become due), all of which (together
with all costs and expenses in connection with the enforcement of this Guaranty as hereinafter set
forth) are hereinafter referred to as the “Guaranteed Obligations”.

                The Guarantor also agrees to pay any and all costs and expenses (including, without
limitation, all reasonable fees and disbursements of counsel) which may be paid or incurred by
Lender in connection with the enforcement of this Guaranty (collectively, the “Enforcement
Costs”). The foregoing shall not in any manner impair or release the Debt (as defined in the DOT)
evidenced by the Note, the DOT, and other Loan Documents or otherwise impair or derogate from
the Lender's ability to enforce its rights under the Note, the DOT, and other Loan Documents.

        2.     Guaranty Absolute. The Guarantor guarantees that the Debt (as defined in the
DOT) will be paid strictly in accordance with the terms of the DOT or any requirement of law,
regulation or order now or hereafter in effect in any jurisdiction affecting any of such terms or the
rights of Lender with respect thereto. The liability of the Guarantor hereunder shall be absolute and
unconditional irrespective of:

             (a)    any lack of validity or enforceability of the Note, the DOT, the other Loan
Documents or any other agreement between Lender and the Borrower relating thereto;

                (b)    any change in the time, manner, place of payment of the indebtedness under,
or in any other term of, or any other amendment or waiver of, or any consent to, departure from, or
any agreement between the Borrower and Lender, including, without limitation, the Note, the DOT
or the other Loan Documents;

               (c)      the insolvency of, or voluntary or involuntary bankruptcy, assignment for the
benefit of creditors, reorganization or other similar proceedings affecting, the Borrower or any of
its assets; or

               (d)     any other circumstance which might otherwise constitute a defense available
to, or a discharge of, the Borrower in respect of the Debt or of the Guarantor in respect of this
Guaranty.

                No payment made by the Guarantor, any other guarantor or any other Person or
entity, or received or collected by the Lender from the Guarantor, any other guarantor or any other
Person or entity by virtue of any action or proceeding or set off or application at any time in
reduction of or in payment of the Debt shall be deemed to modify, release or otherwise affect the
liability of Guarantor under this Guaranty. Notwithstanding any such payments received or
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collected by the Lender in connection with the Debt, Guarantor shall remain liable for the balance
of the Guaranteed Obligations until the Debt is paid in full. This Guaranty shall continue to be
effective or be reinstated, as the case may be, if at any time any payment of the Debt or any portion
thereof is rescinded or must otherwise be returned by the Lender upon the insolvency, bankruptcy
or reorganization of the Borrower or otherwise, all as though such payment had not been made.

               Lender shall not be required to inquire into the powers of the Borrower or any of its
members, partners, managers or other agents acting or purporting to act on its behalf, and monies,
advances, renewals or credits described in the Loan Documents in fact borrowed or obtained from
Lender in professed exercise of such powers shall be deemed to form part of the debts and liabilities
hereby guaranteed, notwithstanding that such borrowing or obtaining of monies, advances,
renewals, or credits shall be in excess of the powers of the Borrower, or of its members, partners,
managers or other agents aforesaid, or be in any way irregular, defective or informal.

         3.       Dealing with the Borrower and Others.

                 (a)   The Guaranteed Obligations shall not be released, discharged, limited or in
any way affected by anything done, suffered or permitted by Lender in connection with any monies
or credit advanced by Lender to the Borrower or any security therefor, including any loss of or in
respect of any security received by Lender from the Borrower or others. It is agreed that Lender,
without releasing, discharging, limiting or otherwise affecting in whole or in part the obligations
and liabilities hereunder, may, without limiting the generality of the foregoing:

                        (i)     grant time, renewals, extensions, indulgences, releases and
                                discharges to the Borrower and any other Person or entity
                                guaranteeing payment of or otherwise liable with respect to
                                the Debt (each such Person and/or entity, an “Obligor”);

                        (ii)    take or abstain from taking security or collateral from the
                                Borrower or any Obligor or from perfecting security or
                                collateral of the Borrower or any Obligor;

                        (iii)   accept compromises from the Borrower or any Obligor;

                        (iv)    apply all monies at any time received from the Borrower or
                                any Obligor upon such part of the Guaranteed Obligations
                                as Lender may see fit; or

                        (v)     otherwise deal with the Borrower or any Obligor as Lender
                                may see fit.

              (b)     Lender shall not be bound or obliged to exhaust recourse against the
Borrower or any other Obligor or any security, guarantee, indemnity, deed of trust or collateral it
may hold or take any other action before being entitled to payment from the Guarantor hereunder;
and

                  (c)   Any account settled by or between Lender and the Borrower shall be
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accepted by the Guarantor as conclusive evidence that the balance or amount thereby appearing
due to Lender is so due.

       4.       Reinstatement of Obligations. If at any time all or any part of any payment made
by Guarantor or received by Lender from Guarantor under or with respect to this Guaranty is or
must be rescinded or returned for any reason whatsoever (including, but not limited to, the
insolvency, bankruptcy or reorganization of Borrower or Guarantor), then the obligations of
Guarantor hereunder shall, to the extent of the payment rescinded or returned, be deemed to have
continued in existence, notwithstanding such previous payment made by Guarantor, or receipt of
payment by Lender, and the obligations of Guarantor hereunder shall continue to be effective or
be reinstated, as the case may be, as to such payment, all as though such previous payment by
Guarantor had never been made.

       5.      Waivers by Guarantor. To the extent permitted by law, Guarantor hereby waives
and agrees not to assert or take advantage of (as a defense or otherwise):

               (a)    Any right to require Lender to proceed against Borrower or any other Person
or to proceed against or exhaust any security held by Lender at any time or to pursue any other
remedy in Lender’s power or under any other agreement before proceeding against Guarantor
hereunder;

                  (b)   The defense of the statute of limitations in any action hereunder;

                (c)     Any defense that may arise by reason of the incapacity, lack of authority,
death or disability of any other person or persons or the failure of Lender to file or enforce a claim
against the estate (in administration, bankruptcy or any other proceeding) of any other Person or
Persons;

                (d)     Any failure on the part of Lender to ascertain the extent or nature of any
property (whether real or personal), rights, estates and interests now or at any time hereafter
securing the payment of the Note and/or the other obligations of Borrower under the Loan
Documents whether held by Lender or by any person or entity on Lender’s behalf or for Lender’s
account (the “Collateral”) or any insurance or other rights with respect thereto, or the liability of
any party liable for the Loan Documents or the obligations evidenced or secured thereby;

                (e)     Demand, presentment for payment, notice of nonpayment, protest, notice of
protest and all other notices of any kind, or the lack of any thereof, including, without limiting the
generality of the foregoing, notice of the existence, creation or incurring of any new or additional
indebtedness or obligation or of any action or non-action on the part of Borrower, Lender, any
endorser or creditor of Borrower or of any Guarantor or on the part of any other person
whomsoever under this or any other instrument in connection with any obligation or evidence of
indebtedness held by Lender;

                  (f)   Any defense based upon an election of remedies by Lender;

                  (g)   Any right or claim of right to cause a marshalling of the assets of Guarantor;


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                (h)     Any principle or provision of law, statutory or otherwise, which is or might
be in conflict with the terms and provisions of this Guaranty;

                (i)     Any duty on the part of Lender to disclose to Guarantor any facts Lender
may now or hereafter know about Borrower or the Property, regardless of whether Lender has
reason to believe that any such facts materially increase the risk beyond that which Guarantor
intends to assume or has reason to believe that such facts are unknown to Guarantor or has a
reasonable opportunity to communicate such facts to Guarantor, it being understood and agreed
that Guarantor is fully responsible for being and keeping informed of the financial condition of
Borrower, of the condition of the Property and of any and all circumstances bearing on the risk
that liability may be incurred by Guarantor hereunder;

                  (j)   Any lack of notice of disposition or of manner of disposition of any
Collateral;

                (k)      Failure to properly record any document or any other lack of due diligence
by Lender in creating or perfecting a security interest in or collection, protection or realization
upon any Collateral or in obtaining reimbursement or performance from any person or entity now
or hereafter liable for the Loan Documents or any obligation secured thereby;

            (l)         The inaccuracy of any representation or other provision contained in any
Loan Document;

                  (m)   Any sale or assignment of the Loan Documents, or any interest therein;

                (n)     Any sale or assignment by Borrower of any Collateral, or any portion
thereof or interest therein, whether or not consented to by Lender;

              (o)     Any invalidity, irregularity or unenforceability, in whole or in part, of any
one or more of the Loan Documents;

                  (p)   Any lack of commercial reasonableness in dealing with any Collateral;

                (q)    Any deficiencies in any Collateral or any deficiency in the ability of Lender
to collect or to obtain performance from any persons or entities now or hereafter liable for the
payment and performance of any obligation hereby guaranteed;

               (r)     An assertion or claim that the automatic stay provided by 11 U.S.C. § 362
(arising upon the voluntary or involuntary bankruptcy proceeding of Borrower) or any other stay
provided under any other debtor relief law (whether statutory, common law, case law or otherwise)
of any jurisdiction whatsoever, now or hereafter in effect, which may be or become applicable,
shall operate or be interpreted to stay, interdict, condition, reduce or inhibit the ability of Lender
to enforce any of its rights, whether now or hereafter acquired, which Lender may have against
Guarantor or any Collateral;

               (s)   Any modifications of the Loan Documents or any obligation of Borrower
relating to each Loan by operation of law or by action of any court, whether pursuant to the
Bankruptcy Reform Act of 1978, as amended, or any other debtor relief law (whether statutory,
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common law, case law or otherwise) of any jurisdiction whatsoever, now or hereafter in effect, or
otherwise;

             (t)    Any change in the composition of Borrower, including, without limitation,
the withdrawal or removal of Guarantor from any current or future position of ownership,
management or control of Borrower;

              (u)    The release of Borrower or of any other person or entity from performance
or observance of any of the agreements, covenants, terms or conditions contained in any of the
Loan Documents by operation of law, Lender’s voluntary act or otherwise; and

               (v)     Any action, occurrence, event or matter consented to by Guarantor under
Section 10(h) hereof, under any other provision hereof, or otherwise.

         6.       Additional Waivers.

                (a)    In addition to all the other waivers agreed to and made by Guarantor as set
forth in this Guaranty, Guarantor hereby waives all rights and defenses that Guarantor may have
because Borrower’s debt is secured by real property. This means, among other things:

                       (i)     Lender may collect from Guarantor without first foreclosing on any
real or personal property collateral pledged by Borrower.

                        (ii)   If Lender forecloses on any real property serving as collateral
pledged by Borrower:

                               (1)     The amount of the debt may be reduced only by the price for
which that collateral is sold at the foreclosure sale, even if the collateral is worth more than the
sale price; and

                              (2)     Lender may collect from Guarantor even if Lender, by
foreclosing on the real property collateral, has destroyed any right Guarantor may have to collect
from Borrower.

               This is an unconditional and irrevocable waiver of any rights and defenses
Guarantor may have because Borrower’s debt is secured by real property. Guarantor further hereby
waives all rights and defenses arising out of an election of remedies by Lender, even though that
election of remedies, such as a nonjudicial foreclosure with respect to security for a guaranteed
obligation, has destroyed Guarantor’s rights of subrogation and reimbursement against the
principal.

               (b)     Without limiting the generality of any of the waivers contained in this
Guaranty, Guarantor also waives (i) any defense based upon Lender’s election to waive its lien as
to all or any security for the Loan pursuant to any applicable law, and (ii) any and all benefits
which might otherwise be available to Guarantor.

             (c)     Without limiting the generality of any of the waivers contained in this
Guaranty, Guarantor also waives any defense based upon any statute or rule of law which provides
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that the obligation of a surety must be neither larger in amount nor in any other respects more
burdensome than that of a principal. In this regard, Guarantor acknowledges that Lender’s recourse
against Borrower for any of the obligations guaranteed hereby may be restricted impaired or
prohibited by reason of Lender’s election of remedies or other protections afforded debtors under
New York law and agrees that no such restriction, impairment or prohibition shall have any effect
on Guarantor’s obligations to pay and perform the obligations guaranteed hereby under this
Guaranty.

         7.     Suretyship Waivers. Guarantor understands and acknowledges that if Lender
forecloses judicially or nonjudicially against any real property serving as security for the Note,
that foreclosure could impair or destroy any ability that Guarantor may have to seek
reimbursement, contribution or indemnification from Borrower or others based on any right
Guarantor may have of subrogation, reimbursement, contribution or indemnification for any
amounts paid by Guarantor under this Guaranty. Guarantor further understands and acknowledges
that in the absence of this provision, the potential impairment or destruction of Guarantor’s rights,
if any, may entitle Guarantor to assert a defense to this Guaranty. By executing this Guaranty,
Guarantor freely, irrevocably and unconditionally: (i) waives and relinquishes that defense, and
agrees that Guarantor will be fully liable under this Guaranty, even though Lender may foreclose
judicially or nonjudicially against any real property serving as security for the Note; (ii) agree that
Guarantor will not assert that defense in any action or proceeding that Lender may commence to
enforce this Guaranty; (iii) acknowledge and agree that the rights and defenses waived by
Guarantor under this Guaranty include any right or defense that Guarantor may have or be entitled
to assert; and (iv) acknowledges and agrees that Lender is relying on this waiver in making the
Loan, and that this waiver is a material part of the consideration that Lender is receiving for making
the Loan.

        8.      Remedies. A separate action may be brought to enforce the provisions hereof,
which shall in no way be deemed to be an action on the Note, whether or not any Loan has been
repaid and whether or not Lender would be entitled to a deficiency judgment following a judicial
foreclosure, trustee’s sale or sale under the applicable Uniform Commercial Code.

       9.     Representations and Warranties. The             Guarantor    hereby    represents    and
warrants to Lender that:

               (a)     the Guarantor is not insolvent (as such term is defined in the debtor/creditor
laws of the State of New York);

                 (b)    the execution, delivery and performance of this Guaranty will not (i) make
Guarantor insolvent (as such term is defined in the debtor/creditor laws of the State of New York),
or (ii) violate any provision of any requirement of law or contractual obligation of Guarantor and
will not result in or require the creation or imposition of any lien on any of the properties or
revenues of Guarantor pursuant to any requirement of law or contractual obligation of Guarantor;

              (c)     the Guarantor has all requisite power and authority to execute, deliver and
perform his obligations under this Guaranty;


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               (d)     the execution, delivery of this Guaranty and the performance by the
Guarantor of his obligations hereunder does not and will not contravene, violate or conflict with
any requirement of law, and does not and will not contravene, violate or conflict with, or result in
a breach of or default under, the operating agreement of Borrower, or any contractual obligation
to which Guarantor or his assets is or are subject, and does not require or result in the creation or
imposition of any lien in favor of any person or entity other than Lender;

               (e)     the execution and delivery hereof and the performance by the Guarantor of
his obligations hereunder does not and will not contravene, violate or conflict with, or result in a
breach of or default under, any indenture, security instrument, deed of trust, ground lease, contract,
assignment, agreement or other instrument to which the Borrower or the assets of the Borrower
are subject;

                (f)    no consent of any other party (including, without limitation, any partner, or
any creditor of the Guarantor or Borrower) is required that has not been obtained by the Guarantor;
and

                (g)    this Guaranty has been duly executed and delivered by Guarantor and is the
legal, valid and binding obligation of Guarantor, enforceable against Guarantor in accordance with
its terms, except as enforceability may be limited by applicable bankruptcy, moratorium,
insolvency, reorganization or similar laws affecting creditors’ rights generally.

                Guarantor warrants and represents that Guarantor is fully aware of the financial
condition of Borrower and is executing and delivering this Guaranty based solely upon Guarantor’s
own independent investigation of all matters pertinent hereto, and that Guarantor is not relying in
any manner upon any representation or statement of Lender. Guarantor warrants, represent and
agree that Guarantor is in a position to obtain, and Guarantor hereby assumes full responsibility
for obtaining, any additional information concerning the financial condition of Borrower and any
other matter pertinent hereto, and that Guarantor is not relying upon Lender to furnish, and shall
have no right to require Lender to obtain or disclose, any information with respect to the
indebtedness or obligations guaranteed hereby, the financial condition or character of Borrower or
the ability of Borrower to pay the indebtedness or perform the obligations guaranteed hereby, the
existence of any collateral or security for any or all of such indebtedness or obligations, the
existence or nonexistence of any other guaranties of all or any part of such indebtedness or
obligations, any actions or non-action on the part of Lender, Borrower or any other person or entity,
or any other matter, fact or occurrence whatsoever. By executing this Guaranty, Guarantor
acknowledges and knowingly accepts the full range of risks encompassed within a contract of
indemnity or guaranty.

         10.      General Provisions.

               (a)    Full Recourse. All of the terms and provisions of this Guaranty are recourse
obligations of Guarantor and not restricted by any limitation on personal liability.

               (b)     Unsecured Obligations. Guarantor hereby acknowledges that Lender’s
appraisal of the Property is such that Lender is not willing to accept the consequences of the
inclusion of Guarantor’s guaranty set forth herein among the obligations secured by the DOT, and
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the other Loan Documents and that Lender would not make the Loan but for the unsecured personal
liability undertaken by Guarantor herein.

                (c)     Survival. This Guaranty shall be deemed to be continuing in nature and shall
remain in full force and effect and shall survive the payment of the indebtedness evidenced and
secured by the Loan Documents and the exercise of any remedy by Lender under the DOT, or any
of the other Loan Documents, including, without limitation, any foreclosure or deed in lieu thereof,
even if, as a part of such remedy, the Loan are paid or satisfied in full.

                (d)     No Subrogation; No Recourse Against Lender. Notwithstanding the
satisfaction by Guarantor of any liability hereunder, no Guarantor shall have any right of
subrogation, contribution, reimbursement or indemnity whatsoever or any right of recourse to or
with respect to the assets or property of Borrower or to any Collateral until the expiration of ninety-
one (91) days following payment of the Loan in full. In connection with the foregoing, Guarantor
expressly waives, until the expiration of ninety-one (91) days following payment of the Loan in
full, any and all rights of subrogation to Lender against Borrower, and Guarantor hereby waives
any rights to enforce any remedy which Lender may have against Borrower and any right to
participate in any Collateral. In addition to and without in any way limiting the foregoing,
Guarantor hereby subordinates any and all indebtedness of Borrower now or hereafter owed to
Guarantor to all indebtedness of Borrower to Lender, and agrees with Lender that Guarantor shall
not demand or accept any payment of principal or interest from Borrower, shall not claim any
offset or other reduction of Guarantor’s obligations hereunder because of any such indebtedness
and shall not take any action to obtain any of the Collateral. Further, no Guarantor shall have any
right of recourse against Lender by reason of any action Lender may take or omit to take under the
provisions of this Guaranty or under the provisions of any of the Loan Documents.

                (e)      Reservation of Rights. Nothing contained in this Guaranty shall prevent or
in any way diminish or interfere with any rights or remedies, including, without limitation, the
right to contribution, which Lender may have against Borrower, Guarantor or any other party under
the Comprehensive Environmental Response, Compensation and Liability Act of 1980 (codified
at Title 42 U.S.C. § 9601 et seq.), as it may be amended from time to time, or any other applicable
federal, state or local laws, all such rights being hereby expressly reserved.

               (f)     Financial Statements; Compliance Certificate. Guarantor hereby agrees, as
a material inducement to Lender to make the Loan to Borrower, to furnish to Lender promptly
upon demand by Lender current and dated financial statements detailing the assets and liabilities
of Guarantor as required by the DOT, certified by Guarantor, in form and substance acceptable to
Lender. Guarantor hereby warrants and represents unto Lender that any and all balance sheets, net
worth statements and other financial data which have heretofore been given or may hereafter be
given to Lender with respect to Guarantor did or will at the time of such delivery fairly and
accurately present the financial condition of Guarantor in all material respects.

                 (g)      Rights Cumulative; Payments. Lender’s rights under this Guaranty shall be
in addition to all rights of Lender under the Note, the DOT, and the other Loan Documents. Further,
payments made by Guarantor under this Guaranty shall not reduce in any respect Borrower’s
obligations and liabilities under the Note, the DOT, and the other Loan Documents.


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                (h)     No Limitation on Liability. Guarantor hereby consents and agrees that
Lender may at any time, and from time to time, without further consent from Guarantor, do, make,
grant, consent or agree to any of the following, and the liability of Guarantor under this Guaranty
shall be unconditional and absolute and shall in no way be impaired or limited by any of the
following, whether with or without notice to Borrower or Guarantor or with or without
consideration: (i) release and surrender the Collateral or any portion thereof; (ii) substitute for any
Collateral held by or on behalf of Lender other collateral of like kind, or of any kind; (iii) make
overadvances or increase the amount of the Loan; (iv) extend the time for performance required
by any of the Loan Documents or extend or renew the Note; (v) sue upon or foreclose the Note,
the DOT, or any of the other Loan Documents; (vi) sell or transfer the Property subsequent to
foreclosure; (vii) release Borrower, Guarantor or any other person or entity from performance or
observance of any of the agreements, covenants, terms or conditions contained in any of the other
Loan Documents by operation of law, Lender’s voluntary act or otherwise; (viii) agree to modify
the terms of any one or more of the Loan Documents; (ix) sell, assign or otherwise transfer the
Note, the DOT, and/or any other Loan Documents or any interest therein; or (x) take or fail to take
any action of any type whatsoever. No such action which Lender shall take or fail to take in
connection with the Loan Documents or any Collateral, nor any course of dealing with Borrower
or any other person, shall limit, impair or release any of Guarantor’s obligations hereunder, affect
this Guaranty in any way or afford Guarantor any recourse against Lender. Nothing contained in
this section shall be construed to require Lender to take or refrain from taking any action referred
to herein.

                (i)    Entire Agreement; Amendment; Severability. This Guaranty contains the
entire agreement between the parties respecting the matters herein set forth and supersedes all prior
agreements, whether written or oral, between the parties respecting such matters; and Guarantor
and Lender acknowledge that there are no contemporaneous oral agreements with respect to the
subject matter hereof. This Guaranty may not be changed, modified or amended, except by a
writing executed by the parties hereto; and no obligation of Guarantor can be released or waived
by Lender or any agent of Lender, except by a writing duly executed by Lender. A determination
that any provision of this Guaranty is unenforceable or invalid shall not affect the enforceability
or validity of any other provision, and any determination that the application of any provision of
this Guaranty to any person or circumstance is illegal or unenforceable shall not affect the
enforceability or validity of such provision as it may apply to any other persons or circumstances.

                 (j)    Governing Law; Binding Effect; Waiver of Acceptance. This Guaranty
shall be governed by and construed in accordance with the substantive laws of the State of
California without giving effect to its principles of choice of law or conflicts of law, except to the
extent that the applicability of any of such laws may now or hereafter be preempted by Federal
law, in which case such Federal law shall so govern and be controlling. This Guaranty shall bind
Guarantor and the heirs, executors, legal representatives, successors and assigns of Guarantor and
shall inure to the benefit of Lender and the officers, directors, shareholders, agents and employees
of Lender and their respective heirs, successors and assigns. This Guaranty shall in no event be
impaired by any change which may arise by reason of the death of Borrower or Guarantor, if
individuals, or by reason of the dissolution of Borrower or Guarantor, if Borrower or Guarantor is
a corporation, partnership, limited liability company or similar entity. Guarantor has executed this
Guaranty individually and not as a partner of Borrower or any other Guarantor or guarantor. This
Guaranty is assignable by Lender, and any full or partial assignment hereof by Lender shall operate
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to vest in the assignee all rights and powers herein conferred upon and granted to Lender and so
assigned by Lender. Guarantor expressly waives notice of transfer or assignment of this Guaranty
and acknowledge that the failure by Lender to give any such notice shall not affect the liabilities
of Guarantor hereunder. Notwithstanding the foregoing, Guarantor shall not assign any of its rights
or obligations under this Guaranty. Guarantor hereby waives any acceptance of this Guaranty by
Lender, and this Guaranty shall immediately be binding upon Guarantor.

                (k)     Notices. All notices given pursuant to this Guaranty shall be sufficient if
mailed either by (i) postage prepaid, certified or registered mail, return receipt requested, (ii) by
delivery to a nationally recognized overnight delivery service, or (iii) telecopy to:

                  If to Guarantor:             Adrian Rudomin
                                               578 Washington Boulevard, Apt. 148,
                                               Marina Del Ray, California 90292

                                               Pablo Rudomin
                                               578 Washington Boulevard, Apt. 148,
                                               Marina Del Ray, California 90292

                                               Isaac Rudomin
                                               578 Washington Boulevard, Apt. 148,
                                               Marina Del Ray, California 90292

                                               Diego Rudomin
                                               1339 Appleton Way,
                                               Venice, California 90291

                  with a copy to:              SIMONE & ROOS, LLP
                                               5627 Sepulveda Boulevard, Suite 206
                                               Sherman Oaks, California 91411

                  If to Lender:                CSPRF 2 LLC
                                               8 The Green, Ste. A,
                                               Dover, Delaware 19901
                                               Attn.: David Blatt

                  with a copy to:              Kriss & Feuerstein LLP
                                               360 Lexington Avenue, Suite 1200
                                               New York, New York 10017
                                               Attn: David S. Kriss, Esq.

                Notices shall be deemed given: (w) if served in person, when served; (x) if
telecopied, on the date of transmission if before 3:00 p.m. (New York time) on a Business Day
and after such time on the next Business Day; provided, however, that in both instances a hard
copy of such notice also is sent pursuant to (y) or (z) below; (y) if by overnight courier, on the first
(1st) Business Day after delivery to the courier; or (z) if by U.S. Mail, certified or registered mail,
return receipt requested on the fourth (4th) day after deposit in the mail postage prepaid. Any party
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may change its address for notices under this Guaranty by giving formal written notice to the other
parties, specifying that the purpose of the notice is to change the party’s address. For notice
purposes, Guarantor agrees to keep Lender informed at all times of Guarantor’s current
address(es).

                (l)     No Waiver; Time of Essence; Business Day. The failure of any party hereto
to enforce any right or remedy hereunder, or to promptly enforce any such right or remedy, shall
not constitute a waiver thereof nor give rise to any estoppel against such party nor excuse any of
the parties hereto from their respective obligations hereunder. Any waiver of such right or remedy
must be in writing and signed by the party to be bound. This Guaranty is subject to enforcement
at law or in equity, including actions for damages or specific performance. Time is of the essence
hereof. The term “business day” as used herein shall mean a weekday, Monday through Friday,
except a legal holiday or a day on which banking institutions in New York are authorized by law
to be closed.

               (m)     Captions for Convenience; Pronouns. The captions and headings of the
sections and paragraphs of this Guaranty are for convenience of reference only and shall not be
construed in interpreting the provisions hereof. All personal pronouns used herein, whether used
in the masculine, feminine or neuter gender, shall include all other genders; and the singular shall
include the plural and vice versa.

               (n)      Attorneys’ Fees. In the event it is necessary for Lender to retain the services
of an attorney or any other consultants in order to enforce this Guaranty, or any portion thereof,
Guarantor agrees to pay to Lender any and all costs and expenses, including, without limitation,
attorneys’ fees, incurred by Lender as a result thereof and such costs, fees and expenses shall be
included in the Liabilities and Costs.

                 (o)    Successive Actions. A separate right of action hereunder shall arise each
time Lender acquires knowledge of any matter indemnified or guaranteed by Guarantor under this
Guaranty. Separate and successive actions may be brought hereunder to enforce any of the
provisions hereof at any time and from time to time. No action hereunder shall preclude any
subsequent action, and Guarantor hereby waives and covenants not to assert any defense in the
nature of splitting of causes of action or merger of judgments.

                  (p)   Intentionally Omitted.

              (q)      Reliance. Lender would not make the Loan to Borrower without this
Guaranty. Accordingly, Guarantor intentionally and unconditionally enters into the covenants and
agreements as set forth above and understands that, in reliance upon and in consideration of such
covenants and agreements, the Loan shall be made and, as part and parcel thereof, specific
monetary and other obligations have been, are being and shall be entered into which would not be
made or entered into but for such reliance.

           (r)  WAIVER OF JURY TRIAL. TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, GUARANTOR AND LENDER (BY ITS
ACCEPTANCE HEREOF) EACH HEREBY WAIVE THEIR RESPECTIVE RIGHTS TO
A TRIAL BY JURY IN ANY ACTION OR PROCEEDING BASED UPON, OR RELATED

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TO, THE SUBJECT MATTER OF THIS GUARANTY OR THE RELATIONSHIP THAT
IS BEING ESTABLISHED, IN ANY ACTION, PROCEEDING OR OTHER LITIGATION
OF ANY TYPE BROUGHT BY ANY OF THE PARTIES AGAINST ANY OTHER PARTY
OR PARTIES, WHETHER WITH RESPECT TO CONTRACT CLAIMS, TORT CLAIMS,
OR OTHERWISE. TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
GUARANTOR AND LENDER (BY ITS ACCEPTANCE HEREOF) EACH AGREE THAT
ANY SUCH CLAIM OR CAUSE OF ACTION SHALL BE TRIED BY A COURT TRIAL
WITHOUT A JURY. THIS WAIVER IS KNOWINGLY, INTENTIONALLY AND
VOLUNTARILY MADE BY GUARANTOR, AND GUARANTOR ACKNOWLEDGES
THAT NEITHER LENDER NOR ANY PERSON ACTING ON BEHALF OF LENDER
HAS MADE ANY REPRESENTATIONS OF FACT TO INCLUDE THIS WAIVER OF
TRIAL BY JURY OR HAS TAKEN ANY ACTIONS WHICH IN ANY WAY MODIFY OR
NULLIFY ITS EFFECT. GUARANTOR ACKNOWLEDGES THAT THIS WAIVER IS A
MATERIAL INDUCEMENT TO ENTER INTO A BUSINESS RELATIONSHIP, THAT
LENDER HAS ALREADY RELIED ON THIS WAIVER IN ENTERING INTO THIS
GUARANTY AND THAT LENDER WILL CONTINUE TO RELY ON THIS WAIVER IN
ITS RELATED FUTURE DEALINGS WITH GUARANTOR. GUARANTOR FURTHER
ACKNOWLEDGES THAT IT HAS BEEN REPRESENTED, OR HAS HAD THE
OPPORTUNITY TO BE REPRESENTED, IN THE SIGNING OF THIS GUARANTY AND
IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL COUNSEL.
WITHOUT LIMITING THE FOREGOING, THE PARTIES FURTHER AGREE THAT
THEIR RESPECTIVE RIGHT TO A TRIAL BY JURY IS WAIVED BY OPERATION OF
THIS SECTION AS TO ANY ACTION, COUNTERCLAIM OR OTHER PROCEEDING
WHICH SEEKS, IN WHOLE OR IN PART, TO CHALLENGE THE VALIDITY OR
ENFORCEABILITY OF THIS GUARANTY, OR ANY PROVISION HEREOF. THIS
WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS, RENEWALS,
SUPPLEMENTS OR MODIFICATIONS TO THIS GUARANTY.

          (s)  VENUE. THE GUARANTOR HEREBY IRREVOCABLY SUBMITS
TO THE NONEXCLUSIVE JURISDICTION OF ANY DELAWARE STATE OR
FEDERAL COURT OR IN ANY ACTION OR PROCEEDING ARISING OUT OF OR
RELATING TO THIS GUARANTY, THE NOTE, THE DOT, THE PLEDGE
AGREEMENT OR ANY OTHER LOAN DOCUMENT DELIVERED IN CONNECTION
HEREWITH OR THEREWITH AND THE GUARANTOR HEREBY IRREVOCABLY
AGREES THAT ALL CLAIMS IN RESPECT OF SUCH ACTION OR PROCEEDING
MAY BE HEARD AND DETERMINED IN SUCH DELAWARE STATE COURT, OR TO
THE EXTENT PERMITTED BY LAW, IN SUCH FEDERAL COURT.          THE
GUARANTOR HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT HE
MAY EFFECTIVELY DO SO, THE DEFENSE OF AN INCONVENIENT FORUM TO
THE MAINTENANCE OF SUCH ACTION OR PROCEEDING. TO THE EXTENT
PERMITTED BY LAW, THE GUARANTOR ALSO IRREVOCABLY CONSENTS TO
THE SERVICE OF ANY AND ALL PROCESS IN ANY SUCH ACTION OR
PROCEEDING BY THE MAILING OF COPIES (CERTIFIED MAIL, RETURN
RECEIPT REQUESTED AND POSTAGE PREPAID) OF SUCH PROCESS TO HIM AT
HIS ADDRESS SPECIFIED IN SECTION 10 HEREOF OR IN THE MANNER SET
FORTH IN SECTION 37 OF THE DOT FOR THE GIVING OF NOTICE. THE
GUARANTOR AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
Guaranty
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PROCEEDING SHALL BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER
JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN ANY OTHER MANNER
PROVIDED BY LAW.

                (t)     Litigation. In the event of any litigation over this Guaranty: (a) if that
litigation is heard in the Commercial Division, New York State Supreme Court, then the parties
consent and agree to application of the Court’s accelerated procedures, Uniform Rules for the
Supreme and County Courts (Rules of Practice for the Commercial Division, Section 202.70(g),
Rule 9); and (b) the parties shall promptly enter into and submit to the court (with a request to be
“so-ordered”) a Stipulation and Order for the Production and Exchange of Confidential
Information in the form promulgated by the New York City Bar Association Committee on State
Courts of Superior Jurisdiction.

                 (u)     Waiver by Guarantor. Guarantor covenants and agrees that, upon the
commencement of a voluntary or involuntary bankruptcy proceeding by or against Borrower,
neither Guarantor shall seek or cause Borrower or any other person or entity to seek a supplemental
stay or other relief, whether injunctive or otherwise, pursuant to 11 U.S.C. § 105 or any other
provision of the Bankruptcy Reform Act of 1978, as amended, or any other debtor relief law,
(whether statutory, common law, case law or otherwise) of any jurisdiction whatsoever, now or
hereafter in effect, which may be or become applicable, to stay, interdict, condition, reduce or
inhibit the ability of Lender to enforce any rights of Lender against Guarantor or any Collateral by
virtue of this Guaranty or otherwise.

                 (v)    Counterparts. This Guaranty may be executed in any number of
counterparts, each of which shall be effective only upon delivery and thereafter shall be deemed
an original, and all of which shall be taken to be one and the same instrument, for the same effect
as if all parties hereto had signed the same signature page. Any signature page of this Guaranty
may be detached from any counterpart of this Guaranty without impairing the legal effect of any
signatures thereon and may be attached to another counterpart of this Guaranty identical in form
hereto but having attached to it one or more additional signature pages. Further, facsimile or
electronic (e.g., .pdf format) copies of signatures shall be considered originals for purposes of
binding the parties hereto.

              (w)    Secondary Market Transactions. The terms and provisions of Section 40 of
the DOT are hereby incorporated herein by this reference.

              (x)     Joint and Several Liability. The liability of all persons and entities who are
in any manner obligated hereunder to Lender as Guarantor shall be joint and several.

             (y)     Payment of Money Only. Guarantor acknowledges that this Guaranty is an
“instrument for the payment of money only,” within the meaning of New York Civil Practice
Law and Rules Section 3213. Thus, Lender is entitled to move for summary judgment in lieu of
complaint when enforcing this Guaranty.

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                              SIGNATURE PAGE TO FOLLOW


Guaranty
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        IN WITNESS WHEREOF, the Guarantor has executed this Guaranty as of the date and
year set forth above.


                                        GUARANTOR:



                                        ADRIAN
                                                 ALG.
                                                  RYDOMIN, an individual


                                        DIEGO RUDOMIN, an individual



                                        PABLO RUDOMIN, an individual




                                        ISAAC RUDOMIN, an individual
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                                              executed this Guaranty as of the date and
        IN WITNESS WHEREOF, the Guarantor has
year set forth above.


                                              GUARANTOR:



                                              ADRIAN RUDOMIN, an individual




                                              DIEGO RUDOMIN, an individual

                     aay,                               VP Prk.
                  Sas,                        Pablo Rudomin (Nov 28, 2023 17:18 CST)    x

                SS PLEGTRONIC™.,              PABLO RUDOMIN, an individual
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                  “A MERTAS                    ISAAC RUDOMIN, an individual
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    Notary Acknowledgment Continued on Next Page
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ACKNOWLEDGMENT

 A notary public or other officer completing this
 certificate verifies only the identity of the
 individual who signed the document to which this
 certificate    is attached,       and not the truthfulness,
 accuracy, or validity of that document.



STATE    OF CALIFORNIA                        )
                                              ) ss
COUNTY OF            Los     Ana       thts   )

On   November        |&,   2023,     before   me,—{ara.        e   .Sevy\                   , a Notary          Public,
personally appeared ADRIAN RUDOMIN, who proved to me on the basis of satisfactory
evidence to be the person whose name is subscribed to the within instrument, and acknowledged
to me that he executed the same in his authorized capacity, and that by his signature on the
instrument the person, or the entity upon behalf of which the person acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

WITNESS my hand and official seal.
                                                                      TR,  137,    ROE
                                                                                             TARAepee
                                                                                                   GIPSON ee a
                                                                       (eA                COMM. #2384010 }
                                                                                         Notary Public - Catifornia   3
                                                                                           Los Angeles County         <=
  aT           Wa.         Lon pow                                    J}    See”   My Comm, Expires May 6, 2025
Notary Public                  i
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ACKNOWLEDGMENT

 A notary public or other officer completing this
 certificate verifies only the identity of the
 individual who signed the document to which this
 certificate is attached, and not the truthfulness,
 accuracy, or validity of that document.



STATE OF CALIFORNIA                  )
                                     ) ss
COUNTYOF Las Avagus                  )
On November Le, 2023, before me, ~lara                     Q Say)                    , a Notary Public,
personally appeared DIEGO RUDOMIN, who proved to me on the basis of satisfactory evidence
to be the person whose name is subscribed to the within instrument, and acknowledged to me that
he executed the same in his authorized capacity, and that by his signature on the instrument the
person, or the entity upon behalf of which the person acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

WITNESS my hand and official seal.
                                                               YT me,
                                                                   fame        “TARA GIPSON’
                                                                         #2,        COMM. #2354010              2
                                                              Ae )                 Notary Public - California   8
                    oLocams                                         Fe         ,     Los Angeles County
   ——TAa,                                                                     Comm. Expires May tet
                                                                                                 6, 2025
Notary Public        FR                                                   nee ence
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                                        Acknowledgment


A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached and not the truthfulness, accuracy, or validity
of that document.




 STATE OF __ Virginia

 COUNTY OF __ Chesterfield


     November 28, 2023                                             a Notary Public, appeared                    Pablo Rudomin &
On                           before, me _ Lauren N. Fridley

      Isaac Rudomin            who proved to me on the basis of satisfactory evidence to be the person(s),

                                                                                                          the
whose name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed
                                                                                                             person(s)
same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the

or the entity upon behalf of which the person(s) acted, executed the instrument.




| certify under PENALTY OF PERJURY under the laws of the State of Virginia of the United States of America that
the foregoing paragraph is true and correct.



WITNESS my hand and official seal
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Commission 7699515                                                           “Sag... S/N                        SS
Expires 06/30/2024                                                                 OER AOS
                                                                                              Ww

Notary Public of Chesterfield County, Virginia


            Completed via Remote Online Notarization using two-way Audio/Video technology
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                                             Exhibit F
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             OWNERSHIP INTERESTS PLEDGE AND SECURITY AGREEMENT

        THIS OWNERSHIP INTERESTS PLEDGE AND SECURITY AGREEMENT
(this “Agreement”) is made as of the ____ day of November, 2023, by and among, ADRIAN
RUDOMIN (“AR”), an individual having an address at 578 Washington Boulevard, Apt. 148,
Marina Del Ray, California 90292, DIEGO RUDOMIN (“DR”), an individual having an
address at 1339 Appleton Way, Venice, California 90291, PABLO RUDOMIN (“PR”), an
individual having an address at 578 Washington Boulevard, Apt. 148, Marina Del Ray,
California 90292, ISAAC RUDOMIN (“IR”), an individual having an address at 578
Washington Boulevard, Apt. 148, Marina Del Ray, California 90292, and THE KRAKEN,
LLC, a California limited liability company having an address at 578 Washington Blvd, #148,
Marina Del Rey, CA 90292 (“KRAKEN”; together with AR, DR, PR and IR, hereinafter,
individually and collectively and jointly and severally, as the case may be, the “Pledgor”), and
CSPRF 2 LLC, a Delaware limited liability company, having offices at 8 The Green, Ste. A,
Dover, Delaware 19901 (“Lender”).

         WHEREAS, pursuant to the terms of the Mortgage Note (the “Note”), the Deed of Trust
and Security Agreement (the “Deed of Trust”), and any and all other security documents and
guarantees securing Borrower’s obligations under the Note (collectively herein, the “Loan
Documents”) of even date herewith between CHANTILLY ROAD, LLC, a California limited
liability company (the “Borrower”), and Lender, Lender has agreed to make that certain secured
loan to the Borrower in the principal amount of $2,350,000.00 (the “Loan”), as evidenced and
secured by all of the obligations under and in connection with the Loan Documents, on the
condition that Pledgor pledge all interest, right and title to their respective membership interests
(as set forth on Schedule A annexed hereto and made a part hereof) in LEVIATHAN, LLC, a
California limited liability company (“Issuer”), being the sole member of Borrower (the
“Obligations”); and

       WHEREAS, Pledgor are the members of the Issuer;

       WHEREAS, Issuer is the sole member of Borrower; and

       WHEREAS, in order to induce Lender to make the Loan, it is a condition precedent
under the Loan Documents that Pledgor shall have (a) granted to Lender the security interests,
and undertaken the obligations, set forth in this Agreement, and (b) executed and delivered to
Lender this Agreement.

        NOW, THEREFORE, in consideration of the promises contained herein and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
the parties hereto agree as follows:

1.     Pledge of Collateral. Pledgor hereby irrevocably and unconditionally pledges and assigns
       to Lender, and irrevocably and unconditionally grants to Lender a security interest in, all
       of Pledgor’s right, title, and interest in and to the following (the “Collateral”):

       (a)     the Pledged Interests (hereinafter defined) together with all rights to Distributions
               (hereinafter defined) or other payments arising therefrom or relating thereto, and
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                  all options, rights, instruments, and other property or proceeds from time to time
                  received, receivable, or otherwise distributable in respect of or in exchange for
                  any or all of the Pledged Interests;

         (b)      to the extent not covered by subparagraph (a), all rights to receive all income,
                  gain, profit, loss, or other items allocated, allocable, distributed, or distributable to
                  Pledgor under the Organizational Documents (hereinafter defined) of the Issuer,
                  and all general intangibles, accounts, investment property, payment intangibles,
                  supporting obligations, other contract rights or rights to the payment of money,
                  and all proceeds, as each of the foregoing terms is defined in the UCC (hereinafter
                  defined), arising out of, or in connection with, the membership interest in Issuer;

         (c)      all of Pledgor’ ownership interest in any capital accounts in the Issuer;

         (d)      all of Pledgor’ voting, consent, management, management removal and
                  replacement, and approval rights, and/or rights to control or direct the affairs of
                  the Issuer, inclusive of the management rights of the Pledgor in the Issuer, as set
                  forth in the Operating Agreement of the Issuer dated June 18, 2021, and any
                  amendments thereto, as the same may be amended or amended and restated from
                  time to time (collectively, the “Operating Agreement”);

         (e)      any additional ownership interests of, and any ownership interests exchangeable
                  for or convertible into and warrants, options, and other rights to purchase or
                  otherwise acquire shares of ownership interests of, the Issuer, or entity which is
                  the successor of the Issuer, from time to time acquired by Pledgor in any manner
                  (all of which interests shall be deemed to be part of the Pledged Interests), and
                  any certificates or other instruments representing such additional interests,
                  warrants, options, and other rights, and all Distributions and other property or
                  proceeds from time to time received, receivable, or otherwise distributed or
                  distributable in respect of or in exchange for any or all of such additional shares,
                  warrants, options, or other rights. Pledgor agrees that Lender may from time to
                  time attach as Schedule A hereto an updated list of the Collateral at the time
                  pledged to Lender hereunder (although the failure to so update Schedule A shall
                  not limit the pledge of such additional interests to Lender); and

         (f)      to the extent not covered by clauses (a) through (e) above, all proceeds of any or
                  all of the foregoing Collateral. For purposes of this Agreement, the term
                  “proceeds” includes whatever is receivable or received when Collateral or
                  proceeds are sold, exchanged, collected, or otherwise disposed of, whether such
                  disposition is voluntary or involuntary, and includes, without limitation, proceeds
                  of any indemnity or guaranty payable to Pledgor from time to time with respect to
                  any of the Collateral.

2.       Certain Definitions. Capitalized terms used herein without definition shall have the
         respective meanings provided therefor in the Loan Documents. Terms (whether or not
         capitalized) used herein and not defined in the Loan Documents or otherwise defined
         herein that are defined in the Uniform Commercial Code as in effect in the State of
         California or other applicable jurisdiction (the “UCC”) have such defined meanings

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         herein, unless the context otherwise indicates or requires. In addition, the following
         terms used herein shall have the following meanings:

         (a)      “Article 8 Matter” means any action, decision, determination or election by the
                  Issuer or its members that the membership interest in the Issuer be, or cease to be,
                  a “security” as defined in and governed by Article 8 of the UCC, and all other
                  matters related to any such action, decision, determination or election.

         (b)      “Business Day” means a weekday, Monday through Friday, except a legal holiday
                  or a day on which banking institutions in New York, New York are authorized by
                  law to be closed.

         (c)      “Contractual Obligation” means, as to any Person, any contract, agreement, or
                  undertaking, regardless of how characterized, oral or written, to which such
                  Person is a party, or by which such Person or such Person’s property is bound, or
                  to which such Person or such Person’s property is subject.

         (d)      “Distributions” means any distribution of property (including cash) (regardless of
                  whether from cash flow, capital transactions, or otherwise) on account of a
                  Pledged Interest, or any other distribution or payment on or in respect of any
                  membership interest or the redemption or repurchase thereof.

         (e)      “Governmental Authority” means any national, state, or local government, any
                  political subdivision thereof, or any other governmental, quasi-governmental,
                  judicial, public, or statutory instrumentality, authority, body, agency, bureau, or
                  entity or any arbitrator with authority to bind a Person at law, and any agency,
                  authority, department, commission, board, bureau, or instrumentality of any of
                  them.

         (f)      “Legal Requirements” means all applicable federal, state, county and local laws,
                  by-laws, rules, regulations, codes and ordinances, and the requirements of any
                  Governmental Authority having or claiming jurisdiction with respect thereto,
                  including, but not limited to, all orders and directives of any Governmental
                  Authority having or claiming jurisdiction with respect thereto.

         (g)      “Lien” means any lien, encumbrance, security interest, mortgage, restriction,
                  charge or encumbrance of any kind.

         (h)      “Loan Collateral” means the “Collateral” as defined in the Deed of Trust (as
                  defined in the Note) and includes the Collateral hereunder.

         (i)      “Organizational Documents” means for any corporation, partnership, trust,
                  limited liability company, limited liability partnership, unincorporated
                  association, business or other legal entity, the agreements pursuant to which such
                  entity has been established or organized, its affairs are to be governed, and its
                  business is to be conducted, as such documents may be amended from time to
                  time.


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         (j)      “Person” means any individual, corporation, partnership, joint venture, limited
                  liability company, estate, trust, unincorporated association, any federal, State,
                  county or municipal government or any bureau, department or agency thereof and
                  any fiduciary acting in such capacity on behalf of any of the foregoing.

         (k)      “Pledged Interests” means the ownership interests or membership interest now or
                  hereafter listed on Schedule A hereto or which would be listed on an updated
                  Schedule A at any time of reference, together with all related rights of the holder
                  thereof pursuant to the Organizational Documents of the Issuer.

3.       Security for the Secured Obligations. This Agreement secures, and the Collateral is
         collateral security for, the payment and performance in full when due, whether at stated
         maturity, by required prepayment, declaration, acceleration, demand, or otherwise
         (including the payment of amounts that would become due but for the operation of the
         automatic stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)), of the
         following (the “Secured Obligations”):

         (a)      the Obligations, including all obligations and liabilities of every nature of the
                  Borrower now or hereafter existing under or arising out of or in connection with
                  the Loan Documents and all renewals or extensions thereof, whether for principal,
                  interest, fees, expenses, indemnities, or otherwise, whether voluntary or
                  involuntary, direct or indirect, absolute or contingent, liquidated or unliquidated,
                  whether or not jointly owed with others, and whether or not from time to time
                  decreased or extinguished and later increased, created, or incurred, and all or any
                  portion of such obligations or liabilities that are paid, to the extent all or any part
                  of such payment is avoided or recovered directly or indirectly from Lender as a
                  preference, fraudulent transfer, or otherwise, and all obligations of every nature of
                  the Pledgor now or hereafter existing under this Agreement; and

         (b)      the obligations of Pledgor hereunder.

4.       Delivery of Collateral.

         (a)      If at any time the Pledged Interests are evidenced by one or more certificates,
                  Pledgor shall deliver to Lender any original certificate evidencing the Pledged
                  Interests (the “Certificate”), in suitable form for transfer by delivery or, as
                  applicable, accompanied by any necessary endorsement or duly executed
                  instruments of transfer or assignment, in blank, all in form and substance
                  satisfactory to Lender.

         (b)      Lender shall have the right, at any time after the occurrence of an Event of
                  Default, in its discretion and without notice to Pledgor, to transfer to or to register
                  (if not already so registered) in the name of Lender or any of its nominees any or
                  all of the Collateral. In addition, Lender shall have the right at any time to
                  exchange certificates or instruments representing or evidencing Collateral for
                  certificates or instruments of smaller or larger denominations.

5.       Representations and Warranties. Pledgor hereby represents and warrants as follows:

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         (a)      Organization; Address of Pledgor. Kraken is the type of entity, organized in the
                  jurisdiction, and has the address set forth with respect to Kraken in the
                  introductory paragraph to this Agreement, and with respect to AR, DR, PR and IR
                  has the address as set forth in the introductory paragraph to this Agreement.

         (b)      No Conflict. The execution, delivery, and performance by Pledgor of this
                  Agreement will not (i) violate any provision of any Legal Requirement applicable
                  to Pledgor, or any order, judgment, or decree of any Governmental Authority
                  binding on Pledgor, (ii) result in a breach of, or constitute with due notice or lapse
                  of time or both, a default under any Contractual Obligation of Pledgor, (iii) result
                  in or require the creation or imposition of any Lien upon any of Pledgor’
                  properties or assets, except pursuant to this Agreement, (iv) require the approval
                  or consent of any Person under any Contractual Obligation of Pledgor, except for
                  the approvals or consents described on Schedule B hereto, which approvals or
                  consents have been obtained, and true and complete copies of which have been
                  furnished to Lender, or (v) conflict with any provision of Issuer’s organizational
                  documents and/or Pledgor’ organizational documents, as applicable.

         (c)      Binding Obligation. The execution, delivery and performance of this Agreement
                  and the transactions contemplated hereby is within the authority of Pledgor, has
                  been duly authorized by all necessary proceedings, and is the legally valid and
                  binding obligation of Pledgor, enforceable against Pledgor in accordance with its
                  terms, except as enforcement may be limited by bankruptcy, insolvency,
                  reorganization, moratorium, or similar laws or equitable principles generally.

         (d)      Description of Collateral. The Pledged Interests are being certificated pursuant to
                  this Agreement and are fully paid and non-assessable. The Pledged Interests
                  constitute all of the issued and outstanding ownership interests of the Issuer
                  owned beneficially or of record by Pledgor. Neither Pledgor nor any other Person
                  holds, or has any right to the issuance of, any options or other rights to purchase,
                  and is not party to any other agreement with respect to and does not hold or have
                  the right to any property that is now or hereafter convertible into, or that requires
                  the issuance or sale of, any ownership interests of the Issuer. No Person other
                  than Pledgor owns any ownership interests of any type in the Issuer. Other than
                  the Certificates delivered to Lender pursuant to this Agreement, there currently
                  exist no certificates, instruments or writings representing the Pledged Interests.
                  However, to the extent that in the future there exist any such certificates,
                  instruments or writings, Pledgor shall deliver all such certificates, instruments or
                  writings to Lender.

         (e)      Ownership of Collateral. (i) Pledgor is the legal and beneficial owner of, and has
                  good and marketable title to, the Collateral, and is the record owner of the
                  Pledged Interests, free and clear of, and subject to no, pledges, Liens, security
                  interests, charges, options, restrictions or other encumbrances, except the pledge
                  and security interest created by this Agreement; (ii) Pledgor has the legal capacity
                  to execute, deliver and perform Pledgor’ obligations under this Agreement and to
                  pledge and grant a security interest in all of the Collateral of which it is the legal


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                  or beneficial owner pursuant to this Agreement; (iii) except for authorizations and
                  consents which have already been obtained, no authorization, consent of or notice
                  to any party that has not been obtained is required in connection with the
                  execution, delivery, performance, validity or enforcement of this Agreement,
                  including, without limitation, the assignment and transfer by Pledgor of any of the
                  Collateral to Lender or the subsequent transfer by Lender pursuant to the terms
                  hereof; and (iv) Lender’s filing of UCC-1 financing statements with the Secretary
                  of State of the State of California results in the perfection of Lender’s security
                  interest in the Pledged Interests, and such portion of the other Collateral in which
                  a security interest may be perfected by filing such UCC-1 form or financing
                  statement.

         (f)      Governmental Authorizations. No authorization, approval, or other action by, and
                  no notice to or filing with, any Governmental Authority is required for either
                  (i) the pledge by Pledgor of the Collateral pursuant to this Agreement and the
                  grant by Pledgor of the security interest granted hereby, (ii) the execution,
                  delivery, or performance of this Agreement by Pledgor, or (iii) the exercise by
                  Lender of the voting or other rights in respect of the Collateral provided for in this
                  Agreement (except as may be required in connection with a disposition of
                  Collateral by laws affecting the offering and sale of securities generally).

         (g)      Article 8. Pledgor acknowledges and agrees that the terms of the Pledged
                  Interests and the Organizational Documents of the Issuer do and will provide that
                  the Pledged Interests shall constitute a “security” within the meaning of Article 8
                  of the UCC (including Section 8-102(a)(15) thereof), as in effect from time to
                  time in the State of California, and Article 8 of the Uniform Commercial Code of
                  any other applicable jurisdiction that now or hereafter substantially includes the
                  1994 revisions to Article 8 thereof as adopted by the American Law Institute and
                  the National Conference of Commissioners on Uniform State Laws and approved
                  by the American Bar Association on February 14, 1995. Pledgor acknowledges
                  and agrees that the Pledged Interests, and any and all Certificates which have been
                  delivered to Lender on the date hereof, constitute and each will constitute a
                  “certificated security” (as defined in the UCC). Pledgor therefor covenants and
                  agrees that Pledgor shall not, directly or indirectly, without the prior written
                  consent of Lender, alter, amend modify, supplement or change in any way, the
                  Operating Agreement as in effect on the date hereof. However, the Pledged
                  Interests are not and will not be investment company securities within the
                  meaning of Section 8-103 of the UCC. The Pledged Interests (i) will not become
                  “financial assets” (within the meaning of Section 8-102(a)(9) of the UCC) and (ii)
                  will not be credited to a “securities account” (within the meaning of Section 8-
                  501(a) of the UCC).

         (h)      Creation, Perfection and Priority of Security Interest. This Agreement constitutes
                  an authenticated record, and Lender is authorized at any time and from time to
                  time to file any and all UCC financing statements and take such other actions
                  determined by Lender to be necessary or desirable to perfect its security interest
                  in the Collateral.


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         (i)      No Other Financing Statements. Other than the UCC financing statements filed
                  by Lender describing the Collateral, there is no financing statement (or similar
                  statement or registration under the laws of any jurisdiction) now on file or
                  registered in any public office covering any interest of Pledgor or any other
                  Person in the Collateral.

         (j)      Other Information. All information heretofore, herein or hereafter supplied to
                  Lender by Pledgor with respect to the Collateral in writing is accurate and
                  complete in all material respects.

6.       Assurances and Covenants of Pledgor.

         (a)      Transfers and Other Liens. Pledgor shall not:

                  (i)     sell, assign (by operation of law or otherwise), pledge, or hypothecate or
                          otherwise dispose of, or grant any option with respect to, any of the
                          Collateral, except to Lender pursuant to this Agreement; or

                  (ii)    create or suffer to exist any Lien upon or with respect to any of the
                          Collateral, except for the Lien created hereunder.

         (b)      Covenants of Pledgor. Pledgor covenants and agrees, with respect to itself and
                  the Pledged Interests, that so long as any Secured Obligation is outstanding:

                  (i)     Pledgor shall not vote for, or agree or consent to, the sale, transfer, pledge
                          or encumbrance of the Pledged Interests while the Loan is outstanding.

                  (ii)    Pledgor shall not vote for, or agree or consent to, the discontinuance of the
                          business or the dissolution or liquidation of the Issuer or the Borrower.

                  (iii)   Pledgor shall not vote for, or agree or consent to, any material
                          modifications to the Organizational Documents of the Issuer or the
                          Borrower.

                  (iv)    Pledgor shall provide Lender with copies of any modifications made to the
                          Organizational Documents of the Issuer or the Borrower within thirty (30)
                          days after the date such modifications are made.

                  (v)     Pledgor shall not enter into any agreements which restrict, limit or
                          otherwise impair the transferability of the Pledged Interests.

                  (vi)    Pledgor shall be the sole members of the Issuer and the sole holder of
                          membership interests in the Issuer and shall not resign or withdraw as a
                          member or vote for, agree or consent to, or permit the admission of any
                          new members to the Issuer or any change in the management of the Issuer.

                  (vii)   Pledgor shall cause the Issuer to remain the sole member of the Borrower
                          and the sole holder of the membership interest in the Borrower and shall


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                         refrain from causing Issuer to resign or withdraw as a member or vote for,
                         agree or consent to, or permit the admission of any new members to the
                         Borrower or any change in the management and/or control of the
                         Borrower.

         (c)      Additional Collateral. Pledgor shall pledge hereunder, immediately upon
                  Pledgor’ acquisition (directly or indirectly) thereof, any and all additional
                  ownership interests of Pledgor in the Issuer.

         (d)      Pledge Amendments. Pledgor shall, upon obtaining any additional ownership
                  interests or other securities required to be pledged hereunder promptly (and in any
                  event within five (5) Business Days) deliver to Lender such documents as Lender
                  may require to confirm the pledge hereunder of such additional collateral;
                  provided that the failure of Pledgor to execute any such additional documents
                  with respect to any additional Pledged Interests pledged pursuant to this
                  Agreement shall not impair the security interest of Lender therein or otherwise
                  adversely affect the rights and remedies of Lender hereunder with respect thereto.

         (e)      Taxes and Assessments. Pledgor shall pay promptly when due all taxes,
                  assessments, and governmental charges or levies imposed upon, and all claims
                  against, the Collateral, except to the extent the validity thereof is being contested
                  in good faith and by appropriate proceedings and in which reserves or other
                  appropriate provisions have been made or provided therefor; provided that
                  Pledgor shall in any event pay such taxes, assessments, charges, levies, or claims
                  not later than five (5) days prior to the date of any proposed sale under any
                  judgment, writ, or warrant of attachment entered or filed against Pledgor or any of
                  the Collateral as a result of the failure to make such payment.

         (f)      Further Assurances. Pledgor shall from time to time, at the expense of Pledgor,
                  promptly execute and deliver all further instruments and documents, and take all
                  further action, that may be necessary and that Lender may request, in order to give
                  full effect to this Agreement and to perfect and protect any security interest
                  granted or purported to be granted hereby or to enable Lender to exercise and
                  enforce its rights and remedies hereunder with respect to any Collateral, provided
                  that such further instruments, documents and action are consistent with this
                  Agreement.

         (g)      Warranty of Title to Collateral. Pledgor covenants that Pledgor will defend its
                  rights and title in the Collateral against the claims and demands of all Persons
                  whomsoever. Pledgor further covenants that Pledgor will have title to and right to
                  pledge and grant a security interest in the Collateral hereafter pledged or in which
                  a security interest is granted to Lender hereunder and will likewise defend its
                  rights therein.

         (h)      Good Standing. Pledgor will at all times be duly formed and is, and will at all
                  times be, validly existing, in good standing and qualified to do business in each
                  jurisdiction where required. Pledgor will at all times have all requisite power to


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                  own its property and conduct its business as now conducted and as presently
                  contemplated.

7.       Voting Rights, Dividends, Etc.

         (a)      So long as no Event of Default shall have occurred:

                  (i)     Pledgor shall be entitled to exercise any and all voting and other
                          consensual rights pertaining to the Collateral or any part thereof for any
                          purpose not inconsistent with the terms of this Agreement and the Loan
                          Documents; provided, however, that any and all such rights shall remain
                          subject to the provisions of Section 7(b) hereof;

                  (ii)    Subject to the terms and conditions of this Agreement and the Loan
                          Documents, if applicable, Pledgor shall be entitled to receive and retain,
                          and to utilize free and clear of the Lien of this Agreement, any and all
                          Distributions, paid in respect of the Collateral; provided, however, if any
                          such property is distributed in the form of shares of membership interest in
                          the Issuer, such membership interest shall be pledged, and any certificates
                          representing such membership interest delivered, to Lender
                          (collectively, “Collateral Payments and Distributions”).

         (b)      After the occurrence of an Event of Default:

                  (i)     all rights of Pledgor to exercise the voting, management, and other
                          consensual rights which it would otherwise be entitled to exercise pursuant
                          to Section 7(a)(i) shall cease, and all such rights shall thereupon become
                          vested in Lender who shall thereupon have the sole right to exercise such
                          voting, management, and other consensual rights;

                  (ii)    all rights of Pledgor to receive the Collateral Payments and Distributions
                          which Pledgor would otherwise be authorized to receive and retain
                          pursuant to Section 7(a)(ii) shall cease, and all such rights shall thereupon
                          become vested in Lender who shall thereupon have the sole right to
                          receive and hold as Collateral such Collateral Payments and Distributions;
                          and

                  (iii)   all Collateral Payments and Distributions which are received by Pledgor
                          contrary to the provisions of paragraph (ii) of this Section 7(b) shall be
                          received in trust for the benefit of Lender, shall be segregated from other
                          funds of Pledgor, and shall forthwith be paid over to Lender as Collateral
                          in the same form as so received (with any necessary endorsements).

         (c)      In order to permit Lender to exercise the voting and other consensual rights which
                  it may be entitled to exercise pursuant to Section 7(b)(i) and to receive all
                  Collateral Payments and Distributions which it may be entitled to receive under
                  Section 7(a)(ii) or Section 7(b)(ii), (i) Pledgor shall promptly execute and deliver
                  (or cause to be executed and delivered) to Lender all such proxies, dividend

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                  payment orders, and other instruments as Lender may from time to time request,
                  and (ii) without limiting the effect of the immediately preceding clause (i),
                  Pledgor hereby grants to Lender an irrevocable proxy to vote the Pledged Interests
                  and to exercise all other rights, powers, privileges, and remedies to which a holder
                  of the Pledged Interests would be entitled (including, without limitation, giving or
                  withholding written consents of members, calling special meetings of members,
                  and voting at such meetings), which proxy shall be effective, automatically and
                  without the necessity of any action (including any transfer of any Pledged
                  Interests on the record books of the Issuer) by any other Person (including the
                  Issuer or any officer or agent thereof), provided, however, Lender shall not
                  exercise any rights granted under such proxy except upon the occurrence of an
                  Event of Default.

         (d)      Notwithstanding any of the foregoing, Pledgor agrees that this Agreement shall
                  not in any way be deemed to obligate Lender to assume any of Pledgor’
                  obligations, duties, expenses, or liabilities unless Lender otherwise expressly
                  agrees to assume any or all of said obligations, duties, expenses, or liabilities in
                  writing.

8.       Lender Appointed Attorney-in-Fact. Pledgor hereby irrevocably appoints Lender as
         Pledgor’ attorney-in-fact, with full authority in the place and stead of Pledgor and in the
         name of Pledgor, exercisable after the occurrence of an Event of Default, from time to
         time in Lender’s discretion to take any action and to execute any instrument that Lender
         may in good faith deem necessary or advisable to accomplish the purposes of this
         Agreement, including, without limitation:

         (a)      to ask, demand, collect, sue for, recover, compound, receive, and give acquittance
                  and receipts for moneys due and to become due under or in respect of any of the
                  Collateral;

         (b)      to receive, endorse, and collect any instruments made payable to Pledgor
                  representing any dividend or other distribution in respect of the Collateral or any
                  part thereof and to give full discharge for the same; and

         (c)      to file any claims or take any action or institute any proceedings that Lender may
                  deem necessary or desirable for the collection of any of the Collateral or
                  otherwise to enforce the rights of Lender with respect to any of the Collateral.

9.       Standard of Care. The powers conferred on Lender hereunder are solely to protect its
         interest in the Collateral and except as specifically set forth herein shall not impose any
         duty upon it to exercise any such powers. Except for the exercise of reasonable care in
         the custody of any Collateral in its possession and the accounting for moneys actually
         received by it hereunder, Lender shall have no duty as to any Collateral, it being
         understood that Lender shall have no responsibility for (a) ascertaining or taking action
         with respect to calls, conversions, exchanges, maturities, tenders, or other matters relating
         to any Collateral, whether or not Lender has or is deemed to have knowledge of such
         matters, (b) taking any necessary steps (other than steps taken in accordance with the
         standard of care set forth above to maintain possession of the Collateral) to preserve

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         rights against any parties with respect to any Collateral, (c) taking any necessary steps to
         collect or realize upon the Secured Obligations or any guaranty therefor, or any part
         thereof, or any of the Collateral, or (d) initiating any action to protect the Collateral
         against the possibility of a decline in market value. In no event shall the standard of care
         imposed upon Lender hereunder exceed the minimum applicable standard of care
         imposed under Section 9-207 of the UCC.

10.      Waiver of Defenses; Secured Obligations Not Affected.

         (a)      Pledgor hereby waives and agrees, not to assert or take advantage of any defense,
                  for itself or on behalf of Borrower or Issuer (whether directly or indirectly), based
                  on: (i) except for a breach of the standard of care set forth in Section 9, any lack
                  of diligence by Lender in collection, protection or realization upon any Loan
                  Collateral; (ii) the failure to make or give notice of presentment and demand for
                  payment, or failure to make or give protest and notice of dishonor or of default to
                  Pledgor or to any other party with respect to the Secured Obligations; (iii) any
                  exculpation of liability of any party contained in the Loan Documents; (iv) the
                  failure of Lender to perfect any security or to extend or renew the perfection of
                  any security; (v) any valuation, stay, moratorium law or other similar law now or
                  hereafter in effect or any right to require the marshalling of assets of Pledgor;
                  (vi) any fraudulent, illegal or improper act by the Issuer, Borrower or Pledgor;
                  (vii) all rights and remedies, including, but not limited to, any rights of
                  subrogation, contribution, reimbursement, exoneration or indemnification
                  pursuant to any agreement, express or implied, or now or hereafter accorded by
                  applicable law to any party; (viii) the right to a trial by jury in any manner related
                  to this Agreement; and (ix) to the fullest extent permitted by law, any other legal,
                  equitable or suretyship defenses whatsoever to which Pledgor or Issuer might
                  otherwise be entitled, it being the intention that the obligations of Pledgor
                  hereunder shall be absolute, unconditional and irrevocable.

         (b)      All rights and remedies of Lender hereunder, and all obligations of Pledgor
                  hereunder, shall be absolute and unconditional irrespective of, shall remain in full
                  force and effect without regard to, and shall not be impaired by, any of the
                  following, whether or not Pledgor shall have notice or knowledge thereof:

                       (i)     any lack of validity or enforceability of this Agreement or the Loan
                  Documents or any other agreement or instrument relating to any of the foregoing;

                         (ii)    Pledgor have or had no legal existence or legal capacity or is under
                  no legal obligation to discharge any of the Obligations, or if any of the
                  Obligations have become irrecoverable from Pledgor by operation of law or for
                  any other reason;

                          (iii) the acceleration of the time for payment of any of the Obligations
                  is stayed upon the insolvency, bankruptcy or reorganization of Pledgor, or for any
                  other reason;



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                          (iv)    any exercise or nonexercise, or any waiver, by Lender of any right,
                  remedy, power or privilege under or in respect of any of the Obligations or any
                  security therefor (including this Agreement);

                          (v)    any change in the time, manner, or place of payment of, or in any
                  other term of, all or any of the Obligations, or any other amendment, waiver, or
                  modification of or any consent to any departure from the Loan Documents or any
                  provision thereof;

                          (vi)    any exchange, release, or nonperfection of any interest in any
                  Collateral, or any release or amendment or waiver of or consent to any departure
                  from any guaranty, for all or any of the Obligations, or the taking of additional
                  security for, or any other assurances of payment of, any of the Obligations; or

                          (vii) any other circumstances (other than payment in full of the Secured
                  Obligations) that might otherwise constitute a defense available to, or a discharge
                  of, Issuer.

11.      Events of Default. An “Event of Default” shall exist if any of the following occurs:

         (a)      The occurrence of an “Event of Default”, as such term is defined in the Note and
                  the other Loan Documents;

         (b)      if any representation or warranty of Pledgor made herein, or in any certificate,
                  report, financial statement or other instrument or document furnished to Lender
                  shall have been false or misleading in any material respect when made;

         (c)       Pledgor’ failure to pay any fees, costs or other amounts as and when required to
                  be paid under this Agreement within five (5) days after demand by Lender;

         (d)      Except with respect to (i) the payment of money and (ii) the matters herein before
                  and hereafter specified in this Section 11, if Pledgor shall default in the
                  observance or performance of any covenant or agreement contained in this
                  Agreement for ten (10) days after the giving by the Lender to Pledgor of notice
                  thereof (provided, however, if such default cannot reasonably be cured within
                  such ten (10) day period, then Pledgor shall have such additional time as is
                  reasonable under the circumstances, so long as Pledgor commence such cure
                  within the initial ten (10) day period and diligently and in good faith pursues such
                  cure to completion, provided that in no event shall such additional time period
                  exceed sixty (60) days); or

         (e)      Any transfer made by Pledgor in violation of the provisions of this Agreement or
                  any breach or violation by Pledgor of the provisions of Sections 4(a) or 6 (b)(iii),
                  either of which shall be an immediate Event of Default hereunder without notice
                  or opportunity to cure.

12.      Remedies.



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         (a)      If any Event of Default shall have occurred, then Lender may exercise in respect
                  of the Collateral, in addition to all other rights and remedies provided for herein
                  or otherwise available to it, all the rights and remedies of a secured party on
                  default under the UCC (whether or not the UCC applies to the affected
                  Collateral), inclusive of the management rights of the Pledgor in the Issuer, as set
                  forth in the Operating Agreement, and Lender may also in its sole discretion,
                  without notice except as specified below, sell the Collateral or any part thereof in
                  one or more parts at public or private sale, at any recognized exchange or broker’s
                  board or at any of Lender’s offices or elsewhere, for cash, on credit, or for future
                  delivery, at such time or times and at such price or prices and upon such other
                  terms as Lender may deem commercially reasonable. Lender may be the
                  purchaser of any or all of the Collateral at any such sale, and Lender shall be
                  entitled, for the purpose of bidding and making settlement or payment of the
                  purchase price for all or any portion of the Collateral sold at any such public sale,
                  to use and apply any of the Secured Obligations as a credit on account of the
                  purchase price for any Collateral payable by Lender at such sale.
                  Notwithstanding anything herein to the contrary, Pledgor shall have a right of
                  redemption prior to a UCC sale of the Collateral in accordance herewith. Each
                  purchaser at any such sale shall hold the property sold absolutely free from any
                  claim or right on the part of Pledgor, and Pledgor hereby waive all rights of
                  redemption which such Pledgor now have or may at any time in the future have
                  under any rule of law or statute now existing or hereafter enacted which might
                  otherwise have been applicable subsequent to a UCC sale of the Collateral in
                  accordance herewith. In addition, Pledgor hereby waive all rights of stay, and/or
                  appraisal which Pledgor now have or may at any time in the future have under
                  any rule of law or statute now existing or hereafter enacted. Lender shall not be
                  obligated to make any sale of Collateral regardless of notice of sale having been
                  given. Lender may adjourn any public or private sale from time to time by
                  announcement at the time and place fixed therefor, and such sale may, without
                  further notice, be made at the time and place to which it was so adjourned.
                  Pledgor hereby waive any claims against Lender arising by reason of the fact that
                  the price at which any Collateral may have been sold at such a private sale was
                  less than the price which might have been obtained at a public sale, even if Lender
                  accepts the first offer received and does not offer such Collateral to more than one
                  offeree.

         (b)      Pledgor recognizes that, by reason of certain prohibitions contained in the
                  Securities Act of 1933, as from time to time amended (the “Securities Act”), and
                  applicable state securities laws, Lender may be compelled, with respect to any
                  sale of all or any part of the Collateral conducted without prior registration or
                  qualification of such Collateral under the Securities Act and/or such state
                  securities laws, to limit purchasers to those who will agree, among other things, to
                  acquire the Collateral for their own account, for investment and not with a view to
                  the distribution or resale thereof. Pledgor acknowledge that any such private sales
                  may be at prices and on terms less favorable than those obtainable through a
                  public sale without such restrictions (including, without limitation, a public
                  offering made pursuant to a registration statement under the Securities Act) and,

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                  notwithstanding such circumstances, Pledgor agree that any such private sale shall
                  be deemed to have been made in a commercially reasonable manner and that
                  Lender shall have no obligation to engage in public sales and no obligation to
                  delay the sale of any Collateral for the period of time necessary to permit the
                  issuer thereof to register it for a form of public sale requiring registration under
                  the Securities Act or under applicable state securities laws, even if such issuer
                  would, or should, agree to so register it.

         (c)      If Lender determines to exercise its right to sell any or all of the Collateral, then,
                  upon Lender’s written request, Pledgor shall, and Pledgor shall cause the Issuer to
                  (and/or cause the Issuer to cause the Borrower to), furnish to Lender such
                  information as Lender may request of Pledgor concerning Pledgor and the
                  Collateral.

         (d)      Without in any way limiting Lender’s right to conduct a foreclosure sale in any
                  manner which is considered commercially reasonable, Pledgor hereby agree that
                  any foreclosure sale conducted in accordance with the following provisions shall
                  be considered a commercially reasonable sale and hereby irrevocably waives any
                  right to contest any such sale:

                         (i)     Intentionally Omitted.

                          (ii)   The foreclosure sale is conducted in accordance with the laws of
                  the State of New York,

                         (iii) Not less than five (5) days in advance of the foreclosure sale,
                  Lender notifies Pledgor at the address set forth herein of the time and place of
                  such foreclosure sale,

                          (iv)    The foreclosure sale is conducted by an auctioneer licensed in the
                  State of California and is conducted either (A) online via a teleconference or
                  videoconference platform reasonably acceptable to Lender or (B) in front of the
                  New York Supreme Court located in New York City, such other New York State
                  Court having jurisdiction over the Collateral, Lender’s office (located in New
                  York City), or Lender’s agent’s office (including Lender’s attorney) (located in
                  New York City), in each case on any Business Day between the hours of 9 a.m.
                  and 5 p.m. Further, Pledgor hereby waive, for itself and on behalf of Borrower or
                  Issuer, whether directly or indirectly, any offsets, counterclaims or defenses to the
                  commercial reasonableness of a foreclosure sale arising directly or indirectly from
                  the existence and/or spread of the Coronavirus Disease (COVID-19) or any
                  related strain or mutation thereof,

                         (v)     The notice of the date, time and location of the foreclosure sale is
                  published in a widely circulated newspaper in California once a week for four (4)
                  consecutive weeks prior to the date of the foreclosure sale, and

                          (vi)   Lender sends notification of the foreclosure sale to all secured
                  parties against Pledgor identified as a result of a search of the UCC financings

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                  statements in the filing offices located in the State of California conducted not
                  earlier than thirty (30) days before such notification date.

                          Notwithstanding Pledgor’ agreement that any foreclosure sale conducted
                  in accordance with the foregoing provisions shall be considered a commercially
                  reasonable sale, the foregoing description of potential foreclosure sale procedures
                  and the agreement of Pledgor that such procedures are commercially reasonable
                  shall create no implication that a foreclosure sale conducted using different
                  procedures is commercially unreasonable. As used herein the term “foreclosure
                  sale” shall be deemed to include a public auction as such term is used in the UCC.

13.      Application of Proceeds. Except as expressly provided elsewhere in this Agreement, all
         proceeds received by Lender in respect of any sale of, collection from, or other
         realization upon all or any part of the Collateral may, in the discretion of Lender, be held
         by Lender as Collateral for, and/or then, or at any time thereafter, applied in full or in part
         by Lender against, the Secured Obligations in the following order of priority:

                 FIRST: To the payment of all costs and expenses of such sale, collection, or other
         realization, including compensation to Lender and its agents, the fees and expenses and
         disbursements of Lender’s counsel, and all other expenses, liabilities, and advances made
         or incurred by Lender in connection therewith, and all amounts for which Lender is
         entitled to indemnification hereunder and all advances made by Lender hereunder for the
         account of the Pledgor, and to the payment of all costs and expenses paid or incurred by
         Lender in connection with the exercise of any right or remedy hereunder, all in
         accordance with Section 14;

                SECOND: To the payment in full of the Secured Obligations, in the manner
         provided for in the Loan Documents; and

                THIRD: To the payment to or upon the order of Pledgor, or to whosoever may be
         lawfully entitled to receive the same or as a court of competent jurisdiction may direct, of
         any surplus then remaining from such proceeds.

14.      Indemnity and Expenses.

         (a)      Pledgor agree to indemnify Lender from and against any and all claims, losses,
                  and liabilities in any way relating to, growing out of, or resulting from this
                  Agreement and the transactions contemplated hereby (including, without
                  limitation, enforcement of this Agreement), except to the extent such claims,
                  losses, or liabilities result from Lender’s gross negligence or willful misconduct,
                  as finally determined by a court of competent jurisdiction.

         (b)      Pledgor shall pay to Lender upon demand the amount of any and all costs and
                  expenses, including the fees and expenses of its counsel and of any experts and
                  agents, that Lender may incur in connection with (i) the sale of, collection from,
                  or other realization upon, any of the Collateral, (ii) the exercise or enforcement of



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                  any of the rights of Lender hereunder, or (iii) the failure by Pledgor to perform or
                  observe any of the provisions hereof.

15.      Continuing Security Interest. This Agreement shall create a continuing security interest
         in the Collateral and shall (a) remain in full force and effect until the payment in full of
         all Secured Obligations and the Borrower has no further obligations under the Loan
         Documents, (b) be binding upon Pledgor and Pledgor’ legal representatives, successors
         and assigns, and (c) inure, together with the rights and remedies of Lender hereunder, to
         the benefit of Lender and its successors, transferees and assigns. Upon the payment in
         full of all Secured Obligations and the cancellation or termination of the Loan
         Documents, the security interest granted hereby shall terminate and all rights to the
         Collateral shall revert to Pledgor. Upon any such termination Lender will, at Pledgor’
         expense, execute and deliver to Pledgor such documents as Pledgor shall reasonably
         request to evidence such termination, and Pledgor shall be entitled to the return, upon
         Pledgor’ request and at Pledgor’ expense, against receipt and without recourse to Lender,
         of such of the Collateral as shall not have been sold or otherwise applied pursuant to the
         terms hereof.

16.      Amendments, Etc. No amendment, modification, termination, or waiver of any provision
         of this Agreement, and no consent to any departure by Pledgor from the terms and
         conditions hereof, shall in any event be effective as to Pledgor unless the same shall be in
         writing and signed by Lender and, in the case of any such amendment or modification, by
         Pledgor. Any such waiver or consent shall be effective only in the specific instance and
         for the specific purpose for which it was given.

17.      Failure or Indulgence Not Waiver; Remedies Cumulative. No failure or delay on the part
         of Lender in the exercise of any power, right, or privilege hereunder shall impair such
         power, right, or privilege or be construed to be a waiver of any default or acquiescence
         therein, nor shall any single or partial exercise of any such power, right, or privilege
         preclude any other or further exercise thereof or of any other power, right, or privilege.
         All rights and remedies existing under this Agreement are cumulative to, and not
         exclusive of, any rights or remedies otherwise available.

18.      Severability. In case any provision in or obligation under this Agreement shall be
         invalid, illegal, or unenforceable in any jurisdiction, the validity, legality, and
         enforceability of the remaining provisions or obligations, or of such provision or
         obligation in any other jurisdiction, shall not in any way be affected or impaired thereby.

19.      Headings. Section and subsection headings in this Agreement are included herein for
         convenience of reference only and shall not constitute a part of this Agreement for any
         other purpose or be given any substantive effect.

20.      Counterparts. This Agreement may be executed in one or more counterparts and by
         different parties hereto in separate counterparts, each of which when so executed and
         delivered shall be deemed an original, but all such counterparts together shall constitute
         but one and the same instrument; signature pages may be detached from multiple separate
         counterparts and attached to a single counterpart so that all signature pages are physically


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         attached to the same document. Further, facsimile or electronic (e.g., .pdf format) copies
         of signatures shall be considered originals for purposes of binding the parties hereto.

21.      Marshalling. Lender shall not be required to marshal any present or future security for
         (including, but not limited to, this Agreement and the Collateral), or other assurances of
         payment of, the Secured Obligations or any of them, or to resort to such security or other
         assurances of payment in any particular order. All of Lender’s rights hereunder and in
         respect of such security and other assurances of payment shall be cumulative and in
         addition to all other rights, however existing or arising. To the extent lawfully
         permissible, Pledgor hereby agree that Pledgor will not invoke any law, doctrine, or
         principle relating to the marshalling of collateral that might cause delay in or impede the
         enforcement of Lender’s rights under this Agreement or under any other instrument
         evidencing any of the Secured Obligations or under which any of the Secured Obligations
         is outstanding or by which any of the Secured Obligations is secured or payment thereof
         is otherwise assured, and, to the extent that Pledgor lawfully may, Pledgor hereby
         irrevocably waives the benefits of all such laws.

22.      Notices, Etc. All notices, requests and other communications to any party hereunder
         shall be in writing (including facsimile transmission followed by telephonic confirmation
         or similar writing) and shall be given to such party as follows: (i) to Lender, to the
         address set forth in the Loan Documents, and (ii) to Pledgor, to the following address:

                  Adrian Rudomin
                  578 Washington Boulevard, Apartment 148,
                  Marina Del Ray, California 90292

                  Pablo Rudomin
                  578 Washington Boulevard, Apartment 148,
                  Marina Del Ray, California 90292

                  Isaac Rudomin
                  578 Washington Boulevard, Apartment 148,
                  Marina Del Ray, California 90292

                  Diego Rudomin
                  1339 Appleton Way,
                  Venice, California 90291

                  with a copy in like manner to:

                  Simone & Roos, LLP
                  5627 Sepulveda Blvd., Suite 206
                  Sherman Oaks, California 91411
                  Attn: Martin Simone, Esq.

       Any such addressee may change its address for such notices to any other address in the
United States as such addressee shall have specified by written notice given as set forth above.


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        Each such notice, request or other communication shall be effective (i) if given by
facsimile transmission, when such facsimile is transmitted to the facsimile number specified in
this Section and the appropriate facsimile confirmation is received, (ii) if given by mail, on the
earlier of actual receipt or three (3) Business Days after such communication is deposited in the
mail with first class certified or registered mail, postage prepaid, addressed as aforesaid, (iii) if
given by a nationally recognized overnight carrier, one (1) Business Day after such
communication is deposited with such carrier with delivery charges prepaid, or (iv) if given by
any other means, when delivered at the address specified in this Section.

23.      Delay Not Waiver. No delay on Lender’s part in exercising any right, power or privilege
         hereunder or under any of the Loan Documents shall operate as a waiver of any such
         privilege, power or right. No waiver by Lender in any instance shall constitute a waiver
         in any other instance.

24.      Irrevocable Proxy. With respect to Article 8 Matters and all other matters, including
         without limitation, the rights, remedies and powers granted by this Agreement, and to the
         extent applicable, Pledgor hereby irrevocably grant and appoint Lender, from the date of
         this Agreement until the payment in full of the Secured Obligations and the termination
         of all obligations of the Issuer under the Loan Documents, exercisable whether or not
         there has been an Event of Default hereunder or under the Loan Documents, as Pledgor’s
         true and lawful proxy, for and in Pledgor’s name, place and stead, to vote the Pledged
         Interests, whether directly or indirectly, beneficially or of record, now owned or hereafter
         acquired, with respect to such Article 8 Matters. The proxy granted and appointed in this
         Section 24 shall include the right to sign Pledgor’ name (as the holder of a membership
         interest in the Issuer) to any consent, certificate or other document relating to an Article 8
         Matter and the related Pledged Interests that applicable law may permit or require and to
         cause the Pledged Interests to be voted in accordance with the preceding sentence.
         Pledgor hereby represent and warrant that there are no other proxies and powers of
         attorney with respect to an Article 8 Matter. Pledgor will not give a subsequent proxy or
         power of attorney or enter into any other voting agreement with respect to the Pledged
         Interests with respect to any Article 8 Matter and any attempt to do so with respect to an
         Article 8 Matter shall be void and of no effect.

     THE PROXIES AND POWERS GRANTED BY PLEDGOR PURSUANT TO THIS
AGREEMENT ARE COUPLED WITH AN INTEREST AND ARE GIVEN TO SECURE THE
PERFORMANCE OF PLEDGOR’S OBLIGATIONS UNDER THIS AGREEMENT.

25.      Miscellaneous.

         (a)      Any waiver, express or implied, of any provision hereunder and any delay or
                  failure by Lender to enforce any provision shall not preclude Lender from
                  enforcing any such provision thereafter.

         (b)      Pledgor hereby authorize Lender to file one or more financing statements
                  describing all or part of the Collateral, and continuation statements, or
                  amendments thereto, relative to all or part of the Collateral as authorized by
                  applicable law.   Such financing statements, continuation statements and
                  amendments will contain any other information required by the UCC for the

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                  sufficiency or filing office acceptance of any financing statement, continuation
                  statement or amendment, including whether Pledgor is an organization, the type
                  of organization and any organizational identification number issued to Pledgor.
                  Pledgor agree to furnish any such information to Lender promptly upon request.

         (c)      This Agreement shall be governed by and construed according to the internal laws
                  of the State of Delaware. Pledgor and Lender hereby irrevocably (i) submit to the
                  non-exclusive jurisdiction of any United States Federal or State court sitting in the
                  State of Delaware, in any action or proceeding arising out of or relating to this
                  Agreement, and (ii) waive to the fullest extent permitted by law any defense
                  asserting an inconvenient forum in connection therewith. Service of process by
                  Lender in connection with such action or proceeding shall be binding on Pledgor
                  if sent to Pledgor by registered or certified mail at its address specified above.

26.      WAIVER OF JURY TRIAL. TO THE EXTENT ALLOWED BY APPLICABLE LAW,
         PLEDGOR AND LENDER EACH WAIVE TRIAL BY JURY WITH RESPECT TO
         ANY ACTION, CLAIM, SUIT OR PROCEEDING ON OR ARISING OUT OF THIS
         AGREEMENT.


                  [Remainder of page intentionally left blank; signature pages follow]




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       IN WITNESS WHEREOF, intending to be legally bound, Pledgor and Lender have caused
this Agreement to be executed as of the date first above written,


                                              PLEDGORS:


                                                   Kj
                                              ADRIAN RUDOMIN              individual




                                              DIEGO RUDOMIN, an individual



                                              PABLO RUDOMIN, an individual




                                              ISAAC RUDOMIN, an individual


                                              THE KRAKEN, LLC,
                                              a California
                                                     a7                       company


                                              Nome Adiay) Rudomir/
                                              Title:   Authorized Signatory


                                              LENDER:

                                              CSPRF 2 LLC,
                                              a Delaware limited liability company


                                              By:
                                              Name:    David Blatt
                                              Title:   Authorized Signatory
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        IN WITNESS WHEREOF, intending to be legally bound, Pledgor and Lender have caused
this Agreement to be executed as of the date
                                         ¢   first above written.


                                       ~ PLEDGORS: ©


                                         ADRIAN RUDOMIN, an individual



                                         DIEGO RUDOMIN, an individual


                                         PABLO RUDOMIN, an individual

                                    x.                   Zp
                                         ISAAC RUDOMIN, an individual


                                         THE KRAKEN, LLC,
                                         a California limited liability company

                                         By:
                                         Name: Adian Rudomin
                                         Title:   Authorized Signatory


                                         LENDER:

                                         CSPRF 2 LLC,                    |
                                         a Delaware limited liability company


                                        By:
                                        Name:     David Blatt
                                        Title:    Authorized Signatory
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       IN WITNESS WHEREOF, intending to be legally bound, Pledgor and Lender have caused
this Agreement to be executed as of the date first above written.


                                              PLEDGORS:



                                              ADRIAN RUDOMIN,           an individual




                                              DIEGO RUDOMIN, an individual



                                              ADRIAN RUDOMIN, an individual, as agent for
                                              PABLO RUDOMIN, an individual



                                              ADRIAN RUDOMIN,           an individual, as agent for
                                              ISAAC RUDOMIN, an individual


                                              THE KRAKEN, LLC,
                                              a California limited liability company

                                              By:
                                              Name: Adian Rudomin
                                              Title:   Authorized Signatory


                                              LENDER:




                                              Title:   Authorized   Signatory
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                         JOINDER AND CONSENT OF THE ISSUER

          The undersigned hereby (a) joins in the above Agreement for the sole purpose of
 consenting to the terms thereof; (b) agrees to cooperate fully and in good faith with the Lender and
 Pledgor in carrying out this Agreement (including, without limitation, by admitting Lender or its
 transferee (including from a secured party’s sale) as a substituted member); (c) waives any transfer
 or other restrictions existing pursuant to Contractual Obligations, Organizational Documents, or
 otherwise (other than under any applicable securities laws), which otherwise might apply to the
 granting of the pledges and security interests hereunder, or to the exercise by the Lender of the
rights and remedies provided in this Agreement or applicable law, at law or in equity, so as to,
among other things, permit (x) Pledgor to enter into and perform Pledgor’s obligations under this
Agreement, and (y) the Lender’s exercise of the Lender’s rights and remedies hereunder and under
applicable law, at law or in equity; (d) represents and warrants that the (i) Issuer has elected to
have its membership interest deemed to be “securities” for the purposes of Articles 8 and 9 of the
UCC, and any and all Certificates being delivered to Lender pursuant to the Agreement are each a
“certificated security” (as defined by the UCC), (ii) Lender is duly noted in the Issuer’s books and
records as the sole pledgee of the Collateral, and (iii) Issuer will not recognize any transferee or
pledgee of the Collateral other than Lender or pursuant to the exercise of Lender’s rights and
remedies under this Agreement; and (e) agrees to comply with any “instructions” (as defined in
Section 8-102(a)(12) of the UCC) originated by the Lender in conformity with this Agreement
without further consent of the Pledgor, including, without limitation, instructions regarding the
transfer, redemption or other disposition of the Collateral or the proceeds thereof, including any
Distributions with respect thereto (this clause (e) shall not be construed as expanding the rights of
Lender to give instructions with respect to the Collateral beyond such rights set forth in the above
Agreement).

        Capitalized terms used and not otherwise defined herein shall have the meanings assigned
to them in the Agreement.

       IN WITNESS WHEREOF, intending to be legally bound, the undersigned has caused this
Joinder and Consent to be executed as an instrument under seal of the date first above written.

                                              ISSUER:

                                              LEVIATHAN, LLC
                                              a California ya                 company

                                              By:      WA            la
                                              Name: Adriah Rudomin
                                              Title:   Atthorized Signatory
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                                    SCHEDULE A

                                    Pledged Interests


PLEDGOR                          ISSUER                         INTERESTS PLEDGED

Adrian Rudomin                   LEVIATHAN, LLC, a California   37% membership interest
                                 limited liability company

Diego Rudomin                    LEVIATHAN, LLC, a California   37% membership interest
                                 limited liability company

Pablo Rudomin                    LEVIATHAN, LLC, a California   12.5% membership interest
                                 limited liability company

Isaac Rudomin                    LEVIATHAN, LLC, a California   12.5% membership interest
                                 limited liability company

The Kraken, LLC                  LEVIATHAN, LLC, a California   1% membership interest
                                 limited liability company




                                        Schedule A


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                                 SCHEDULE B
                                 SCHEDULE B

                                    Consents
                                    Consents




                                    Schedule B
                                    Schedule B


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                                            Exhibit G
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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 1                                                      37% Membership Interest

                 LEVIATHAN, LLC a California limited liability company (the “Company”),
hereby certifies that ADRIAN RUDOMIN, an individual (together with any assignee of this
Certificate, the “Holder”) is the registered owner of 37% of the Membership Interest in the
Company (the “Interests”). The rights, powers, preferences, restrictions and limitations of the
Interests are set forth in, and this Share Certificate and the Interests represented hereby are issued
and shall in all respects be subject to the terms and provisions of, the Operating Agreement of the
Company dated as of June 18, 2021, as the same may be amended or restated from time to time
(collectively, the “Operating Agreement”). By acceptance of this Share Certificate, and as a
condition to being entitled to any rights and/or benefits with respect to the Interests evidenced
hereby, the Holder is deemed to have agreed to comply with and be bound by all the terms and
conditions of the Operating Agreement. The Company will furnish a copy of the Operating
Agreement to the Holder without charge upon written request to the Company at its principal
place of business. Each Interest shall constitute a “security” within the meaning of (i) Section 8-
102(a)(15) of the Uniform Commercial Code as in effect from time to time in the State of
California and (ii) the Uniform Commercial Code of any other applicable jurisdiction that now or
hereafter substantially includes the 1994 revisions to Article 8 thereof as adopted by the
American Law Institute and the National Conference of Commissioners on Uniform State Laws
and approved by the American Bar Association on February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



Dated as of: November 20, 2023




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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 2                                                      37% Membership Interest

                 LEVIATHAN, LLC a California limited liability company (the “Company”),
hereby certifies that DIEGO RUDOMIN, an individual (together with any assignee of this
Certificate, the “Holder”) is the registered owner of 37% of the Membership Interest in the
Company (the “Interests”). The rights, powers, preferences, restrictions and limitations of the
Interests are set forth in, and this Share Certificate and the Interests represented hereby are issued
and shall in all respects be subject to the terms and provisions of, the Operating Agreement of the
Company dated as of June 18, 2021, as the same may be amended or restated from time to time
(collectively, the “Operating Agreement”). By acceptance of this Share Certificate, and as a
condition to being entitled to any rights and/or benefits with respect to the Interests evidenced
hereby, the Holder is deemed to have agreed to comply with and be bound by all the terms and
conditions of the Operating Agreement. The Company will furnish a copy of the Operating
Agreement to the Holder without charge upon written request to the Company at its principal
place of business. Each Interest shall constitute a “security” within the meaning of (i) Section 8-
102(a)(15) of the Uniform Commercial Code as in effect from time to time in the State of
California and (ii) the Uniform Commercial Code of any other applicable jurisdiction that now or
hereafter substantially includes the 1994 revisions to Article 8 thereof as adopted by the
American Law Institute and the National Conference of Commissioners on Uniform State Laws
and approved by the American Bar Association on February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



Dated as of: November 20, 2023




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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 3                                                   12.5% Membership Interest

                 LEVIATHAN, LLC a California limited liability company (the “Company”),
hereby certifies that PABLO RUDOMIN, an individual (together with any assignee of this
Certificate, the “Holder”) is the registered owner of 12.5% of the Membership Interest in the
Company (the “Interests”). The rights, powers, preferences, restrictions and limitations of the
Interests are set forth in, and this Share Certificate and the Interests represented hereby are issued
and shall in all respects be subject to the terms and provisions of, the Operating Agreement of the
Company dated as of June 18, 2021, as the same may be amended or restated from time to time
(collectively, the “Operating Agreement”). By acceptance of this Share Certificate, and as a
condition to being entitled to any rights and/or benefits with respect to the Interests evidenced
hereby, the Holder is deemed to have agreed to comply with and be bound by all the terms and
conditions of the Operating Agreement. The Company will furnish a copy of the Operating
Agreement to the Holder without charge upon written request to the Company at its principal
place of business. Each Interest shall constitute a “security” within the meaning of (i) Section 8-
102(a)(15) of the Uniform Commercial Code as in effect from time to time in the State of
California and (ii) the Uniform Commercial Code of any other applicable jurisdiction that now or
hereafter substantially includes the 1994 revisions to Article 8 thereof as adopted by the
American Law Institute and the National Conference of Commissioners on Uniform State Laws
and approved by the American Bar Association on February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 4                                                   12.5% Membership Interest

                LEVIATHAN, LLC a California limited liability company (the “Company”),
hereby certifies that ISAAC RUDOMIN, an individual (together with any assignee of this
Certificate, the “Holder”) is the registered owner of 12.5% of the Membership Interest in the
Company (the “Interests”). The rights, powers, preferences, restrictions and limitations of the
Interests are set forth in, and this Share Certificate and the Interests represented hereby are issued
and shall in all respects be subject to the terms and provisions of, the [Operating Agreement] of
the Company dated as of Operating Agreement of the Company dated as of June 18, 2021, as the
same may be amended or restated from time to time (collectively, the “Operating Agreement”).
By acceptance of this Share Certificate, and as a condition to being entitled to any rights and/or
benefits with respect to the Interests evidenced hereby, the Holder is deemed to have agreed to
comply with and be bound by all the terms and conditions of the Operating Agreement. The
Company will furnish a copy of the Operating Agreement to the Holder without charge upon
written request to the Company at its principal place of business. Each Interest shall constitute a
“security” within the meaning of (i) Section 8-102(a)(15) of the Uniform Commercial Code as in
effect from time to time in the State of California and (ii) the Uniform Commercial Code of any
other applicable jurisdiction that now or hereafter substantially includes the 1994 revisions to
Article 8 thereof as adopted by the American Law Institute and the National Conference of
Commissioners on Uniform State Laws and approved by the American Bar Association on
February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



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                 IN WITNESS WHEREOF,   the Company has caused this Certificate to be executed
as of the date set forth above.


                                         LEVIATHAN, LLC
                                         a California qetfe

                                         By:        LO              VA
                                        Name: Adrian      Rudemin
                                         Title:   Aythorized Signatory
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                             (REVERSE SIDE OF CERTIFICATE)
                               ASSIGNMENT   OF INTERESTS

         FOR     VALUE    RECEIVED,    the undersigned hereby      sells, assigns   and transfers unto
         |                  , a 12.5% membership interest in LEVIATHAN, LLC a California
limited liability company, effective as of the date specified in the Application: for Transfer of
Interests below, and irrevocably constitutes and appoints                       _ and its authorized
officers, as attorney-in-fact, to transfer the same on the books and records of the Company, with
full power of substitution in the premises.


Dated:       |                                x

                                                   ISAAC RUDOMIN, an individual


                        APPLICATION FOR TRANSFER OF INTERESTS

         The undersigned applicant (the “Applicant”) hereby (a) applies for a transfer of the
percentage of membership interest in the Company described above (the “Transfer’”’) and applies
to be admitted to the Company as a substitute member of the Company, (b) agrees to comply with
and be bound by all of the terms and provisions of the Operating Agreement, (c) represents that
the Transfer complies with the terms and conditions of the Operating Agreement, (d) represents
that the Transfer does not violate any applicable laws and regulations, and (e) agrees to execute
and acknowledge such instruments (including, without limitation, a counterpart of the Operating
Agreement), in form and substance satisfactory to the Company,          as the Company reasonably
deems necessary or desirable to effect the Applicant's admission to the Company as a substitute
member of the Company and to confirm the agreement of the Applicant to be bound by all the
terms and provisions of the Operating Agreement with respect to the membership interest the
Company described above. Initially capitalized terms used herein and not otherwise defined herein
are used as defined in the Operating Agreement.

      The Applicant directs that the foregoing Transfer and the Applicant's admission to the
Company as a Substitute Member shall be effective as of

Namrne of Transferee:

                                                    Signature:
                  re                              co      ae                (Transferee) °.
Dated:                                                 ‘Address:
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        The Company (a) has determined that the Transfer described above is permitted by the
Operating Agreement, (b) hereby agrees to effect such Transfer and the admission of the Applican
                                                                                                 t
as a substitute member of the Company effective as of the date and time directed above,
                                                                                           and (c)
agrees to record, as promptly as possible, in the books and records of the Company the admissio
                                                                                                n
of the Applicant as a substitute member.


                                             LEVIATHAN, LLC
                                             a le                            company
                                             By:          Le          f
                                             Name: Adydap/Rudomih
                                             Title:   Authorized Signatory
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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 5                                                        1% Membership Interest

        LEVIATHAN, LLC a California limited liability company (the “Company”), hereby
certifies that THE KRAKEN, LLC, a California limited liability company (together with any
assignee of this Certificate, the “Holder”) is the registered owner of 1% of the Membership
Interest in the Company (the “Interests”). The rights, powers, preferences, restrictions and
limitations of the Interests are set forth in, and this Share Certificate and the Interests represented
hereby are issued and shall in all respects be subject to the terms and provisions of, the
[Operating Agreement] of the Company dated as of Operating Agreement of the Company dated
as of June 18, 2021, as the same may be amended or restated from time to time (collectively, the
“Operating Agreement”). By acceptance of this Share Certificate, and as a condition to being
entitled to any rights and/or benefits with respect to the Interests evidenced hereby, the Holder is
deemed to have agreed to comply with and be bound by all the terms and conditions of the
Operating Agreement. The Company will furnish a copy of the Operating Agreement to the
Holder without charge upon written request to the Company at its principal place of business.
Each Interest shall constitute a “security” within the meaning of (i) Section 8-102(a)(15) of the
Uniform Commercial Code as in effect from time to time in the State of California and (ii) the
Uniform Commercial Code of any other applicable jurisdiction that now or hereafter
substantially includes the 1994 revisions to Article 8 thereof as adopted by the American Law
Institute and the National Conference of Commissioners on Uniform State Laws and approved
by the American Bar Association on February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



Dated as of: November 20, 2023




Share Certificate
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                                 MANAGING MEMBER CONSENT

         The undersigned, being the manager of THE KRAKEN, LLC, a California limited liability
company (“Kraken”), which is the manager of LEVIATHAN, LLC, a California limited liability company
(the “Member”), which is the sole Member and manager of CHANTILLY ROAD, LLC, a California
limited liability company (the “Company”), hereby consent to the following:

        That the undersigned hereby (i) approves the Mortgage Note, the Deed of Trust and Security
Agreement, and any and all other security documents and guarantees (collectively herein, the “Mortgage
Loan Documents”) to be executed by the Company in connection with that certain loan in the principal
sum of $2,350,000.00 (the “Loan”) to be made by CSPRF 2 LLC (“Lender”) to the Company, (ii)
authorizes the Company to grant a second (2nd) mortgage encumbering the Company’s real property located
in the County of Los Angeles, State of California, and commonly known as 1116 Chantilly Road, Los
Angeles, California (the “Property”), to secure the Loan, and (iii) consents to all the terms contained in the
Loan Documents, or as the undersigned may determine; and

         That the undersigned hereby approves the Ownership Interest Pledge and Security Agreement, and
any and all other security documents and guarantees (collectively herein, the “Pledge Documents”;
together with the Mortgage Loan Documents, hereinafter, collectively, the “Loan Documents”) to be
executed by The Kraken LLC, Isaac Rudomin, Pablo Rudomin, Diego Rudomin and Adrian Rudomin, the
Member and the Company, as applicable, in connection with the Loan, affecting the Member’s membership
interest in the Company, to secure the Loan, and consents to all the terms contained in the Pledge
Documents, or as the undersigned may determine; and

        FURTHER, that Adrian Rudomin, be, and hereby is, Authorized Signatory of each of the Company,
Member, and Kraken, and is hereby authorized to execute all Loan Documents and any other documents
required by Lender to be executed by the Company, Member and/or Kraken, as the case may be, in
connection with the closing of the aforementioned Loan; and

         FURTHER, this Consent may be executed in one or more counterparts and by different parties
hereto in separate counterparts, each of which when so executed and delivered shall be deemed an original,
but all such counterparts together shall constitute but one and the same instrument. Signature pages may be
detached from multiple separate counterparts and attached to a single counterpart so that all signature pages
are physically attached to the same document.

            THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK.


                       INCUMBENCY AND SIGNATURE PAGE TO FOLLOW.




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I further certify that the below named person(s) have been duly elected (or appointed) and have
duly qualified as, and on this date are, members of Company, holding the respective offices set
forth opposite their names below and the signatures set forth opposite their respective names below
are their genuine signatures:


       NAME                           OFFICE                         SIGNATURE


       Adrian Rudomin                 Authorized Signatory              LG! er



Dated: As of November /6, 2023




                              [SIGNATURE PAGE TO FOLLOW]
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                                                        LEG;
        The undersigned has executed this Consent as of the day and      year first written above.



                                                   ADRIAN RUDOMIN '



 STATE OF




                                      ee
                                            SS..




                                      See
 COUNTY OF

                                      Nee
                On the day of                                    , in the year 2023, before me, the
undersigned, a Notary Public in and for said State, personally appeared ADRIAN RUDOMIN,
personally known to me or proved to me on the basis of satisfactory evidence to be the individual
whose name is subscribed to the within instrument and acknowledged to me that he executed the
same in his capacity, and that by his signature on the instrument, the individual, or the person upon
behalf of which the individual acted, executed the instrument.




                                                     Notary Public
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                                         ACKNOWLEDGMENT


      A notary public or other officer completing this
      certificate verifies only the identity of the individual
      who signed the document to which this certificate is
      attached, and not the truthfulness, accuracy, or
      validity of that document.
 State of California
 County of __ Los         Ama     2hes                  )


 On             lie |w22,                  before me,       ~ 1 ara. Giyson             NO haw        pa           hoe
                  yt                                           (insert name and title of the officer) !
 personally appeared            Aeodky    an      “KRoderun                                                                    _,
 who proved to me on the basis of satisfactory evidence to be the person(s)       whose name(¢) islaye
 subscribed to the within instrument and acknowledged to me that he/si ithéy executed the same in
 his/hér/th¢gir authorized capacity(ids), and that by his/hgrith¢ir Sionature(s) on the instrument the
 person(s}, or the entity upon behdlf of which the person(s) acted, executed the instrument.

 | certify under PENALTY OF PERJURY under the laws of the. State of California that the foregoing
 paragraph is true and correct.

                                                                         | ii,             TARA GIPSON




                                                                                                                   2 LOUN oe
 WITNESS my hand and official seal.                                      5             COMM. #2354010
                                                                         eke   ital   Notary Publ   - California
                                                                                                        ic
                                                                                         Los Angeles County
                                                                                       Comm. ExpiresMay 6, 2025

 Signature       Tana.              adh pacna—                 (Seal)
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                                     NOTICE OF SALE

         PLEASE TAKE NOTICE, that in accordance with applicable provisions of the Uniform
Commercial Code as enacted in New York, and by virtue of certain Event(s) of Default under that
certain Ownership Interests Pledge and Security Agreement, dated as of November 20, 2023 (the
“Pledge Agreement”), executed and delivered by ADRIAN RUDOMIN, an individual (“AR”),
DIEGO RUDOMIN, an individual (“DR”), PABLO RUDOMIN, an individual (“PR”), ISAAC
RUDOMIN, an individual (“IR”), and THE KRAKEN, LLC, a California limited liability
company (“KRAKEN”; together with AR, DR, PR and IR, hereinafter, individually,
collectively, jointly and severally, as the case may be, the “Pledgors”), as security, to induce CSPRF
2 LLC, a Delaware limited liability company (the “Lender” and/or “Secured Party”), to make that
certain loan in the principal amount of $2,350,000.00 to CHANTILLY ROAD, LLC, a California
limited liability company (the “Borrower”), and in accordance with Secured Party’s rights as holder
of the security, by virtue of possession of those certain Share Certificates held in accordance with
Article 8 of the Uniform Commercial Code of the State of New York (the “Code”), and by virtue of
those certain UCC-1 Filing Statements made in favor of Secured Party, all in accordance with
Article 9 of the Code, Secured Party will offer for sale, at public auction, (i) all of Pledgor’s right,
title, and interest in and to the following: LEVIATHAN, LLC (the “Pledged Entity”), and (ii)
certain related rights and property relating thereto (collectively, (i) and (ii) are the “Collateral”).
Secured Party’s understanding is that the principal asset of the Borrower is the premises located at
1116 Chantilly Road, Los Angeles, CA 90077 (the “Property”).

        Maltz Auctions (“Maltz”), under the direction of Richard B. Maltz or David A. Constantino
(individually, the “Auctioneer”), will conduct a public sale consisting of the Collateral (as set forth
in Schedule A below), via online bidding, on October 4, 2024 at 2:30pm (EST), in satisfaction of
an indebtedness in the approximate amount of $2,511,358.89, including principal, interest on
principal, and reasonable fees and costs, plus default interest through October 4, 2024, subject to
open charges and all additional costs, fees and disbursements permitted by law. The Secured Party
reserves the right to credit bid.

      Online bidding will be made available for pre-registered bidders via Maltz's online bidding
App available for download in the App Store or on Google play and via desktop bidding at
RemoteBidding.MaltzAuctions.com .

       Bidder Qualification Deadline: October 3, 2024 by 4:00 pm (EST). Executed Terms &
Conditions of Sale along with ten (10%) of Bidders intended bid amount (to be submitted via wire
transfer) are required for consideration by any interested party and submitted directly to Maltz.
Requests for wiring instructions should be sent to rmaltz@maltzauctions.com.
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                                               SCHEDULE A

                                     PLEDGED INTEREST

      PLEDGOR                            ISSUERS                           INTERESTS
      ADRIAN RUDOMIN, an                 LEVIATHAN, LLC, a                 PLEDGED
      individual                         California limited liability      37% membership
                                         company                           interest

      DIEGO RUDOMIN, an                  LEVIATHAN, LLC, a                 37% membership
      individual                         California limited liability      interest
                                         company

      PABLO RUDOMIN, an                  LEVIATHAN, LLC, a                 12.5% membership
      individual                         California limited liability      interest
                                         company

      ISAAC RUDOMIN, an                  LEVIATHAN, LLC, a                 12.5% membership
      individual                         California limited liability      interest
                                         company

      THE KRAKEN, LLC, a                 LEVIATHAN, LLC, a                 1% membership interest
      California limited liability       California limited liability
      company                            company

      The UCC1 was filed on January 12, 2024, with the Secretary of State of the State of California
      under the Filing No. U240003090921, and thereafter, amended and corrected by UCC3 filed on
      August 14, 2024, with the Secretary of State of the State of California under Filing No.
      U240065026720.



                                                  KRISS & FEUERSTEIN LLP
                                                  Attn: Michael J. Bonneville, Esq.
                                                  Attorneys for Secured Party
                                                  360 Lexington Avenue, Suite 1200
                                                  New York, New York 10017
                                                  (212) 661-2900
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                                       CSPRF 2 LLC
                                 1207 Delaware Ave, Ste 2992
                                    Wilmington DE 19806

                                         ___________

                                        August 20, 2024


                                  NOTIFICATION OF
                             DISPOSITION OF COLLATERAL


VIA OVERNIGHT MAIL
 ADRIAN RUDOMIN                                  ISAAC RUDOMIN
 578 Washington Boulevard, Apt. 148              578 Washington Boulevard, Apt. 148
 Marina Del Ray, CA 90292                        Marina Del Ray, CA 90292

 DIEGO RUDOMIN                                   THE KRAKEN, LLC
 1339 Appleton Way                               578 Washington Blvd, #148
 Venice, CA 90291                                Marina Del Rey, CA 90292

 PABLO RUDOMIN
 578 Washington Boulevard, Apt. 148
 Marina Del Ray, CA 90292

Dear Sir/Madam:

         Reference is made to a loan (the “Loan”), as evidenced by that certain $2,350,000
Mortgage Note, dated as of November 20, 2023 (the “Note”), and that certain Deed of Trust and
Security Agreement (the “Deed of Trust”), given by CHANTILLY ROAD, LLC, a California
limited liability company (the “Borrower”), in favor of CSPRF 2 LLC, a Delaware limited
liability company (the “Lender” and/or “Secured Party”), and secured, inter alia, by that certain
Ownership Interests Pledge and Security Agreement (the “Pledge Agreement”), dated as of
November 20, 2023, whereby ADRIAN RUDOMIN, an individual (“AR”), DIEGO
RUDOMIN, an individual (“DR”), PABLO RUDOMIN, an individual (“PR”), ISAAC
RUDOMIN, an individual (“IR”), and THE KRAKEN, LLC, a California limited liability
company (“KRAKEN”; together with AR, DR, PR and IR, hereinafter, individually,
collectively, jointly and severally, as the case may be, the “Pledgors”), pledged their 100%
membership interests in and to LEVIATHAN, LLC, a California limited liability company (the
“Pledged Entity”) to Lender. A copy of the Pledge Agreement is annexed hereto as Exhibit “A”.

        Further reference is made to that certain Guaranty (the “Guaranty”), and that certain
Environmental Indemnity Agreement (the “EIA”, together with the Guaranty, the “Guaranties”),
both dated as of November 20, 2023, given by AR, DR, PR and IR (collectively, the “Guarantors”),
in favor of Lender.

       The Note, Deed of Trust, Pledge Agreement, Guaranties and all other documents executed
in connection with the Loan are collectively referred to herein as the “Loan Documents”).

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Capitalized terms used herein and not otherwise defined herein shall have the meaning given to
such term in the Loan Documents.
        Pursuant to the Pledge Agreement, the Pledgors have pledged to Lender, and Lender has a
perfected security interest in the Collateral (as defined in the Pledge Agreement) consisting of,
among other assets, all of Pledgors’ membership interest in and to the Pledged Entity represented
by those certain Share Certificates annexed hereto as Exhibit “B” through Exhibit “F.
       Certain Event(s) of Default exist under the Loan Documents for, among other things,
Borrower’s failure to pay off the Loan by the Maturity Date on August 1, 2024 (the “Maturity
Default”, in accordance with the provisions of the Note.

       As a result of the Maturity Default and pursuant to that certain maturity default notice,
dated August 2, 2024, Borrower was advised that the Loan has matured, and that all obligations of
the Borrower to the Lender under the Loan Documents are now due and owning and payable in
full.

1.       Notification of Disposition of Collateral

        Notice is hereby given that Lender will sell the Collateral to the highest qualified bidder at
a public sale in accordance with the provisions of the Uniform Commercial Code as in effect in
the State of New York. The sale will take place beginning at 2:30pm on October 4, 2024 (EST).

      Online bidding will be made available for pre-registered bidders via Maltz's online bidding
App available for download in the App Store or on Google play and via desktop bidding at
RemoteBidding.MaltzAuctions.com.
         Bidder Qualification Deadline: October 3, 2024 by 4:00 pm (EST). Executed Terms
& Conditions of Sale along with ten (10%) of Bidders intended bid amount (to be submitted via
wire transfer) are required for consideration by any interested party and submitted directly to
Maltz. Requests for wiring instructions should be sent to rmaltz@maltzauctions.com.

       The Pledgors and other obligated parties may be liable for any indebtedness which shall
remain after such sale to the extent permitted by applicable law and the Loan Documents.

2.       Reservation of Rights

        Nothing contained herein shall be construed as a modification of any of the Loan
Documents or as a waiver of any delinquency, breach, default or Event(s) of Default under the
Loan Documents, at law or in equity, or as a waiver, modification or limitation of any of rights or
remedies of Lender, all of which are hereby expressly reserved. Any actions, omissions or
forbearance by Lender in the exercise of any such rights and remedies shall not constitute a waiver
of such rights or any other rights and shall not be deemed to establish a course of conduct nor
justify an expectation by the Borrower, Pledgors or Guarantors that Lender will take any further
action or continue to not take any action and will not preclude Lender from exercising any and all
remedies available at any time thereafter. Lender may exercise each right and remedy available to
it from time to time and as often and in such order as it may determine in its sole discretion, and
the exercise or beginning of the exercise of any such right or remedy shall not be construed as a


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waiver of the right to exercise at the same time or thereafter any other right or remedy available to
it.

        There may be other Defaults or Event(s) of Default which are not identified in this letter
which may currently exist under the Loan Documents. Lender is expressly not waiving any
defaults or Event(s) of Default whether or not they are identified herein.

        Any conversations, correspondence, proposals or discussions of proposals with Lender
shall not prejudice Lender's rights nor be legally binding on Lender unless definitive documents
are executed and delivered by Lender.

3.       Governing Law

     THIS LETTER SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE
WITH THE LAWS OF THE STATE OF NEW YORK.

                                                 Sincerely,

                                                 CSRF 2 LLC,
                                                 a Delaware limited lability company

                                                 By: ____________________________
                                                      Name:
                                                              David Blatt
                                                      Title:
                                                                 Authorized Signatory




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                                   THE BORROWER

VIA OVERNIGHT MAIL
CHANTILLY ROAD, LLC
578 Washington Blvd., Suite 148
Marina Del Rey, CA 90292


                                  THE GUARANTORS

VIA OVERNIGHT MAIL
Adrian Rudomin
578 Washington Blvd., Suite 148
Marina Del Rey, CA 90292

Pablo Rudomin
578 Washington Blvd., Suite 148
Marina Del Rey, CA 90292

Isaac Rudomin
578 Washington Blvd., Suite 148
Marina Del Rey, CA 90292

Diego Rudomin
1339 Appleton Way
Venice, CA 90291

The Kraken LLC
578 Washington Blvd, #148
Marina Del Rey, CA 90292



                                   WITH COPIES TO:


VIA OVERNIGHT MAIL

Simone & Roos, LLP
5627 Sepulveda Blvd., Suite 206
Sherman Oaks, CA 91411
Attn: Martin Simone, Esq.




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                                  EXHIBIT “A”
                                  EXHIBIT “A”

                              PLEDGE AGREEMENT
                              PLEDGE AGREEMENT




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             OWNERSHIP INTERESTS PLEDGE AND SECURITY AGREEMENT

       THIS OWNERSHIP INTERESTS PLEDGE AND SECURITY AGREEMENT
     (this “Agreement”) is made as of the 20th day of November, 2023, by and among, ADRIAN
RUDOMIN (“AR”), an individual having an address at 578 Washington Boulevard, Apt. 148,
Marina Del Ray, California 90292, DIEGO RUDOMIN (“DR”), an individual having an
address at 1339 Appleton Way, Venice, California 90291, PABLO RUDOMIN (“PR”), an
individual having an address at 578 Washington Boulevard, Apt. 148, Marina Del Ray,
California 90292, ISAAC RUDOMIN (“IR”), an individual having an address at 578
Washington Boulevard, Apt. 148, Marina Del Ray, California 90292, and THE KRAKEN,
LLC, a California limited liability company having an address at 578 Washington Blvd, #148,
Marina Del Rey, CA 90292 (“KRAKEN”; together with AR, DR, PR and IR, hereinafter,
individually and collectively and jointly and severally, as the case may be, the “Pledgor”), and
CSPRF 2 LLC, a Delaware limited liability company, having offices at 8 The Green, Ste. A,
Dover, Delaware 19901 (“Lender”).

         WHEREAS, pursuant to the terms of the Mortgage Note (the “Note”), the Deed of Trust
and Security Agreement (the “Deed of Trust”), and any and all other security documents and
guarantees securing Borrower’s obligations under the Note (collectively herein, the “Loan
Documents”) of even date herewith between CHANTILLY ROAD, LLC, a California limited
liability company (the “Borrower”), and Lender, Lender has agreed to make that certain secured
loan to the Borrower in the principal amount of $2,350,000.00 (the “Loan”), as evidenced and
secured by all of the obligations under and in connection with the Loan Documents, on the
condition that Pledgor pledge all interest, right and title to their respective membership interests
(as set forth on Schedule A annexed hereto and made a part hereof) in LEVIATHAN, LLC, a
California limited liability company (“Issuer”), being the sole member of Borrower (the
“Obligations”); and

       WHEREAS, Pledgor are the members of the Issuer;

       WHEREAS, Issuer is the sole member of Borrower; and

       WHEREAS, in order to induce Lender to make the Loan, it is a condition precedent
under the Loan Documents that Pledgor shall have (a) granted to Lender the security interests,
and undertaken the obligations, set forth in this Agreement, and (b) executed and delivered to
Lender this Agreement.

        NOW, THEREFORE, in consideration of the promises contained herein and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
the parties hereto agree as follows:

1.     Pledge of Collateral. Pledgor hereby irrevocably and unconditionally pledges and assigns
       to Lender, and irrevocably and unconditionally grants to Lender a security interest in, all
       of Pledgor’s right, title, and interest in and to the following (the “Collateral”):

       (a)     the Pledged Interests (hereinafter defined) together with all rights to Distributions
               (hereinafter defined) or other payments arising therefrom or relating thereto, and
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           all options, rights, instruments, and other property or proceeds from time to time
           received, receivable, or otherwise distributable in respect of or in exchange for
           any or all of the Pledged Interests;

     (b)   to the extent not covered by subparagraph (a), all rights to receive all income,
           gain, profit, loss, or other items allocated, allocable, distributed, or distributable to
           Pledgor under the Organizational Documents (hereinafter defined) of the Issuer,
           and all general intangibles, accounts, investment property, payment intangibles,
           supporting obligations, other contract rights or rights to the payment of money,
           and all proceeds, as each of the foregoing terms is defined in the UCC (hereinafter
           defined), arising out of, or in connection with, the membership interest in Issuer;

     (c)   all of Pledgor’ ownership interest in any capital accounts in the Issuer;

     (d)   all of Pledgor’ voting, consent, management, management removal and
           replacement, and approval rights, and/or rights to control or direct the affairs of
           the Issuer, inclusive of the management rights of the Pledgor in the Issuer, as set
           forth in the Operating Agreement of the Issuer dated June 18, 2021, and any
           amendments thereto, as the same may be amended or amended and restated from
           time to time (collectively, the “Operating Agreement”);

     (e)   any additional ownership interests of, and any ownership interests exchangeable
           for or convertible into and warrants, options, and other rights to purchase or
           otherwise acquire shares of ownership interests of, the Issuer, or entity which is
           the successor of the Issuer, from time to time acquired by Pledgor in any manner
           (all of which interests shall be deemed to be part of the Pledged Interests), and
           any certificates or other instruments representing such additional interests,
           warrants, options, and other rights, and all Distributions and other property or
           proceeds from time to time received, receivable, or otherwise distributed or
           distributable in respect of or in exchange for any or all of such additional shares,
           warrants, options, or other rights. Pledgor agrees that Lender may from time to
           time attach as Schedule A hereto an updated list of the Collateral at the time
           pledged to Lender hereunder (although the failure to so update Schedule A shall
           not limit the pledge of such additional interests to Lender); and

     (f)   to the extent not covered by clauses (a) through (e) above, all proceeds of any or
           all of the foregoing Collateral. For purposes of this Agreement, the term
           “proceeds” includes whatever is receivable or received when Collateral or
           proceeds are sold, exchanged, collected, or otherwise disposed of, whether such
           disposition is voluntary or involuntary, and includes, without limitation, proceeds
           of any indemnity or guaranty payable to Pledgor from time to time with respect to
           any of the Collateral.

2.   Certain Definitions. Capitalized terms used herein without definition shall have the
     respective meanings provided therefor in the Loan Documents. Terms (whether or not
     capitalized) used herein and not defined in the Loan Documents or otherwise defined
     herein that are defined in the Uniform Commercial Code as in effect in the State of
     California or other applicable jurisdiction (the “UCC”) have such defined meanings

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     herein, unless the context otherwise indicates or requires. In addition, the following
     terms used herein shall have the following meanings:

     (a)    “Article 8 Matter” means any action, decision, determination or election by the
            Issuer or its members that the membership interest in the Issuer be, or cease to be,
            a “security” as defined in and governed by Article 8 of the UCC, and all other
            matters related to any such action, decision, determination or election.

     (b)    “Business Day” means a weekday, Monday through Friday, except a legal holiday
            or a day on which banking institutions in New York, New York are authorized by
            law to be closed.

     (c)    “Contractual Obligation” means, as to any Person, any contract, agreement, or
            undertaking, regardless of how characterized, oral or written, to which such
            Person is a party, or by which such Person or such Person’s property is bound, or
            to which such Person or such Person’s property is subject.

     (d)    “Distributions” means any distribution of property (including cash) (regardless of
            whether from cash flow, capital transactions, or otherwise) on account of a
            Pledged Interest, or any other distribution or payment on or in respect of any
            membership interest or the redemption or repurchase thereof.

     (e)    “Governmental Authority” means any national, state, or local government, any
            political subdivision thereof, or any other governmental, quasi-governmental,
            judicial, public, or statutory instrumentality, authority, body, agency, bureau, or
            entity or any arbitrator with authority to bind a Person at law, and any agency,
            authority, department, commission, board, bureau, or instrumentality of any of
            them.

     (f)    “Legal Requirements” means all applicable federal, state, county and local laws,
            by-laws, rules, regulations, codes and ordinances, and the requirements of any
            Governmental Authority having or claiming jurisdiction with respect thereto,
            including, but not limited to, all orders and directives of any Governmental
            Authority having or claiming jurisdiction with respect thereto.

     (g)    “Lien” means any lien, encumbrance, security interest, mortgage, restriction,
            charge or encumbrance of any kind.

     (h)    “Loan Collateral” means the “Collateral” as defined in the Deed of Trust (as
            defined in the Note) and includes the Collateral hereunder.

     (i)    “Organizational Documents” means for any corporation, partnership, trust,
            limited liability company, limited liability partnership, unincorporated
            association, business or other legal entity, the agreements pursuant to which such
            entity has been established or organized, its affairs are to be governed, and its
            business is to be conducted, as such documents may be amended from time to
            time.


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     (j)    “Person” means any individual, corporation, partnership, joint venture, limited
            liability company, estate, trust, unincorporated association, any federal, State,
            county or municipal government or any bureau, department or agency thereof and
            any fiduciary acting in such capacity on behalf of any of the foregoing.

     (k)    “Pledged Interests” means the ownership interests or membership interest now or
            hereafter listed on Schedule A hereto or which would be listed on an updated
            Schedule A at any time of reference, together with all related rights of the holder
            thereof pursuant to the Organizational Documents of the Issuer.

3.   Security for the Secured Obligations. This Agreement secures, and the Collateral is
     collateral security for, the payment and performance in full when due, whether at stated
     maturity, by required prepayment, declaration, acceleration, demand, or otherwise
     (including the payment of amounts that would become due but for the operation of the
     automatic stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)), of the
     following (the “Secured Obligations”):

     (a)    the Obligations, including all obligations and liabilities of every nature of the
            Borrower now or hereafter existing under or arising out of or in connection with
            the Loan Documents and all renewals or extensions thereof, whether for principal,
            interest, fees, expenses, indemnities, or otherwise, whether voluntary or
            involuntary, direct or indirect, absolute or contingent, liquidated or unliquidated,
            whether or not jointly owed with others, and whether or not from time to time
            decreased or extinguished and later increased, created, or incurred, and all or any
            portion of such obligations or liabilities that are paid, to the extent all or any part
            of such payment is avoided or recovered directly or indirectly from Lender as a
            preference, fraudulent transfer, or otherwise, and all obligations of every nature of
            the Pledgor now or hereafter existing under this Agreement; and

     (b)    the obligations of Pledgor hereunder.

4.   Delivery of Collateral.

     (a)    If at any time the Pledged Interests are evidenced by one or more certificates,
            Pledgor shall deliver to Lender any original certificate evidencing the Pledged
            Interests (the “Certificate”), in suitable form for transfer by delivery or, as
            applicable, accompanied by any necessary endorsement or duly executed
            instruments of transfer or assignment, in blank, all in form and substance
            satisfactory to Lender.

     (b)    Lender shall have the right, at any time after the occurrence of an Event of
            Default, in its discretion and without notice to Pledgor, to transfer to or to register
            (if not already so registered) in the name of Lender or any of its nominees any or
            all of the Collateral. In addition, Lender shall have the right at any time to
            exchange certificates or instruments representing or evidencing Collateral for
            certificates or instruments of smaller or larger denominations.

5.   Representations and Warranties. Pledgor hereby represents and warrants as follows:

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     (a)   Organization; Address of Pledgor. Kraken is the type of entity, organized in the
           jurisdiction, and has the address set forth with respect to Kraken in the
           introductory paragraph to this Agreement, and with respect to AR, DR, PR and IR
           has the address as set forth in the introductory paragraph to this Agreement.

     (b)   No Conflict. The execution, delivery, and performance by Pledgor of this
           Agreement will not (i) violate any provision of any Legal Requirement applicable
           to Pledgor, or any order, judgment, or decree of any Governmental Authority
           binding on Pledgor, (ii) result in a breach of, or constitute with due notice or lapse
           of time or both, a default under any Contractual Obligation of Pledgor, (iii) result
           in or require the creation or imposition of any Lien upon any of Pledgor’
           properties or assets, except pursuant to this Agreement, (iv) require the approval
           or consent of any Person under any Contractual Obligation of Pledgor, except for
           the approvals or consents described on Schedule B hereto, which approvals or
           consents have been obtained, and true and complete copies of which have been
           furnished to Lender, or (v) conflict with any provision of Issuer’s organizational
           documents and/or Pledgor’ organizational documents, as applicable.

     (c)   Binding Obligation. The execution, delivery and performance of this Agreement
           and the transactions contemplated hereby is within the authority of Pledgor, has
           been duly authorized by all necessary proceedings, and is the legally valid and
           binding obligation of Pledgor, enforceable against Pledgor in accordance with its
           terms, except as enforcement may be limited by bankruptcy, insolvency,
           reorganization, moratorium, or similar laws or equitable principles generally.

     (d)   Description of Collateral. The Pledged Interests are being certificated pursuant to
           this Agreement and are fully paid and non-assessable. The Pledged Interests
           constitute all of the issued and outstanding ownership interests of the Issuer
           owned beneficially or of record by Pledgor. Neither Pledgor nor any other Person
           holds, or has any right to the issuance of, any options or other rights to purchase,
           and is not party to any other agreement with respect to and does not hold or have
           the right to any property that is now or hereafter convertible into, or that requires
           the issuance or sale of, any ownership interests of the Issuer. No Person other
           than Pledgor owns any ownership interests of any type in the Issuer. Other than
           the Certificates delivered to Lender pursuant to this Agreement, there currently
           exist no certificates, instruments or writings representing the Pledged Interests.
           However, to the extent that in the future there exist any such certificates,
           instruments or writings, Pledgor shall deliver all such certificates, instruments or
           writings to Lender.

     (e)   Ownership of Collateral. (i) Pledgor is the legal and beneficial owner of, and has
           good and marketable title to, the Collateral, and is the record owner of the
           Pledged Interests, free and clear of, and subject to no, pledges, Liens, security
           interests, charges, options, restrictions or other encumbrances, except the pledge
           and security interest created by this Agreement; (ii) Pledgor has the legal capacity
           to execute, deliver and perform Pledgor’ obligations under this Agreement and to
           pledge and grant a security interest in all of the Collateral of which it is the legal


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           or beneficial owner pursuant to this Agreement; (iii) except for authorizations and
           consents which have already been obtained, no authorization, consent of or notice
           to any party that has not been obtained is required in connection with the
           execution, delivery, performance, validity or enforcement of this Agreement,
           including, without limitation, the assignment and transfer by Pledgor of any of the
           Collateral to Lender or the subsequent transfer by Lender pursuant to the terms
           hereof; and (iv) Lender’s filing of UCC-1 financing statements with the Secretary
           of State of the State of California results in the perfection of Lender’s security
           interest in the Pledged Interests, and such portion of the other Collateral in which
           a security interest may be perfected by filing such UCC-1 form or financing
           statement.

     (f)   Governmental Authorizations. No authorization, approval, or other action by, and
           no notice to or filing with, any Governmental Authority is required for either
           (i) the pledge by Pledgor of the Collateral pursuant to this Agreement and the
           grant by Pledgor of the security interest granted hereby, (ii) the execution,
           delivery, or performance of this Agreement by Pledgor, or (iii) the exercise by
           Lender of the voting or other rights in respect of the Collateral provided for in this
           Agreement (except as may be required in connection with a disposition of
           Collateral by laws affecting the offering and sale of securities generally).

     (g)   Article 8. Pledgor acknowledges and agrees that the terms of the Pledged
           Interests and the Organizational Documents of the Issuer do and will provide that
           the Pledged Interests shall constitute a “security” within the meaning of Article 8
           of the UCC (including Section 8-102(a)(15) thereof), as in effect from time to
           time in the State of California, and Article 8 of the Uniform Commercial Code of
           any other applicable jurisdiction that now or hereafter substantially includes the
           1994 revisions to Article 8 thereof as adopted by the American Law Institute and
           the National Conference of Commissioners on Uniform State Laws and approved
           by the American Bar Association on February 14, 1995. Pledgor acknowledges
           and agrees that the Pledged Interests, and any and all Certificates which have been
           delivered to Lender on the date hereof, constitute and each will constitute a
           “certificated security” (as defined in the UCC). Pledgor therefor covenants and
           agrees that Pledgor shall not, directly or indirectly, without the prior written
           consent of Lender, alter, amend modify, supplement or change in any way, the
           Operating Agreement as in effect on the date hereof. However, the Pledged
           Interests are not and will not be investment company securities within the
           meaning of Section 8-103 of the UCC. The Pledged Interests (i) will not become
           “financial assets” (within the meaning of Section 8-102(a)(9) of the UCC) and (ii)
           will not be credited to a “securities account” (within the meaning of Section 8-
           501(a) of the UCC).

     (h)   Creation, Perfection and Priority of Security Interest. This Agreement constitutes
           an authenticated record, and Lender is authorized at any time and from time to
           time to file any and all UCC financing statements and take such other actions
           determined by Lender to be necessary or desirable to perfect its security interest
           in the Collateral.


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     (i)    No Other Financing Statements. Other than the UCC financing statements filed
            by Lender describing the Collateral, there is no financing statement (or similar
            statement or registration under the laws of any jurisdiction) now on file or
            registered in any public office covering any interest of Pledgor or any other
            Person in the Collateral.

     (j)    Other Information. All information heretofore, herein or hereafter supplied to
            Lender by Pledgor with respect to the Collateral in writing is accurate and
            complete in all material respects.

6.   Assurances and Covenants of Pledgor.

     (a)    Transfers and Other Liens. Pledgor shall not:

            (i)     sell, assign (by operation of law or otherwise), pledge, or hypothecate or
                    otherwise dispose of, or grant any option with respect to, any of the
                    Collateral, except to Lender pursuant to this Agreement; or

            (ii)    create or suffer to exist any Lien upon or with respect to any of the
                    Collateral, except for the Lien created hereunder.

     (b)    Covenants of Pledgor. Pledgor covenants and agrees, with respect to itself and
            the Pledged Interests, that so long as any Secured Obligation is outstanding:

            (i)     Pledgor shall not vote for, or agree or consent to, the sale, transfer, pledge
                    or encumbrance of the Pledged Interests while the Loan is outstanding.

            (ii)    Pledgor shall not vote for, or agree or consent to, the discontinuance of the
                    business or the dissolution or liquidation of the Issuer or the Borrower.

            (iii)   Pledgor shall not vote for, or agree or consent to, any material
                    modifications to the Organizational Documents of the Issuer or the
                    Borrower.

            (iv)    Pledgor shall provide Lender with copies of any modifications made to the
                    Organizational Documents of the Issuer or the Borrower within thirty (30)
                    days after the date such modifications are made.

            (v)     Pledgor shall not enter into any agreements which restrict, limit or
                    otherwise impair the transferability of the Pledged Interests.

            (vi)    Pledgor shall be the sole members of the Issuer and the sole holder of
                    membership interests in the Issuer and shall not resign or withdraw as a
                    member or vote for, agree or consent to, or permit the admission of any
                    new members to the Issuer or any change in the management of the Issuer.

            (vii)   Pledgor shall cause the Issuer to remain the sole member of the Borrower
                    and the sole holder of the membership interest in the Borrower and shall


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                  refrain from causing Issuer to resign or withdraw as a member or vote for,
                  agree or consent to, or permit the admission of any new members to the
                  Borrower or any change in the management and/or control of the
                  Borrower.

     (c)   Additional Collateral. Pledgor shall pledge hereunder, immediately upon
           Pledgor’ acquisition (directly or indirectly) thereof, any and all additional
           ownership interests of Pledgor in the Issuer.

     (d)   Pledge Amendments. Pledgor shall, upon obtaining any additional ownership
           interests or other securities required to be pledged hereunder promptly (and in any
           event within five (5) Business Days) deliver to Lender such documents as Lender
           may require to confirm the pledge hereunder of such additional collateral;
           provided that the failure of Pledgor to execute any such additional documents
           with respect to any additional Pledged Interests pledged pursuant to this
           Agreement shall not impair the security interest of Lender therein or otherwise
           adversely affect the rights and remedies of Lender hereunder with respect thereto.

     (e)   Taxes and Assessments. Pledgor shall pay promptly when due all taxes,
           assessments, and governmental charges or levies imposed upon, and all claims
           against, the Collateral, except to the extent the validity thereof is being contested
           in good faith and by appropriate proceedings and in which reserves or other
           appropriate provisions have been made or provided therefor; provided that
           Pledgor shall in any event pay such taxes, assessments, charges, levies, or claims
           not later than five (5) days prior to the date of any proposed sale under any
           judgment, writ, or warrant of attachment entered or filed against Pledgor or any of
           the Collateral as a result of the failure to make such payment.

     (f)   Further Assurances. Pledgor shall from time to time, at the expense of Pledgor,
           promptly execute and deliver all further instruments and documents, and take all
           further action, that may be necessary and that Lender may request, in order to give
           full effect to this Agreement and to perfect and protect any security interest
           granted or purported to be granted hereby or to enable Lender to exercise and
           enforce its rights and remedies hereunder with respect to any Collateral, provided
           that such further instruments, documents and action are consistent with this
           Agreement.

     (g)   Warranty of Title to Collateral. Pledgor covenants that Pledgor will defend its
           rights and title in the Collateral against the claims and demands of all Persons
           whomsoever. Pledgor further covenants that Pledgor will have title to and right to
           pledge and grant a security interest in the Collateral hereafter pledged or in which
           a security interest is granted to Lender hereunder and will likewise defend its
           rights therein.

     (h)   Good Standing. Pledgor will at all times be duly formed and is, and will at all
           times be, validly existing, in good standing and qualified to do business in each
           jurisdiction where required. Pledgor will at all times have all requisite power to


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            own its property and conduct its business as now conducted and as presently
            contemplated.

7.   Voting Rights, Dividends, Etc.

     (a)    So long as no Event of Default shall have occurred:

            (i)     Pledgor shall be entitled to exercise any and all voting and other
                    consensual rights pertaining to the Collateral or any part thereof for any
                    purpose not inconsistent with the terms of this Agreement and the Loan
                    Documents; provided, however, that any and all such rights shall remain
                    subject to the provisions of Section 7(b) hereof;

            (ii)    Subject to the terms and conditions of this Agreement and the Loan
                    Documents, if applicable, Pledgor shall be entitled to receive and retain,
                    and to utilize free and clear of the Lien of this Agreement, any and all
                    Distributions, paid in respect of the Collateral; provided, however, if any
                    such property is distributed in the form of shares of membership interest in
                    the Issuer, such membership interest shall be pledged, and any certificates
                    representing such membership interest delivered, to Lender
                    (collectively, “Collateral Payments and Distributions”).

     (b)    After the occurrence of an Event of Default:

            (i)     all rights of Pledgor to exercise the voting, management, and other
                    consensual rights which it would otherwise be entitled to exercise pursuant
                    to Section 7(a)(i) shall cease, and all such rights shall thereupon become
                    vested in Lender who shall thereupon have the sole right to exercise such
                    voting, management, and other consensual rights;

            (ii)    all rights of Pledgor to receive the Collateral Payments and Distributions
                    which Pledgor would otherwise be authorized to receive and retain
                    pursuant to Section 7(a)(ii) shall cease, and all such rights shall thereupon
                    become vested in Lender who shall thereupon have the sole right to
                    receive and hold as Collateral such Collateral Payments and Distributions;
                    and

            (iii)   all Collateral Payments and Distributions which are received by Pledgor
                    contrary to the provisions of paragraph (ii) of this Section 7(b) shall be
                    received in trust for the benefit of Lender, shall be segregated from other
                    funds of Pledgor, and shall forthwith be paid over to Lender as Collateral
                    in the same form as so received (with any necessary endorsements).

     (c)    In order to permit Lender to exercise the voting and other consensual rights which
            it may be entitled to exercise pursuant to Section 7(b)(i) and to receive all
            Collateral Payments and Distributions which it may be entitled to receive under
            Section 7(a)(ii) or Section 7(b)(ii), (i) Pledgor shall promptly execute and deliver
            (or cause to be executed and delivered) to Lender all such proxies, dividend

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            payment orders, and other instruments as Lender may from time to time request,
            and (ii) without limiting the effect of the immediately preceding clause (i),
            Pledgor hereby grants to Lender an irrevocable proxy to vote the Pledged Interests
            and to exercise all other rights, powers, privileges, and remedies to which a holder
            of the Pledged Interests would be entitled (including, without limitation, giving or
            withholding written consents of members, calling special meetings of members,
            and voting at such meetings), which proxy shall be effective, automatically and
            without the necessity of any action (including any transfer of any Pledged
            Interests on the record books of the Issuer) by any other Person (including the
            Issuer or any officer or agent thereof), provided, however, Lender shall not
            exercise any rights granted under such proxy except upon the occurrence of an
            Event of Default.

     (d)    Notwithstanding any of the foregoing, Pledgor agrees that this Agreement shall
            not in any way be deemed to obligate Lender to assume any of Pledgor’
            obligations, duties, expenses, or liabilities unless Lender otherwise expressly
            agrees to assume any or all of said obligations, duties, expenses, or liabilities in
            writing.

8.   Lender Appointed Attorney-in-Fact. Pledgor hereby irrevocably appoints Lender as
     Pledgor’ attorney-in-fact, with full authority in the place and stead of Pledgor and in the
     name of Pledgor, exercisable after the occurrence of an Event of Default, from time to
     time in Lender’s discretion to take any action and to execute any instrument that Lender
     may in good faith deem necessary or advisable to accomplish the purposes of this
     Agreement, including, without limitation:

     (a)    to ask, demand, collect, sue for, recover, compound, receive, and give acquittance
            and receipts for moneys due and to become due under or in respect of any of the
            Collateral;

     (b)    to receive, endorse, and collect any instruments made payable to Pledgor
            representing any dividend or other distribution in respect of the Collateral or any
            part thereof and to give full discharge for the same; and

     (c)    to file any claims or take any action or institute any proceedings that Lender may
            deem necessary or desirable for the collection of any of the Collateral or
            otherwise to enforce the rights of Lender with respect to any of the Collateral.

9.   Standard of Care. The powers conferred on Lender hereunder are solely to protect its
     interest in the Collateral and except as specifically set forth herein shall not impose any
     duty upon it to exercise any such powers. Except for the exercise of reasonable care in
     the custody of any Collateral in its possession and the accounting for moneys actually
     received by it hereunder, Lender shall have no duty as to any Collateral, it being
     understood that Lender shall have no responsibility for (a) ascertaining or taking action
     with respect to calls, conversions, exchanges, maturities, tenders, or other matters relating
     to any Collateral, whether or not Lender has or is deemed to have knowledge of such
     matters, (b) taking any necessary steps (other than steps taken in accordance with the
     standard of care set forth above to maintain possession of the Collateral) to preserve

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      rights against any parties with respect to any Collateral, (c) taking any necessary steps to
      collect or realize upon the Secured Obligations or any guaranty therefor, or any part
      thereof, or any of the Collateral, or (d) initiating any action to protect the Collateral
      against the possibility of a decline in market value. In no event shall the standard of care
      imposed upon Lender hereunder exceed the minimum applicable standard of care
      imposed under Section 9-207 of the UCC.

10.   Waiver of Defenses; Secured Obligations Not Affected.

      (a)    Pledgor hereby waives and agrees, not to assert or take advantage of any defense,
             for itself or on behalf of Borrower or Issuer (whether directly or indirectly), based
             on: (i) except for a breach of the standard of care set forth in Section 9, any lack
             of diligence by Lender in collection, protection or realization upon any Loan
             Collateral; (ii) the failure to make or give notice of presentment and demand for
             payment, or failure to make or give protest and notice of dishonor or of default to
             Pledgor or to any other party with respect to the Secured Obligations; (iii) any
             exculpation of liability of any party contained in the Loan Documents; (iv) the
             failure of Lender to perfect any security or to extend or renew the perfection of
             any security; (v) any valuation, stay, moratorium law or other similar law now or
             hereafter in effect or any right to require the marshalling of assets of Pledgor;
             (vi) any fraudulent, illegal or improper act by the Issuer, Borrower or Pledgor;
             (vii) all rights and remedies, including, but not limited to, any rights of
             subrogation, contribution, reimbursement, exoneration or indemnification
             pursuant to any agreement, express or implied, or now or hereafter accorded by
             applicable law to any party; (viii) the right to a trial by jury in any manner related
             to this Agreement; and (ix) to the fullest extent permitted by law, any other legal,
             equitable or suretyship defenses whatsoever to which Pledgor or Issuer might
             otherwise be entitled, it being the intention that the obligations of Pledgor
             hereunder shall be absolute, unconditional and irrevocable.

      (b)    All rights and remedies of Lender hereunder, and all obligations of Pledgor
             hereunder, shall be absolute and unconditional irrespective of, shall remain in full
             force and effect without regard to, and shall not be impaired by, any of the
             following, whether or not Pledgor shall have notice or knowledge thereof:

                  (i)     any lack of validity or enforceability of this Agreement or the Loan
             Documents or any other agreement or instrument relating to any of the foregoing;

                    (ii)    Pledgor have or had no legal existence or legal capacity or is under
             no legal obligation to discharge any of the Obligations, or if any of the
             Obligations have become irrecoverable from Pledgor by operation of law or for
             any other reason;

                     (iii) the acceleration of the time for payment of any of the Obligations
             is stayed upon the insolvency, bankruptcy or reorganization of Pledgor, or for any
             other reason;



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                     (iv)    any exercise or nonexercise, or any waiver, by Lender of any right,
             remedy, power or privilege under or in respect of any of the Obligations or any
             security therefor (including this Agreement);

                     (v)    any change in the time, manner, or place of payment of, or in any
             other term of, all or any of the Obligations, or any other amendment, waiver, or
             modification of or any consent to any departure from the Loan Documents or any
             provision thereof;

                     (vi)    any exchange, release, or nonperfection of any interest in any
             Collateral, or any release or amendment or waiver of or consent to any departure
             from any guaranty, for all or any of the Obligations, or the taking of additional
             security for, or any other assurances of payment of, any of the Obligations; or

                     (vii) any other circumstances (other than payment in full of the Secured
             Obligations) that might otherwise constitute a defense available to, or a discharge
             of, Issuer.

11.   Events of Default. An “Event of Default” shall exist if any of the following occurs:

      (a)    The occurrence of an “Event of Default”, as such term is defined in the Note and
             the other Loan Documents;

      (b)    if any representation or warranty of Pledgor made herein, or in any certificate,
             report, financial statement or other instrument or document furnished to Lender
             shall have been false or misleading in any material respect when made;

      (c)     Pledgor’ failure to pay any fees, costs or other amounts as and when required to
             be paid under this Agreement within five (5) days after demand by Lender;

      (d)    Except with respect to (i) the payment of money and (ii) the matters herein before
             and hereafter specified in this Section 11, if Pledgor shall default in the
             observance or performance of any covenant or agreement contained in this
             Agreement for ten (10) days after the giving by the Lender to Pledgor of notice
             thereof (provided, however, if such default cannot reasonably be cured within
             such ten (10) day period, then Pledgor shall have such additional time as is
             reasonable under the circumstances, so long as Pledgor commence such cure
             within the initial ten (10) day period and diligently and in good faith pursues such
             cure to completion, provided that in no event shall such additional time period
             exceed sixty (60) days); or

      (e)    Any transfer made by Pledgor in violation of the provisions of this Agreement or
             any breach or violation by Pledgor of the provisions of Sections 4(a) or 6 (b)(iii),
             either of which shall be an immediate Event of Default hereunder without notice
             or opportunity to cure.

12.   Remedies.



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     (a)   If any Event of Default shall have occurred, then Lender may exercise in respect
           of the Collateral, in addition to all other rights and remedies provided for herein
           or otherwise available to it, all the rights and remedies of a secured party on
           default under the UCC (whether or not the UCC applies to the affected
           Collateral), inclusive of the management rights of the Pledgor in the Issuer, as set
           forth in the Operating Agreement, and Lender may also in its sole discretion,
           without notice except as specified below, sell the Collateral or any part thereof in
           one or more parts at public or private sale, at any recognized exchange or broker’s
           board or at any of Lender’s offices or elsewhere, for cash, on credit, or for future
           delivery, at such time or times and at such price or prices and upon such other
           terms as Lender may deem commercially reasonable. Lender may be the
           purchaser of any or all of the Collateral at any such sale, and Lender shall be
           entitled, for the purpose of bidding and making settlement or payment of the
           purchase price for all or any portion of the Collateral sold at any such public sale,
           to use and apply any of the Secured Obligations as a credit on account of the
           purchase price for any Collateral payable by Lender at such sale.
           Notwithstanding anything herein to the contrary, Pledgor shall have a right of
           redemption prior to a UCC sale of the Collateral in accordance herewith. Each
           purchaser at any such sale shall hold the property sold absolutely free from any
           claim or right on the part of Pledgor, and Pledgor hereby waive all rights of
           redemption which such Pledgor now have or may at any time in the future have
           under any rule of law or statute now existing or hereafter enacted which might
           otherwise have been applicable subsequent to a UCC sale of the Collateral in
           accordance herewith. In addition, Pledgor hereby waive all rights of stay, and/or
           appraisal which Pledgor now have or may at any time in the future have under
           any rule of law or statute now existing or hereafter enacted. Lender shall not be
           obligated to make any sale of Collateral regardless of notice of sale having been
           given. Lender may adjourn any public or private sale from time to time by
           announcement at the time and place fixed therefor, and such sale may, without
           further notice, be made at the time and place to which it was so adjourned.
           Pledgor hereby waive any claims against Lender arising by reason of the fact that
           the price at which any Collateral may have been sold at such a private sale was
           less than the price which might have been obtained at a public sale, even if Lender
           accepts the first offer received and does not offer such Collateral to more than one
           offeree.

     (b)   Pledgor recognizes that, by reason of certain prohibitions contained in the
           Securities Act of 1933, as from time to time amended (the “Securities Act”), and
           applicable state securities laws, Lender may be compelled, with respect to any
           sale of all or any part of the Collateral conducted without prior registration or
           qualification of such Collateral under the Securities Act and/or such state
           securities laws, to limit purchasers to those who will agree, among other things, to
           acquire the Collateral for their own account, for investment and not with a view to
           the distribution or resale thereof. Pledgor acknowledge that any such private sales
           may be at prices and on terms less favorable than those obtainable through a
           public sale without such restrictions (including, without limitation, a public
           offering made pursuant to a registration statement under the Securities Act) and,

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           notwithstanding such circumstances, Pledgor agree that any such private sale shall
           be deemed to have been made in a commercially reasonable manner and that
           Lender shall have no obligation to engage in public sales and no obligation to
           delay the sale of any Collateral for the period of time necessary to permit the
           issuer thereof to register it for a form of public sale requiring registration under
           the Securities Act or under applicable state securities laws, even if such issuer
           would, or should, agree to so register it.

     (c)   If Lender determines to exercise its right to sell any or all of the Collateral, then,
           upon Lender’s written request, Pledgor shall, and Pledgor shall cause the Issuer to
           (and/or cause the Issuer to cause the Borrower to), furnish to Lender such
           information as Lender may request of Pledgor concerning Pledgor and the
           Collateral.

     (d)   Without in any way limiting Lender’s right to conduct a foreclosure sale in any
           manner which is considered commercially reasonable, Pledgor hereby agree that
           any foreclosure sale conducted in accordance with the following provisions shall
           be considered a commercially reasonable sale and hereby irrevocably waives any
           right to contest any such sale:

                  (i)     Intentionally Omitted.

                   (ii)   The foreclosure sale is conducted in accordance with the laws of
           the State of New York,

                  (iii) Not less than five (5) days in advance of the foreclosure sale,
           Lender notifies Pledgor at the address set forth herein of the time and place of
           such foreclosure sale,

                   (iv)    The foreclosure sale is conducted by an auctioneer licensed in the
           State of California and is conducted either (A) online via a teleconference or
           videoconference platform reasonably acceptable to Lender or (B) in front of the
           New York Supreme Court located in New York City, such other New York State
           Court having jurisdiction over the Collateral, Lender’s office (located in New
           York City), or Lender’s agent’s office (including Lender’s attorney) (located in
           New York City), in each case on any Business Day between the hours of 9 a.m.
           and 5 p.m. Further, Pledgor hereby waive, for itself and on behalf of Borrower or
           Issuer, whether directly or indirectly, any offsets, counterclaims or defenses to the
           commercial reasonableness of a foreclosure sale arising directly or indirectly from
           the existence and/or spread of the Coronavirus Disease (COVID-19) or any
           related strain or mutation thereof,

                  (v)     The notice of the date, time and location of the foreclosure sale is
           published in a widely circulated newspaper in California once a week for four (4)
           consecutive weeks prior to the date of the foreclosure sale, and

                   (vi)   Lender sends notification of the foreclosure sale to all secured
           parties against Pledgor identified as a result of a search of the UCC financings

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             statements in the filing offices located in the State of California conducted not
             earlier than thirty (30) days before such notification date.

                     Notwithstanding Pledgor’ agreement that any foreclosure sale conducted
             in accordance with the foregoing provisions shall be considered a commercially
             reasonable sale, the foregoing description of potential foreclosure sale procedures
             and the agreement of Pledgor that such procedures are commercially reasonable
             shall create no implication that a foreclosure sale conducted using different
             procedures is commercially unreasonable. As used herein the term “foreclosure
             sale” shall be deemed to include a public auction as such term is used in the UCC.

13.   Application of Proceeds. Except as expressly provided elsewhere in this Agreement, all
      proceeds received by Lender in respect of any sale of, collection from, or other
      realization upon all or any part of the Collateral may, in the discretion of Lender, be held
      by Lender as Collateral for, and/or then, or at any time thereafter, applied in full or in part
      by Lender against, the Secured Obligations in the following order of priority:

              FIRST: To the payment of all costs and expenses of such sale, collection, or other
      realization, including compensation to Lender and its agents, the fees and expenses and
      disbursements of Lender’s counsel, and all other expenses, liabilities, and advances made
      or incurred by Lender in connection therewith, and all amounts for which Lender is
      entitled to indemnification hereunder and all advances made by Lender hereunder for the
      account of the Pledgor, and to the payment of all costs and expenses paid or incurred by
      Lender in connection with the exercise of any right or remedy hereunder, all in
      accordance with Section 14;

             SECOND: To the payment in full of the Secured Obligations, in the manner
      provided for in the Loan Documents; and

             THIRD: To the payment to or upon the order of Pledgor, or to whosoever may be
      lawfully entitled to receive the same or as a court of competent jurisdiction may direct, of
      any surplus then remaining from such proceeds.

14.   Indemnity and Expenses.

      (a)    Pledgor agree to indemnify Lender from and against any and all claims, losses,
             and liabilities in any way relating to, growing out of, or resulting from this
             Agreement and the transactions contemplated hereby (including, without
             limitation, enforcement of this Agreement), except to the extent such claims,
             losses, or liabilities result from Lender’s gross negligence or willful misconduct,
             as finally determined by a court of competent jurisdiction.

      (b)    Pledgor shall pay to Lender upon demand the amount of any and all costs and
             expenses, including the fees and expenses of its counsel and of any experts and
             agents, that Lender may incur in connection with (i) the sale of, collection from,
             or other realization upon, any of the Collateral, (ii) the exercise or enforcement of



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             any of the rights of Lender hereunder, or (iii) the failure by Pledgor to perform or
             observe any of the provisions hereof.

15.   Continuing Security Interest. This Agreement shall create a continuing security interest
      in the Collateral and shall (a) remain in full force and effect until the payment in full of
      all Secured Obligations and the Borrower has no further obligations under the Loan
      Documents, (b) be binding upon Pledgor and Pledgor’ legal representatives, successors
      and assigns, and (c) inure, together with the rights and remedies of Lender hereunder, to
      the benefit of Lender and its successors, transferees and assigns. Upon the payment in
      full of all Secured Obligations and the cancellation or termination of the Loan
      Documents, the security interest granted hereby shall terminate and all rights to the
      Collateral shall revert to Pledgor. Upon any such termination Lender will, at Pledgor’
      expense, execute and deliver to Pledgor such documents as Pledgor shall reasonably
      request to evidence such termination, and Pledgor shall be entitled to the return, upon
      Pledgor’ request and at Pledgor’ expense, against receipt and without recourse to Lender,
      of such of the Collateral as shall not have been sold or otherwise applied pursuant to the
      terms hereof.

16.   Amendments, Etc. No amendment, modification, termination, or waiver of any provision
      of this Agreement, and no consent to any departure by Pledgor from the terms and
      conditions hereof, shall in any event be effective as to Pledgor unless the same shall be in
      writing and signed by Lender and, in the case of any such amendment or modification, by
      Pledgor. Any such waiver or consent shall be effective only in the specific instance and
      for the specific purpose for which it was given.

17.   Failure or Indulgence Not Waiver; Remedies Cumulative. No failure or delay on the part
      of Lender in the exercise of any power, right, or privilege hereunder shall impair such
      power, right, or privilege or be construed to be a waiver of any default or acquiescence
      therein, nor shall any single or partial exercise of any such power, right, or privilege
      preclude any other or further exercise thereof or of any other power, right, or privilege.
      All rights and remedies existing under this Agreement are cumulative to, and not
      exclusive of, any rights or remedies otherwise available.

18.   Severability. In case any provision in or obligation under this Agreement shall be
      invalid, illegal, or unenforceable in any jurisdiction, the validity, legality, and
      enforceability of the remaining provisions or obligations, or of such provision or
      obligation in any other jurisdiction, shall not in any way be affected or impaired thereby.

19.   Headings. Section and subsection headings in this Agreement are included herein for
      convenience of reference only and shall not constitute a part of this Agreement for any
      other purpose or be given any substantive effect.

20.   Counterparts. This Agreement may be executed in one or more counterparts and by
      different parties hereto in separate counterparts, each of which when so executed and
      delivered shall be deemed an original, but all such counterparts together shall constitute
      but one and the same instrument; signature pages may be detached from multiple separate
      counterparts and attached to a single counterpart so that all signature pages are physically


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       attached to the same document. Further, facsimile or electronic (e.g., .pdf format) copies
       of signatures shall be considered originals for purposes of binding the parties hereto.

21.    Marshalling. Lender shall not be required to marshal any present or future security for
       (including, but not limited to, this Agreement and the Collateral), or other assurances of
       payment of, the Secured Obligations or any of them, or to resort to such security or other
       assurances of payment in any particular order. All of Lender’s rights hereunder and in
       respect of such security and other assurances of payment shall be cumulative and in
       addition to all other rights, however existing or arising. To the extent lawfully
       permissible, Pledgor hereby agree that Pledgor will not invoke any law, doctrine, or
       principle relating to the marshalling of collateral that might cause delay in or impede the
       enforcement of Lender’s rights under this Agreement or under any other instrument
       evidencing any of the Secured Obligations or under which any of the Secured Obligations
       is outstanding or by which any of the Secured Obligations is secured or payment thereof
       is otherwise assured, and, to the extent that Pledgor lawfully may, Pledgor hereby
       irrevocably waives the benefits of all such laws.

22.    Notices, Etc. All notices, requests and other communications to any party hereunder
       shall be in writing (including facsimile transmission followed by telephonic confirmation
       or similar writing) and shall be given to such party as follows: (i) to Lender, to the
       address set forth in the Loan Documents, and (ii) to Pledgor, to the following address:

              Adrian Rudomin
              578 Washington Boulevard, Apartment 148,
              Marina Del Ray, California 90292

              Pablo Rudomin
              578 Washington Boulevard, Apartment 148,
              Marina Del Ray, California 90292

              Isaac Rudomin
              578 Washington Boulevard, Apartment 148,
              Marina Del Ray, California 90292

              Diego Rudomin
              1339 Appleton Way,
              Venice, California 90291

              with a copy in like manner to:

              Simone & Roos, LLP
              5627 Sepulveda Blvd., Suite 206
              Sherman Oaks, California 91411
              Attn: Martin Simone, Esq.

       Any such addressee may change its address for such notices to any other address in the
United States as such addressee shall have specified by written notice given as set forth above.


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        Each such notice, request or other communication shall be effective (i) if given by
facsimile transmission, when such facsimile is transmitted to the facsimile number specified in
this Section and the appropriate facsimile confirmation is received, (ii) if given by mail, on the
earlier of actual receipt or three (3) Business Days after such communication is deposited in the
mail with first class certified or registered mail, postage prepaid, addressed as aforesaid, (iii) if
given by a nationally recognized overnight carrier, one (1) Business Day after such
communication is deposited with such carrier with delivery charges prepaid, or (iv) if given by
any other means, when delivered at the address specified in this Section.

23.    Delay Not Waiver. No delay on Lender’s part in exercising any right, power or privilege
       hereunder or under any of the Loan Documents shall operate as a waiver of any such
       privilege, power or right. No waiver by Lender in any instance shall constitute a waiver
       in any other instance.

24.    Irrevocable Proxy. With respect to Article 8 Matters and all other matters, including
       without limitation, the rights, remedies and powers granted by this Agreement, and to the
       extent applicable, Pledgor hereby irrevocably grant and appoint Lender, from the date of
       this Agreement until the payment in full of the Secured Obligations and the termination
       of all obligations of the Issuer under the Loan Documents, exercisable whether or not
       there has been an Event of Default hereunder or under the Loan Documents, as Pledgor’s
       true and lawful proxy, for and in Pledgor’s name, place and stead, to vote the Pledged
       Interests, whether directly or indirectly, beneficially or of record, now owned or hereafter
       acquired, with respect to such Article 8 Matters. The proxy granted and appointed in this
       Section 24 shall include the right to sign Pledgor’ name (as the holder of a membership
       interest in the Issuer) to any consent, certificate or other document relating to an Article 8
       Matter and the related Pledged Interests that applicable law may permit or require and to
       cause the Pledged Interests to be voted in accordance with the preceding sentence.
       Pledgor hereby represent and warrant that there are no other proxies and powers of
       attorney with respect to an Article 8 Matter. Pledgor will not give a subsequent proxy or
       power of attorney or enter into any other voting agreement with respect to the Pledged
       Interests with respect to any Article 8 Matter and any attempt to do so with respect to an
       Article 8 Matter shall be void and of no effect.

     THE PROXIES AND POWERS GRANTED BY PLEDGOR PURSUANT TO THIS
AGREEMENT ARE COUPLED WITH AN INTEREST AND ARE GIVEN TO SECURE THE
PERFORMANCE OF PLEDGOR’S OBLIGATIONS UNDER THIS AGREEMENT.

25.    Miscellaneous.

       (a)     Any waiver, express or implied, of any provision hereunder and any delay or
               failure by Lender to enforce any provision shall not preclude Lender from
               enforcing any such provision thereafter.

       (b)     Pledgor hereby authorize Lender to file one or more financing statements
               describing all or part of the Collateral, and continuation statements, or
               amendments thereto, relative to all or part of the Collateral as authorized by
               applicable law.   Such financing statements, continuation statements and
               amendments will contain any other information required by the UCC for the

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            sufficiency or filing office acceptance of any financing statement, continuation
            statement or amendment, including whether Pledgor is an organization, the type
            of organization and any organizational identification number issued to Pledgor.
            Pledgor agree to furnish any such information to Lender promptly upon request.

      (c)   This Agreement shall be governed by and construed according to the internal laws
            of the State of Delaware. Pledgor and Lender hereby irrevocably (i) submit to the
            non-exclusive jurisdiction of any United States Federal or State court sitting in the
            State of Delaware, in any action or proceeding arising out of or relating to this
            Agreement, and (ii) waive to the fullest extent permitted by law any defense
            asserting an inconvenient forum in connection therewith. Service of process by
            Lender in connection with such action or proceeding shall be binding on Pledgor
            if sent to Pledgor by registered or certified mail at its address specified above.

26.   WAIVER OF JURY TRIAL. TO THE EXTENT ALLOWED BY APPLICABLE LAW,
      PLEDGOR AND LENDER EACH WAIVE TRIAL BY JURY WITH RESPECT TO
      ANY ACTION, CLAIM, SUIT OR PROCEEDING ON OR ARISING OUT OF THIS
      AGREEMENT.


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        IN WITNESS
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     Agreement to be executed as of the date first above  written.
this Agreement to be executed as of the date first above written,
this


                                            PLEDGORS:
                                            PLEDGORS:


                                                Kj
                                            ADRIAN RUDOMIN,
                                                   RUDOMIN             individual
                                                                       individual




                                            DIEGO RUDOMIN,
                                            DIEGO RUDOMIN, an
                                                           an individual
                                                              individual



                                            PABLO RUDOIVIIN,
                                            PABLO RUDOMIN, an
                                                            an individual
                                                               individual




                                            ISAAC RUDOMIN,
                                            ISAAC RUDOMIN, an
                                                           an individual
                                                              individual


                                            THE KRAKEN,
                                            THE    KRAKEN, LLC, LLC,
                                            aa California
                                               California
                                                    a7                    company
                                                          limited ia lily company

                                            By:
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                                            Name:         Rudomir/
                                                     dia Rudom
                                            Title: Authorized
                                            Title: Authorized Signatory
                                                              Signatory


                                            LENDER:
                                            LENDER:

                                             CSPRF 2
                                            CSPRF     2 LLC,
                                                        LLC,
                                            aa Delaware
                                               Delaware limited
                                                         limited liability
                                                                 liability company
                                                                           company


                                            By:
                                            By:
                                            Name: David
                                            Name:  David Blatt
                                                          Blatt
                                            Title: Authorized
                                            Title: Authorized Signatory
                                                                Signatory
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        IN WITNESS
        IN WITNESS WHEREOF,
                      WHEREOF, intending
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                                            PLEDGORS: ©
                                          ~ PLEDGORS:


                                                   RUDOMIN, an
                                            ADRIAN RUDOMIN,
                                            ADRIAN             individual
                                                            an individual



                                                  RUDOMIN, an
                                            DIEGO RUDOMIN,
                                            DIEGO             individual
                                                           an individual


                                            PABLO RRUDOMIN,
                                            PABLO      OMIN,an individual
                                                            an individual


                                       x.                 Zp
                                                   RUDOMIN, an
                                            ISAACC RUDOMIN,    individual
                                                            an individual


                                                   KRAKEN, LLC,
                                             THE KRAKEN,
                                            THE                 LLC,
                                                          limited liability
                                               California limited
                                            aa California                   company
                                                                  liability company

                                            By:
                                            By:
                                            Name:  Adian Rudomin
                                            Name: Adian   Rudomin
                                            Title: Authorized
                                            Title:            Signatory
                                                   Authorized Signatory


                                            LENDER:
                                            LENDER:

                                                       LLC,
                                             CSPRF 22 LLC,
                                            CSPRF                            |
                                                        limited liability
                                               Delaware limited
                                            aa Delaware                   company
                                                                liability company


                                            By:
                                            By:
                                            Name: David
                                            Name:         Blatt
                                                   David Blatt
                                            Title: Authorized
                                            Title:              Signatory
                                                   Authorized Signatory
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        IN WITNESS
        IN WITNESS WHEREOF,        intending to
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                                                    legally bound,
                                                            bound, Pledgor
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this Agreement
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     Agreement to be executed
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                                    the date
                                        date first
                                             first above
                                                   above written.
                                                          written.


                                            PLEDGORS:
                                            PLEDGORS:



                                            ADRIAN
                                            ADRIAN RUDOMIN,
                                                   RUDOMIN, an
                                                            an individual
                                                               individual




                                            DIEGO RUDOMIN, an
                                            DIEGO RUDOMIN, an individual
                                                              individual



                                            ADRIAN RUDOMIN,
                                            ADRIAN RUDOMIN, an
                                                            an individual,
                                                               individual, as
                                                                           as agent
                                                                              agent for
                                                                                    for
                                            PABLO RUDOMIN, an
                                            PABLO RUDOMIN, an individual
                                                              individual



                                            ADRIAN
                                            ADRIAN RUDOMIN,   an individual,
                                                    RUDOMIN, an  individual, as
                                                                             as agent
                                                                                agent for
                                                                                      for
                                            ISAAC RUDOMIN,
                                            ISAAC RUDOMIN, an
                                                            an individual
                                                               individual


                                            THE KRAKEN,
                                            THE     KRAKEN, LLC,LLC,
                                            aa California
                                               California limited
                                                          limited liability
                                                                  liability company
                                                                            company

                                            By:
                                            By:
                                            Name:
                                            Name: Adian
                                                   Adian Rudomin
                                                          Rudomin
                                            Title: Authorized
                                            Title: Authorized Signatory
                                                              Signatory


                                            LENDER:
                                            LENDER:

                                             CSPRF      LC,
                                             a Delaw re         iab i Company


                                            By:
                                            Name: Dav :latt
                                            Title: Authorized
                                            Title:            Signatory
                                                   Authorize. Signatory
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                                       JOINDER AND
                                       JOINDER AND CONSENT
                                                   CONSENT OF
                                                           OF THE
                                                              THE ISSUER
                                                                  ISSUER

          The undersigned
          The      undersigned hereby     hereby (a)    (a) joins
                                                              joins in   in the
                                                                              the above
                                                                                      above Agreement
                                                                                                 Agreement for        for thethe sole
                                                                                                                                    sole purpose
                                                                                                                                             purpose of     of
consenting to
consenting      to the
                     the terms
                           terms thereof;
                                      thereof; (b)  (b) agrees to cooperate fully and in good faith with the Lender and
                                                         agrees      to  cooperate        fully   and    in  good     faith    with    the   Lender      and
Pledgor in
Pledgor     in carrying
                carrying out   out thisthis Agreement
                                              Agreement (including,
                                                                  (including, without             limitation, by
                                                                                     without limitation,            by admitting
                                                                                                                          admitting LenderLender or    or its
                                                                                                                                                            its
transferee (including
transferee     (including from   from aa secured
                                              secured party's
                                                           party’s sale)
                                                                       sale) as as aa substituted
                                                                                       substituted member);
                                                                                                          member); (c)     (c) waives any transfer
                                                                                                                                waives      any   transfer
or other
or  other restrictions
            restrictions existing
                                existing pursuant
                                                pursuant to    to Contractual
                                                                    Contractual Obligations,
                                                                                        Obligations, Organizational
                                                                                                              Organizational Documents,Documents, or        or
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                                                      applicable securities
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granting     of the
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                        pledges and    and security
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rights   and remedies
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                                                             Agreement or        or applicable
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                                                                                                                    law or  or in
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                                                                                                                                     equity, so  so asas to,
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among other
among     other things,
                    things, permit
                                permit (x)   (x) Pledgor
                                                   Pledgor to    to enter
                                                                     enter into
                                                                              into andand perform
                                                                                            perform Pledgor's
                                                                                                           Pledgor’s obligations
                                                                                                                            obligations under under this this
Agreement, and
Agreement,        and (y)(y) the
                               the Lender's
                                     Lender’s exerciseexercise of   of the
                                                                       the Lender's
                                                                              Lender’s rightsrights and and remedies
                                                                                                              remedies hereunder
                                                                                                                              hereunder and    and under
                                                                                                                                                     under
applicable law,
applicable      law, at at law
                             law or  or inin equity;
                                               equity; (d) (d) represents
                                                                  represents and    and warrants
                                                                                           warrants that  that thethe (i)
                                                                                                                        (i) Issuer
                                                                                                                              Issuer hashas elected
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have   its membership
           membership interest    interest deemed
                                                deemed to    to bebe "securities"
                                                                      “securities” for     for the
                                                                                                the purposes
                                                                                                       purposes of    of Articles
                                                                                                                           Articles 88 and  and 99 ofof the
                                                                                                                                                          the
UCC, and
UCC,     and any
               any andand allall Certificates
                                   Certificates being  being delivered
                                                                  delivered to    to Lender
                                                                                      Lender pursuant
                                                                                                  pursuant to     to the
                                                                                                                      the Agreement
                                                                                                                            Agreement are     are each
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“certificated security"
"certificated      security” (as    (as defined
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                                                            the UCC),
                                                                   UCC), (ii) (ii) Lender
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                                                                                                                           the Issuer's
                                                                                                                                 Issuer’s books
                                                                                                                                              books and  and
records as the sole pledgee of the Collateral, and (iii) Issuer will not recognize any transferee
records    as  the    sole    pledgee        of   the   Collateral,       and    (iii)  Issuer      will    not   recognize        any    transferee or     or
pledgee of
pledgee     of the
                 the Collateral
                        Collateral other   other thanthan Lender
                                                             Lender or    or pursuant
                                                                               pursuant to    to thethe exercise
                                                                                                           exercise of   of Lender's
                                                                                                                               Lender’s rightsrights and and
remedies under
remedies      under this this Agreement;
                                Agreement; and        and (e)(e) agrees
                                                                   agrees to  to comply
                                                                                   comply with  with any any "instructions"
                                                                                                                “instructions” (as      (as defined
                                                                                                                                              defined in    in
Section 8-102(a)(12)
Section    8-102(a)(12) of         of the
                                        the UCC)
                                              UCC) originated
                                                          originated by     by the
                                                                                 the Lender
                                                                                       Lender in     in conformity
                                                                                                         conformity with     with thisthis Agreement
                                                                                                                                             Agreement
without further
without     further consent
                        consent of      of the
                                            the Pledgor,
                                                   Pledgor, including,
                                                                   including, without
                                                                                    without limitation,
                                                                                                  limitation, instructions
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transfer,   redemption or        or other
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                            respect thereto
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                                                               clause (e)  (e) shall
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Lender    to give
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                       instructions with    with respect
                                                     respect to  to the
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                                                                                                                                               the above
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Agreement).
Agreement).

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                                    not otherwise
                                        otherwise defined
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       IN   WITNESS WHEREOF,
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Joinder  and Consent
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                                                                       the date
                                                                            date first
                                                                                 first above
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                                                                        ISSUER:
                                                                        ISSUER:

                                                                         LEVIATHAN, LLC
                                                                        LEVIATHAN,        LLC
                                                                                      ya
                                                                           California limited
                                                                        aa California                   company
                                                                                              li9 ility company

                                                                        By:
                                                                        By:    WA            la
                                                                        Name: Adriah
                                                                        Name:  A      Rudomin
                                                                                      Rudo   in
                                                                        Title: Authorized
                                                                        Title:            Signatory
                                                                               Atthorized Signatory
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                                    SCHEDULE A

                                    Pledged Interests


PLEDGOR                          ISSUER                         INTERESTS PLEDGED

Adrian Rudomin                   LEVIATHAN, LLC, a California   37% membership interest
                                 limited liability company

Diego Rudomin                    LEVIATHAN, LLC, a California   37% membership interest
                                 limited liability company

Pablo Rudomin                    LEVIATHAN, LLC, a California   12.5% membership interest
                                 limited liability company

Isaac Rudomin                    LEVIATHAN, LLC, a California   12.5% membership interest
                                 limited liability company

The Kraken, LLC                  LEVIATHAN, LLC, a California   1% membership interest
                                 limited liability company




                                        Schedule A
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                                 SCHEDULE B
                                 SCHEDULE B

                                    Consents
                                    Consents




                                    Schedule B
                                    Schedule B


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                                 MANAGING MEMBER CONSENT

         The undersigned, being the manager of THE KRAKEN, LLC, a California limited liability
company (“Kraken”), which is the manager of LEVIATHAN, LLC, a California limited liability company
(the “Member”), which is the sole Member and manager of CHANTILLY ROAD, LLC, a California
limited liability company (the “Company”), hereby consent to the following:

        That the undersigned hereby (i) approves the Mortgage Note, the Deed of Trust and Security
Agreement, and any and all other security documents and guarantees (collectively herein, the “Mortgage
Loan Documents”) to be executed by the Company in connection with that certain loan in the principal
sum of $2,350,000.00 (the “Loan”) to be made by CSPRF 2 LLC (“Lender”) to the Company, (ii)
authorizes the Company to grant a second (2nd) mortgage encumbering the Company’s real property located
in the County of Los Angeles, State of California, and commonly known as 1116 Chantilly Road, Los
Angeles, California (the “Property”), to secure the Loan, and (iii) consents to all the terms contained in the
Loan Documents, or as the undersigned may determine; and

         That the undersigned hereby approves the Ownership Interest Pledge and Security Agreement, and
any and all other security documents and guarantees (collectively herein, the “Pledge Documents”;
together with the Mortgage Loan Documents, hereinafter, collectively, the “Loan Documents”) to be
executed by The Kraken LLC, Isaac Rudomin, Pablo Rudomin, Diego Rudomin and Adrian Rudomin, the
Member and the Company, as applicable, in connection with the Loan, affecting the Member’s membership
interest in the Company, to secure the Loan, and consents to all the terms contained in the Pledge
Documents, or as the undersigned may determine; and

        FURTHER, that Adrian Rudomin, be, and hereby is, Authorized Signatory of each of the Company,
Member, and Kraken, and is hereby authorized to execute all Loan Documents and any other documents
required by Lender to be executed by the Company, Member and/or Kraken, as the case may be, in
connection with the closing of the aforementioned Loan; and

         FURTHER, this Consent may be executed in one or more counterparts and by different parties
hereto in separate counterparts, each of which when so executed and delivered shall be deemed an original,
but all such counterparts together shall constitute but one and the same instrument. Signature pages may be
detached from multiple separate counterparts and attached to a single counterpart so that all signature pages
are physically attached to the same document.

           THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK.


                    INCUMBENCY AND SIGNATURE PAGE TO FOLLOW.
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II further
   further certify
             certify that
                      that the
                            the below
                                 below named
                                        named person(s)
                                                  person(s) have
                                                             have been
                                                                    been duly
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                                                                  Company, holding
                                                                              holding thethe respective
                                                                                              respective offices
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 forth opposite their names below
 forth  opposite   their  names   below and
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         NAME
         NAME                                OFFICE
                                             OFFICE                              SIGNATURE
                                                                                 SIGNATURE


         Adrian Rudomin
         Adrian Rudomin                      Authorized Signatory
                                             Authorized Signatory                    LG! er




Dated: As
Dated:       November 16,
          of November
       As of              2023
                      /6, 2023




                                              PAGE TO
                                   [SIGNATURE PAGE
                                   [SIGNATURE         FOLLOW]
                                                   TO FOLLOW]
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                                                                  LEG;
          The undersigned
          The undersigned has
                          has executed
                              executed this Consent as
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                                                              day and year first
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                                                                                 written above.
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                                                            ADRIAN RUDOMIN
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                                                                                                   2023, before            the
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undersigned,                    Public in
                     Notary Public
undersigned, aa Notary                       and for
                                         in and                State, personally
                                                         said State,
                                                    for said                         appeared ADRIAN
                                                                        personally appeared                     RUDOMIN,
                                                                                                  ADRIAN RUDOMIN,
              known to
personally known
personally                  me or
                         to me       proved to
                                 or proved         me on
                                               to me             basis of
                                                            the basis
                                                        on the           of satisfactory   evidence to
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                                                                                                              the individual
whose name
whose   name is  is subscribed
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                                       the within      instrument and
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same           capacity, and
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                             and that            signature on
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                                                              on the                      individual, or
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                                                                       instrument, the                  or the  person upon
                                                                                                           the person   upon
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behalf of   which the the individual              executed the
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                                                               the instrument.




                                                              Notary
                                                              Notary Public
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                                          ACKNOWLEDGMENT
                                          ACKNOWLEDGMENT


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                          other officer
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                                                                             | ii,                TARA GIPSON
                                                                                                  TARA GIPSON




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                 and official
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                              seal.                                         5               COMM. #2354010
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                                                                                                            Mal  6, 2025
                                                                                                                    2025 t

 Signature
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                                  EXHIBIT
                                  EXHIBIT “B”
                                          “B”

                               ADRIAN RUDOMIN
                               ADRIAN  RUDOMIN
                              SHARE CERTIFCATE
                              SHARE  CERTIFCATE




4881-6272-0983, v.v. 1
4881-6272-0983,
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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 1                                                      37% Membership Interest

                 LEVIATHAN, LLC a California limited liability company (the “Company”),
hereby certifies that ADRIAN RUDOMIN, an individual (together with any assignee of this
Certificate, the “Holder”) is the registered owner of 37% of the Membership Interest in the
Company (the “Interests”). The rights, powers, preferences, restrictions and limitations of the
Interests are set forth in, and this Share Certificate and the Interests represented hereby are issued
and shall in all respects be subject to the terms and provisions of, the Operating Agreement of the
Company dated as of June 18, 2021, as the same may be amended or restated from time to time
(collectively, the “Operating Agreement”). By acceptance of this Share Certificate, and as a
condition to being entitled to any rights and/or benefits with respect to the Interests evidenced
hereby, the Holder is deemed to have agreed to comply with and be bound by all the terms and
conditions of the Operating Agreement. The Company will furnish a copy of the Operating
Agreement to the Holder without charge upon written request to the Company at its principal
place of business. Each Interest shall constitute a “security” within the meaning of (i) Section 8-
102(a)(15) of the Uniform Commercial Code as in effect from time to time in the State of
California and (ii) the Uniform Commercial Code of any other applicable jurisdiction that now or
hereafter substantially includes the 1994 revisions to Article 8 thereof as adopted by the
American Law Institute and the National Conference of Commissioners on Uniform State Laws
and approved by the American Bar Association on February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



Dated as of: November 20, 2023




Share Certificate
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                 IN WITNESS WHEREOF,   the Company has caused this Certificate to be executed
as of the date set forth above.


                                         LEVIATHAN, LLC
                                         a California limited liability company
                                                                      f



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                                        Title:          ized Signatory
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                             (REVERSE SIDE OF CERTIFICATE)
                               ASSIGNMENT OF INTERESTS

         FOR   VALUE      RECEIVED, the undersigned hereby sells, assigns and transfers unto
                            , 237% membership interest in LEVIATHAN, LLC a California limited
liability company, effective as of the date specified in the Application for Transfer of Interests
below, and irrevocably constitutes and appoints                           and its authorized officers,
as attorney-in-fact, to transfer the same on the books and records of the Company, with full power
of substitution in the premises.


Dated:    /, /o[2022
                                                      WA A “hs
                                                 ADRIAN RYDOMIN, an individual

                      APPLICATION FOR TRANSFER OF INTERESTS

        The undersigned applicant (the “Applicant”) hereby (a) applies for a transfer of the
percentage of membership interest in the Company described above (the “‘Transfer”) and applies
to be admitted to the Company as a substitute member of the Company, (b) agrees to comply with
and be bound by all of the terms and provisions of the Operating Agreement, (c) represents that
the Transfer complies with the terms and conditions of the Operating Agreement, (d) represents
that the Transfer does not violate any applicable laws and regulations, and (e) agrees to execute
and acknowledge such instruments (including, without limitation, a counterpart of the Operating
Agreement), in form and substance satisfactory to the Company, as the Company reasonably
deems necessary or desirable to effect the Applicant's admission to the Company as a substitute
member of the Company and to confirm the agreement of the Applicant to be bound by all the
terms and provisions of the Operating Agreement with respect to the membership interest the
Company described above. Initially capitalized terms used herein and not otherwise defined herein
are used as defined in the Operating Agreement.

      The Applicant directs that the foregoing Transfer and the Applicant's admission to the
Company as a Substitute Member shall be effective as of

Name of Transferee:

                                                       Signature:
                                                                           (Transferee)
Dated:                                                 Address:
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        The Company (a) has determined that the Transfer described above is permitted by the
Operating Agreement, (b) hereby agrees to effect such Transfer and the admission of the Applicant
as a substitute member of the Company effective as of the date and time directed above, and (c)
agrees to record, as promptly as possible, in the books and records of the Company the admission
of the Applicant as a substitute member.


                                             LEVIATHAN, LLC
                                             a California limited liability company


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                                            Title:        orized Signatory
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                                  EXHIBIT
                                  EXHIBIT “C”
                                          “C”

                                DIEGO RUDOMIN
                               DIEGO  RUDOMIN
                              SHARE CERTIFCATE
                              SHARE  CERTIFCATE




4881-6272-0983, v.v. 1
4881-6272-0983,
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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 2                                                      37% Membership Interest

                 LEVIATHAN, LLC a California limited liability company (the “Company”),
hereby certifies that DIEGO RUDOMIN, an individual (together with any assignee of this
Certificate, the “Holder”) is the registered owner of 37% of the Membership Interest in the
Company (the “Interests”). The rights, powers, preferences, restrictions and limitations of the
Interests are set forth in, and this Share Certificate and the Interests represented hereby are issued
and shall in all respects be subject to the terms and provisions of, the Operating Agreement of the
Company dated as of June 18, 2021, as the same may be amended or restated from time to time
(collectively, the “Operating Agreement”). By acceptance of this Share Certificate, and as a
condition to being entitled to any rights and/or benefits with respect to the Interests evidenced
hereby, the Holder is deemed to have agreed to comply with and be bound by all the terms and
conditions of the Operating Agreement. The Company will furnish a copy of the Operating
Agreement to the Holder without charge upon written request to the Company at its principal
place of business. Each Interest shall constitute a “security” within the meaning of (i) Section 8-
102(a)(15) of the Uniform Commercial Code as in effect from time to time in the State of
California and (ii) the Uniform Commercial Code of any other applicable jurisdiction that now or
hereafter substantially includes the 1994 revisions to Article 8 thereof as adopted by the
American Law Institute and the National Conference of Commissioners on Uniform State Laws
and approved by the American Bar Association on February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



Dated as of: November 20, 2023




Share Certificate
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                 IN WITNESS WHEREOF, the Company has caused this Certificate to be executed
as of the date set forth above.


                                          LEVIATHAN, LLC
                                          a 7

                                          By:            2.      L.
                                          Name: Adriar/Rudomih
                                          Title: Authorized Signatory
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                             (REVERSE SIDE OF CERTIFICATE)
                               ASSIGNMENT OF INTERESTS

         FOR   VALUE    RECEIVED,      the undersigned hereby      sells, assigns and transfers unto
                            , 437% membership interest in LEVIATHAN, LLC a California limited
liability company, effective as of the date specified in the Application for Transfer of Interests
below, and irrevocably constitutes and appoints                           and its authorized officers,
as attorney-in-fact, to transfer the same on the books and records of the Company, with full power
of substitution in the premises.


Dated:    u/ 16/10 4

                                                 DIEGO RUDOMIN, an individual


                      APPLICATION FOR TRANSFER OF INTERESTS

         The undersigned applicant (the “Applicant’”) hereby (a) applies for a transfer of the
percentage of membership interest in the Company described above (the “Transfer”) and applies
to be admitted to the Company as a substitute member of the Company, (b) agrees to comply with
and be bound by all of the terms and provisions of the Operating Agreement, (c) represents that
the Transfer complies with the terms and conditions of the Operating Agreement, (d) represents
that the Transfer does not violate any applicable laws and regulations, and (e) agrees to execute
and acknowledge such instruments (including, without limitation, a counterpart of the Operating
Agreement), in form and substance satisfactory to the Company, as the Company reasonably
deems necessary or desirable to effect the Applicant's admission to the Company as a substitute
member of the Company and to confirm the agreement of the Applicant to be bound by all the
terms and provisions of the Operating Agreement with respect to the membership interest the
Company described above. Initially capitalized terms used herein and not otherwise defined herein
are used as defined in the Operating Agreement.

      The Applicant directs that the foregoing Transfer and the Applicant's admission to the
Company as a Substitute Member shall be effective as of

Name of Transferee:

                                                      Signature:
                                                                           (Transferee)
Dated:                                                Address:
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        The Company (a) has determined that the Transfer described above is permitted by the
Operating Agreement, (b) hereby agrees to effect such Transfer and the admission of the Applicant
as a substitute member of the Company effective as of the date and time directed above, and (c)
agrees to record, as promptly as possible, in the books and records of the Company the admission
of the Applicant as a substitute member.


                                             LEVIATHAN, LLC
                                             a California
                                                       LEUlimit      E       company


                                             Nome
                                               ne     Rl      udomir/
                                             Title:   Auth6rized Signatory
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                                  EXHIBIT
                                  EXHIBIT “D”
                                          “D”

                               PABLO RUDOMIN
                               PABLO RUDOMIN
                              SHARE CERTIFCATE
                              SHARE CERTIFCATE




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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 3                                                   12.5% Membership Interest

                 LEVIATHAN, LLC a California limited liability company (the “Company”),
hereby certifies that PABLO RUDOMIN, an individual (together with any assignee of this
Certificate, the “Holder”) is the registered owner of 12.5% of the Membership Interest in the
Company (the “Interests”). The rights, powers, preferences, restrictions and limitations of the
Interests are set forth in, and this Share Certificate and the Interests represented hereby are issued
and shall in all respects be subject to the terms and provisions of, the Operating Agreement of the
Company dated as of June 18, 2021, as the same may be amended or restated from time to time
(collectively, the “Operating Agreement”). By acceptance of this Share Certificate, and as a
condition to being entitled to any rights and/or benefits with respect to the Interests evidenced
hereby, the Holder is deemed to have agreed to comply with and be bound by all the terms and
conditions of the Operating Agreement. The Company will furnish a copy of the Operating
Agreement to the Holder without charge upon written request to the Company at its principal
place of business. Each Interest shall constitute a “security” within the meaning of (i) Section 8-
102(a)(15) of the Uniform Commercial Code as in effect from time to time in the State of
California and (ii) the Uniform Commercial Code of any other applicable jurisdiction that now or
hereafter substantially includes the 1994 revisions to Article 8 thereof as adopted by the
American Law Institute and the National Conference of Commissioners on Uniform State Laws
and approved by the American Bar Association on February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



Dated as of: November 20, 2023




Share Certificate
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                 IN WITNESS WHEREOF, the Company has caused this Certificate to be executed
as of the date set forth above.


                                          LEVIATHAN, LLC
                                          a CaliforniaLEP
                                                       limited company

                                          By:
                                          Name: Adyfan
                                                  LES.
                                          Title:    thorized Signatory
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                             (REVERSE SIDE OF CERTIFICATE)
                               ASSIGNMENT OF INTERESTS |

         FOR   VALUE     RECEIVED, the undersigned hereby sells, assigns and transfers unto
                          , a 12.5% membership interest in LEVIATHAN, LLC a California
limited Tiability company, effective as of the date specified-in the Application for Transfer of
Interests below, and irrevocably constitutes and appoints                         and its authorized
officers, as attorney-in-fact, to transfer the same on the books and records of the Company, with
full power of substitution in the premises.


Dated:                                      x            g         (, No

                                                PABLO RUDOMIN, an individual


                      APPLICATION FOR TRANSFER OF INTERESTS

         The undersigned applicant (the “Applicant”) hereby        (a) applies for a transfer of the
percentage of membership interest in the Company described above (the ““Transfer”) and applies
to be admitted to the Company as a substitute member of the Company, (b) agrees to comply with
and be bound by all: of the terms and provisions of the Operating Agreement; (c) represents that
the Transfer complies with the terms and conditions of the Operating Agreement, (d) represents
that the Transfer does not violate any applicable laws and regulations, and (e) agrees to execute
and acknowledge such instruments (including, without limitation, a counterpart of the Operating
Agreement), in form and substance satisfactory to the Company, as the Company reasonably
deems necessary or desirable to effect the Applicant's admission to the Company as a substitute
member of the Company and to confirm the agreement of the Applicant to be bound by all the
terms and provisions of the Operating Agreement with respect to the membership interest the
Company described above. Initially capitalized terms used herein and not otherwise defined herein
are used as defined in the Operating Agreement.

         The Applicant directs that the foregoing Transfer and the Applicant's admission to the
Company as a Substitute Member shall be effective as of

Name of Transferee:

                                                      Signature:
                                                                           (Transferee)
Dated:                               .                Address:
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        The Company (a) has determined that the Transfer described above is permitted by the
Operating Agreement, (b) hereby agrees to effect such Transfer and the admission of the Applicant
as a substitute member of the Company effective as of the date and time directed above, and (c)
agrees to record, as promptly as possible, in the books and records of the Company the admission
of the Applicant as a substitute member.


                                             LEVIATHAN, LLC
                                             a 7a

                                             By:             £         ;
                                            Name: Adfaw Rudomin”
                                             Title:   Authorized Signatory
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                                  EXHIBIT
                                  EXHIBIT “E”
                                          “E”

                                ISAAC RUDOMIN
                                ISAAC RUDOMIN
                              SHARE CERTIFCATE
                              SHARE  CERTIFCATE




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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 4                                                   12.5% Membership Interest

                LEVIATHAN, LLC a California limited liability company (the “Company”),
hereby certifies that ISAAC RUDOMIN, an individual (together with any assignee of this
Certificate, the “Holder”) is the registered owner of 12.5% of the Membership Interest in the
Company (the “Interests”). The rights, powers, preferences, restrictions and limitations of the
Interests are set forth in, and this Share Certificate and the Interests represented hereby are issued
and shall in all respects be subject to the terms and provisions of, the [Operating Agreement] of
the Company dated as of Operating Agreement of the Company dated as of June 18, 2021, as the
same may be amended or restated from time to time (collectively, the “Operating Agreement”).
By acceptance of this Share Certificate, and as a condition to being entitled to any rights and/or
benefits with respect to the Interests evidenced hereby, the Holder is deemed to have agreed to
comply with and be bound by all the terms and conditions of the Operating Agreement. The
Company will furnish a copy of the Operating Agreement to the Holder without charge upon
written request to the Company at its principal place of business. Each Interest shall constitute a
“security” within the meaning of (i) Section 8-102(a)(15) of the Uniform Commercial Code as in
effect from time to time in the State of California and (ii) the Uniform Commercial Code of any
other applicable jurisdiction that now or hereafter substantially includes the 1994 revisions to
Article 8 thereof as adopted by the American Law Institute and the National Conference of
Commissioners on Uniform State Laws and approved by the American Bar Association on
February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



Dated as of: November 20, 2023




Share Certificate
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                 IN WITNESS WHEREOF,   the Company has caused this Certificate to be executed
as of the date set forth above.


                                         LEVIATHAN, LLC
                                         a California qetfe

                                         By:        LO              VA
                                        Name: Adrian      Rudemin
                                         Title:   Aythorized Signatory
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                             (REVERSE SIDE OF CERTIFICATE)
                               ASSIGNMENT   OF INTERESTS

         FOR     VALUE    RECEIVED,    the undersigned hereby      sells, assigns   and transfers unto
         |                  , a 12.5% membership interest in LEVIATHAN, LLC a California
limited liability company, effective as of the date specified in the Application: for Transfer of
Interests below, and irrevocably constitutes and appoints                       _ and its authorized
officers, as attorney-in-fact, to transfer the same on the books and records of the Company, with
full power of substitution in the premises.


Dated:       |                                x

                                                   ISAAC RUDOMIN, an individual


                        APPLICATION FOR TRANSFER OF INTERESTS

         The undersigned applicant (the “Applicant”) hereby (a) applies for a transfer of the
percentage of membership interest in the Company described above (the “Transfer’”’) and applies
to be admitted to the Company as a substitute member of the Company, (b) agrees to comply with
and be bound by all of the terms and provisions of the Operating Agreement, (c) represents that
the Transfer complies with the terms and conditions of the Operating Agreement, (d) represents
that the Transfer does not violate any applicable laws and regulations, and (e) agrees to execute
and acknowledge such instruments (including, without limitation, a counterpart of the Operating
Agreement), in form and substance satisfactory to the Company,          as the Company reasonably
deems necessary or desirable to effect the Applicant's admission to the Company as a substitute
member of the Company and to confirm the agreement of the Applicant to be bound by all the
terms and provisions of the Operating Agreement with respect to the membership interest the
Company described above. Initially capitalized terms used herein and not otherwise defined herein
are used as defined in the Operating Agreement.

      The Applicant directs that the foregoing Transfer and the Applicant's admission to the
Company as a Substitute Member shall be effective as of

Namrne of Transferee:

                                                    Signature:
                  re                              co      ae                (Transferee) °.
Dated:                                                 ‘Address:
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        The Company (a) has determined that the Transfer described above is permitted by the
Operating Agreement, (b) hereby agrees to effect such Transfer and the admission of the Applican
                                                                                                 t
as a substitute member of the Company effective as of the date and time directed above,
                                                                                           and (c)
agrees to record, as promptly as possible, in the books and records of the Company the admissio
                                                                                                n
of the Applicant as a substitute member.


                                             LEVIATHAN, LLC
                                             a le                            company
                                             By:          Le          f
                                             Name: Adydap/Rudomih
                                             Title:   Authorized Signatory
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                                  EXHIBIT
                                  EXHIBIT “F”
                                          “F”

                               THE KRAKEN
                               THE KRAKEN LLC
                                           LLC
                              SHARE CERTIFCATE
                              SHARE CERTIFCATE




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THIS SHARE CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933 OR UNDER THE SECURITIES OR BLUE SKY LAWS OF
ANY STATE. THE HOLDER OF THIS CERTIFICATE, BY ITS ACCEPTANCE
HEREOF, REPRESENTS THAT IT IS ACQUIRING THIS SECURITY FOR
INVESTMENT AND NOT WITH A VIEW TO ANY SALE OR DISTRIBUTION
HEREOF. ANY TRANSFER OF THIS CERTIFICATE OR ANY MEMBERSHIP
INTEREST REPRESENTED HEREBY IS SUBJECT TO THE TERMS AND
CONDITIONS OF THE OPERATING AGREEMENT (AS DEFINED BELOW).

Certificate Number 5                                                        1% Membership Interest

        LEVIATHAN, LLC a California limited liability company (the “Company”), hereby
certifies that THE KRAKEN, LLC, a California limited liability company (together with any
assignee of this Certificate, the “Holder”) is the registered owner of 1% of the Membership
Interest in the Company (the “Interests”). The rights, powers, preferences, restrictions and
limitations of the Interests are set forth in, and this Share Certificate and the Interests represented
hereby are issued and shall in all respects be subject to the terms and provisions of, the
[Operating Agreement] of the Company dated as of Operating Agreement of the Company dated
as of June 18, 2021, as the same may be amended or restated from time to time (collectively, the
“Operating Agreement”). By acceptance of this Share Certificate, and as a condition to being
entitled to any rights and/or benefits with respect to the Interests evidenced hereby, the Holder is
deemed to have agreed to comply with and be bound by all the terms and conditions of the
Operating Agreement. The Company will furnish a copy of the Operating Agreement to the
Holder without charge upon written request to the Company at its principal place of business.
Each Interest shall constitute a “security” within the meaning of (i) Section 8-102(a)(15) of the
Uniform Commercial Code as in effect from time to time in the State of California and (ii) the
Uniform Commercial Code of any other applicable jurisdiction that now or hereafter
substantially includes the 1994 revisions to Article 8 thereof as adopted by the American Law
Institute and the National Conference of Commissioners on Uniform State Laws and approved
by the American Bar Association on February 14, 1995.

               This Share Certificate shall be governed by and construed in accordance with the
laws of the State of California, without regard to principles of conflicts of laws.



Dated as of: November 20, 2023




Share Certificate
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                 IN WITNESS WHEREOF, the Company has caused this Certificate to be executed
as of the date set forth above.


                                          LEVIATHAN, LLC
                                          a 7a

                                          By:          LZ           L
                                          Name: AdyiayRudomin/
                                          Title;   Authbrized Signatory
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                             (REVERSE SIDE OF CERTIFICATE)
                               ASSIGNMENT OF INTERESTS

         FOR   VALUE      RECEIVED, the undersigned hereby sells, assigns and transfers unto
                            , a 1% membership interest in LEVIATHAN, LLC a California limited
liability company, effective as of the date specified in the Application for Transfer of Interests
below, and irrevocably constitutes and appoints                           and its authorized officers,
as attorney-in-fact, to transfer the same on the books and records of the Company, with full power
of substitution in the premises.


Dated:     // Mb [2.023                        THE KRAKEN, LLC,
                                               a California limited liability company


                                               By:                  lL.        LZ
                                               Name: Adriaf Rudémipy       /
                                               Title: Authorized Signatory

                      APPLICATION FOR TRANSFER OF INTERESTS

         The undersigned applicant (the “Applicant”) hereby (a) applies for a transfer of the
percentage of membership interest in the Company described above (the “Transfer”) and applies
to be admitted to the Company as a substitute member of the Company, (b) agrees to comply with
and be bound by all of the terms and provisions of the Operating Agreement, (c) represents that
the Transfer complies with the terms and conditions of the Operating Agreement, (d) represents
that the Transfer does not violate any applicable laws and regulations, and (e) agrees to execute
and acknowledge such instruments (including, without limitation, a counterpart of the Operating
Agreement), in form and substance satisfactory to the Company, as the Company reasonably
deems necessary or desirable to effect the Applicant's admission to the Company as a substitute
member of the Company and to confirm the agreement of the Applicant to be bound by all the
terms and provisions of the Operating Agreement with respect to the membership interest the
Company described above. Initially capitalized terms used herein and not otherwise defined herein
are used as defined in the Operating Agreement.

      The Applicant directs that the foregoing Transfer and the Applicant's admission to the
Company as a Substitute Member shall be effective as of

Name of Transferee:

                                                      Signature:
                                                                           (Transferee)
Dated:                                                Address:
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        The Company (a) has determined that the Transfer described above is permitted by the
Operating Agreement, (b) hereby agrees to effect such Transfer and the admission of the Applicant
as a substitute member of the Company effective as of the date and time directed above, and (c)
agrees to record, as promptly as possible, in the books and records of the Company the admission
of the Applicant as a substitute member.


                                             LEVIATHAN, LLC
                                             a California limited liability company

                                             By:        .         Z          VA
                                            Name: Adri4n          Kudgmin/
                                            Title:   Authofized       Signatory
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                                            Exhibit K
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                                            Exhibit L
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      THIS AMENDMENT to the Operating Agreement is made as of the 4th day of December, by CSPRF LLC, a
Delaware Limited Liability Company having an address at 1207 Delaware Avenue, Suite 2992, Wilmington,
Delaware

                                                  WITNESSETH


                                                                                                        perating



                                         n November 20, 2023 to the Company which Loan was evidenced
by that certain Ownership Interest Pledge and Security Agreement by and between Original Member, as
                                                                                                  er


               WHEREAS, Original Member defaulted in its obligations under the Loan Documents and in
accordance with the Loan Documents and the Operating Agreement, Sole Member became the owner of one
hundred percent (100%) of the limited liability company interests in Company pursuant to a foreclosure sale
held on December 4, 2024.

WHEREAS, the parties signing this Agreement desire to amend and restate the Operating Agreement in its
entirety and appoint Sole Member as the Manager of the Company;

NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which are acknowledged,
the individuals/entities signing this Agreement below agree to amend and restate the Operating Agreement in
its entirety as follows, which terms hereof shall modify, supersede and replace the terms of the Operating
Agreement.

            WHEREAS, the Certificate of Formation of LEVIATHAN                                                 in
Illinois.

     NOW, THEREFORE, the Sole Member hereby adopts the following as the operating agreement of the
Company.

            1.Formation of the Company. The Company was formed by the filing of the Certificate of Formation
in accordance with and pursuant to the Illinois
from time to time be amended; provided, however, that in the event of any inconsistency between any
provision of the Law and the provisions of this Operating Agreement, the provisions of this Operating
Agreement shall govern.

             Name. The name of the Company is LEVIATHAN LLC. The business of the Company shall be
            2.
conducted solely under such name and title to all assets of the Company shall be held in such name.

        3.     Purpose of the Company. The purpose to be conducted or promoted by Company is to engage
in any lawful act or activity and to exercise any powers permitted to limited liability companies organized under
the laws of the State of California that are related or incidental to and necessary, convenient or advisable for
the accomplishment of the above mentioned purposes.

                                                        1
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         4.  Company Filings. The Sole Member of the Company shall execute and file all documents required
by Law to be filed in connection with the continuation of the Company.

     5.     Place of Business. The principal place of business of the Company shall be at 1207 Delaware
Avenue, Suite 2992, Wilmington, Delaware 19806, or at such other location as may be selected by the Sole
Member from time to time.

       6.      Term. The Company has no specific date of dissolution and shall continue until dissolved and
liquidated pursuant to the provisions of Section 10 hereof or pursuant to the Law.

         7.    Interests of Members. The respective interests of the members in the company shall be as
follows:

                                              CSPRF2 LLC - 100%

     8.    Capital Contribution. No member is required to make capital contributions to the Company, but
any member may, at its option, make capital contributions to the Company.

         9.  Management Powers. The management, operation and control of the Company shall vest solely
in the Manager (as defined herein). The manager of the Company shall be David Blatt                    . The
Manager shall have all necessary and appropriate powers to carry out the purposes of the Company, including,
without limitation, the power to execute, acknowledge and deliver any and all documents and instruments
deemed appropriate to carry out any of the foregoing or the purposes and intent of this Operating Agreement.

         10.   Dissolution. The Company shall be dissolved upon the happening of the first of the following to
occur:

         (a)   On the date approved by all of the Sole Member; or

         (b)   Upon the occurrence of an event set forth in the Law.

        Notwithstanding any provision to the contrary herein: (i) the Company shall be dissolved, and its affairs
shall be wound up, only upon the first to occur of the following: (A) the termination of the legal existence of
the last remaining member of the Company or the occurrence of any other event which terminates the
continued membership of the last remaining member of the Company in the Company unless the business of
the Company is continued in a manner permitted by its operating agreement or the Law, or (B) the entry of a
decree of judicial dissolution under the Law; (ii) upon the occurrence of any event that causes the last remaining
member of the Company to cease to be a member of the Company or that causes the Sole Member to cease
to be a member of the Company (other than (A) upon an assignment by the Sole Member of all of its limited
liability company interest in the Company and the admission of the transferee, if permitted pursuant to the
organizational documents of the Company, or (B) the resignation of Sole Member and the admission of an
additional member of the Company, if permitted pursuant to the organizational documents of the Company),
to the fullest extent permitted by law, the personal representative of such last remaining member shall be
authorized to, and shall, within ninety (90) days after the occurrence of the event that terminated the continued
membership of such member in the Company, agree in writing (i) to continue the existence of the Company,
and (ii) to the admission of the personal representative or its nominee or designee, as the case may be, as a
substitute member of the Company, effective as of the occurrence of the event that terminated the continued
membership of such member in the Company; (iii) the bankruptcy of the Sole Member shall not cause such
Sole Member to cease to be a member of the Company and upon the occurrence of such an event, the business
                                                        2
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of the Company shall continue without dissolution; (iv) in the event of the dissolution of the Company, the
Company shall conduct only such activities as are necessary to wind up its affairs (including the sale of the
assets of the Company in an orderly manner), and the assets of the Company shall be applied in the manner,
and in the order of priority, set forth in the Law; and (v) to the fullest extent permitted by law, the Sole Member
shall irrevocably waive any right or power that it might have to cause the Company or any of its assets to be
partitioned, to cause the appointment of a receiver for all or any portion of the assets of the Company, to
compel any sale of all or any portion of the assets of the Company pursuant to any applicable law or to file a
complaint or to institute any proceeding at law or in equity to cause the dissolution, liquidation, winding up or
termination of the Company.

                                        [SIGNATURE PAGE TO FOLLOW]




                                                        3
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      IN WITNESS WHEREOF, the parties hereto intending to be legally bound, have executed this Operating
Agreement as of the day and year first above written.



                                 SOLE MEMBER:

                                 CSPRF2 LLC



                                 By: ______________________________

                                 Name: David Blatt

                                 Its: Authorized Representative



                                 MANAGER:



                                 _________________________________

                                 David Blatt




                                                     4
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                                          Exhibit M
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                         CORPORATE RESOLUTION TO REPLACE MANAGER


Leviathan LLC (the “Sole Member”), being the sole member of Chantilly Road LLC, a California Limited Liability
Company (the “company”), does hereby certify that the Company adopted the following resolution:


RESOLVED, that the manager of the Company shall be David Blatt (the “Manager”), who is hereby authorized to
manage all matters of the Company and make any decisions on behalf of the Company and/or its Sole Member as
the Manager deems necessary or appropriate.


This action is effective this 4th day of December, 2024.

                                                              Leviathan LLC, Sole Member
                                                              By: CSPRF2 LLC, Sole Member


                                                              By: ___________________________
                                                              David Blatt, Authorized Signatory



                                                              Accepted:

                                                              _____________________________
                                                              David Blatt, Manager
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                                            Exhibit N
Case
Case8:24-bk-13197-TA
     8:24-bk-13197-TA Doc
                      Doc29
                          1 Filed
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                           Document PagePage256
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

1331 Garden Hwy, 2nd Floor, Sacramento, CA 95833

A true and correct copy of the foregoing document entitled (specify):

Notice of Motion and Motion to Dismiss Case Pursuant to 11 U.S. Section 1112(b((1); Memorandum of Points
and Authorities; and Declaration of David Blatt

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 14, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

See Attachment 1.



                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On January 14, 2025, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.


See Attachment 2.


                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                 January 14, 2025 I served
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.    Judge Theodor C. Albert
          US Bankruptcy Court
          Ronald Reagan Federal Building
          411 W. Fourth Street, Suite 5085
          Santa Ana, CA 92701                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 14, 2025                     Bao Xiong
 Date                          Printed Name                                                    Signature


           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
4936-5467-3935.1 014764.005
Case 8:24-bk-13197-TA          Doc 29 Filed 01/14/25 Entered 01/14/25 15:38:59              Desc
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 In re Chantilly Road, LLC                                           Case No. 8:24-bk-13197-TA



                                Attachment 1 to Proof of Service

Service by NEF


 Arnold L Graff                                  Attorneys for Civic Real Estate Holdings III,
 Wright, Finlay & Zak, LLP                       LLC by Fay Servicing, LLC its Attorney-in-
 4665 MacArthur Court, Suite 200                 Fact
 Newport Beach, CA 92660
 Email: agraff@wrightlegal.net

 Michael R Totaro                                Attorneys for Debtor
 Totaro & Shanahan, LLP
 P.O. Box 789
 Pacific Palisades, CA 90272
 Email: Ocbkatty@aol.com

 Queenie K Ng                                    Attorneys for United States Trustee (SA)
 411 West Fourth St.
 Suite 7160
 Santa Ana, CA 92701
 Email: queenie.k.ng@usdoj.gov

 United States Truste (SA)
 Email: Ustpregion16.sa.ecf@usdoj.gov




4933-6507-0863.1 014764.005
                Case 8:24-bk-13197-TA    Doc Attachment
                                              29 Filed   2 to01/14/25
                                                              Proof of Service (Service01/14/25
                                                                           Entered      by US Mail) 15:38:59 Desc
Label Matrix for local noticing          Chantilly
                                        Main       Road, LLC
                                              Document           Page 259 of 260              Civic Real Estate Holdings III, LLC by Fay S
0973-8                                    c/o Penny M. Fox, CPA                               WRIGHT, FINLAY & ZAK, LLP
Case 8:24-bk-13197-TA                     15615 Alton Parkway Suite 450                       4665 MacArthur Court, Suite 200
Central District of California            Irvine, CA 92618-3308                               Newport Beach, CA 92660-1811
Santa Ana
Tue Jan 14 14:06:46 PST 2025
Santa Ana Division                        ACS Security                                        Adrian Rudomin
411 West Fourth Street, Suite 2030,       3803 West Chester Pike #100                         13920 Old Harbor Land #208
Santa Ana, CA 92701-4500                  New Town Square, PA 19073-2333                      Marinade Rey, CA 90292-7323



All State Lending Group, Inc              Banc of California                                  Bank of America
2540 Corporate Place #B-108               11611 San Vicente Blvd., #500                       P.O. Box 982238
Monterey Park, CA 91754-7636              Los Angeles, CA 90049-6505                          El Paso, TX 79998-2238



Baywood Mgmt Corp                         CapStack Partners                                   Castro’s HVAC
P.O. Box 2414                             1601 Clint Moore Rd #182                            1990 Meadow View Court
Palos Verdes Peninsula CA 90274-8414      Boca Raton, FL 33487-5713                           Thousand Oaks, CA 91362-1853



(p)SMB BANKRUPTCIES                       Christopher Lai                                     Creative Art Partners, LLC
1600 DUBLIN RD                            Johathan M. Deer                                    6542 Hayes Dr.
FLOOR 3                                   Quantum Law Group                                   Los Angeles, CA 90048-5320
COLUMBUS OH 43215-2095                    8383 Whilshire Blvd. #935
                                          Beverly Hills, CA 90211-2427

DWP                                       Diego Rudomin                                       Edifica USA
2417 Daly St.                             36 Breeze Ave.                                      400 Coyote Pass
Los Angeles, CA 90031-2220                Venice, CA 90291-3274                               Lake Forest CA 92610-3033



FRANCHISE TAX BOARD                       German Cruz                                         Gomez R Plumbing, Inc.
BANKRUPTCY SECTION MS A340                1522 W. 112 St                                      14320 Ventura Blvd. #704
PO BOX 2952                               Los Angeles, CA 90047-4927                          Sherman Oaks, CA 91423-2717
SACRAMENTO CA 95812-2952


HM Cali, Inc.                             M & M Air Conditioning and Heating, Inc.            Martinez Pools & Spas
153 Lafayette St. 5th Fl                  13995 Wallabi Ave.                                  2334 S. Cloverdale Ave.
New York, NY 10013-3139                   Sylmar, CA 91342-1936                               Los Angeles, CA 90016-2121



McCoy Capital                             Showroom Interiors. LLC                             Simone & Roos, LLP
10880 Wilshire Blvd. #2230                dba Vesta Home                                      5627 Sepulveda Blvd. #206
Los Angeles CA 90024-4117                 8905 Rex Rd                                         Sherman Oaks CA 91411-2920
                                          Pico Rivera, CA 90660-3799


Southern California Gas Co                Spectrum                                            Stoney Miller Consutants, Inc./Geofirm
P.O. Box C                                1600 Dublin Rd                                      33 Journey #200
Monterey Park, CA 91754-0932              Columbus, OH 43215-2098                             Aliso Viejo CA 92656-5345
                  Case 8:24-bk-13197-TA             Doc 29 Filed 01/14/25 Entered 01/14/25 15:38:59                             Desc
The Kraken LLC                                      UnitedDocument
                                                   Main    States Trustee (SA)
                                                                            Page 260 of 260 Zuniga Pool & Spa
578 Washington Blvd. #148                            411 W Fourth St., Suite 7160                         9330 Telfair Ave.
Marina del Rey CA 90292-5421                         Santa Ana, CA 92701-4500                             Sun Valley CA 91352-1329



Michael R Totaro
Totaro & Shanahan, LLP
P.O. Box 789
Pacific Palisades, CA 90272-0789




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Charter Communications
Spectrum,
P.O. Box 223085
Pittsburg, PA 15251




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                      (d)Zuniga Pool & Spa                                 End of Label Matrix
                                                     9330 Telfair Ave.                                    Mailable recipients     33
                                                     Sun Valley, CA 91352-1329                            Bypassed recipients      2
                                                                                                          Total                   35
